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         EXHIBIT G
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         EXHIBIT 2
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                         UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                            SAN FRANCISCO DIVISION


WAYMO LLC                              §
                                       §
        Plaintiff,                     §
                                       §
vs.                                    §
                                       §          CASE NO. 3:17-cv-00939-WHA
UBER TECHNOLOGIES, INC.;               §
OTTOMOTTO LLC; OTTO                    §
TRUCKING LLC                           §
                                       §
        Defendants.                    §
                                       §
                                       §



                 REBUTTAL EXPERT REPORT OF WALTER BRATIC




                                                September 7, 2017

                                                Respectfully submitted,




                                                ___________________
                                                Walter Bratic



                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                         SUBJECT TO PROTECTIVE ORDER
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I.    QUALIFICATIONS

1.      I am a Managing Director of OverMont, a division of Whitley Penn LLP (“Whitley Penn”).
I am a Certified Public Accountant licensed to practice in the State of Texas. I have provided
financial consulting services to businesses throughout my career. I have testified in federal district
courts, U.S. Bankruptcy Court, The U.S. Court of Claims, and in state courts as well as in private
domestic and international arbitrations, on economic, financial, accounting, statistical, and
business matters involving damages and valuation related matters. My resume, including my
current and past employment and professional affiliations, are attached as Exhibit 1 to this report.
A list of my testimony during the last four years is attached as Exhibit 2. Whitley Penn is being
compensated at an hourly rate of $625 for my work performed in connection with this matter.
Whitley Penn’s fees are not contingent upon the outcome of this litigation.


II.   ASSIGNMENT AND SCOPE OF ENGAGEMENT

2.      I have been retained by counsel for Uber Technologies, Inc. (“Uber, Inc.”) and Ottomotto
LLC (“Ottomotto”) (collectively, “Uber”) to review and respond to the analysis, opinions, and
conclusions set forth in the Expert Report of Mr. Michael Wagner, dated August 24, 2017 (the
“Wagner Report”).1 I have also been asked to determine the economic damages that Waymo LLC
(“Waymo”) purportedly suffered, if any, as a result of the alleged wrongful conduct of Uber and
Otto Trucking LLC (“Otto Trucking”) (collectively, “Defendants”), as set forth in Waymo’s First
Amended Complaint.2 Specifically, Waymo brought the following causes of action against
Defendants:3


            Violation of Defend Trade Secrets Acts (“DTSA”);

            Violation of California Uniform Trade Secrets Act (CUTSA); and




1
  I collectively refer to Ottomotto and Otto Trucking herein as “Otto”.
2
  First Amended Complaint, March 10, 2017 (“Amended Complaint”).
3
  Amended Complaint. I understand that claims related to Violation of California Bus. & Prof. Code § 17200 are no
longer being asserted.


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            Infringement of U.S. Patent No. 9,368,936 (the “‘936 Patent”). 4


3.      I understand Uber disputes Waymo’s allegations in this case. However, for purposes of
analyzing the purported economic damages, if any, Waymo suffered as a result of Uber’s alleged
wrongful conduct, I have been asked to assume that Uber engaged in the wrongful conduct as
alleged. I understand that Waymo has alleged that Uber misappropriated nine trade secrets (i.e.,
Nos. 2, 7, 9, 13, 14, 25, 90, 96, and 111) (the “Waymo Purported Trade Secrets”), which are
discussed in detail in Section VII (A) below.5


4.      This expert report sets forth my opinions based on the information available to me as of
the date of this report. The analyses and opinions contained herein are subject to revision or
supplementation, as necessary, if additional information is made available to me subsequent to the
issuance of this report. Furthermore, I may develop demonstrative exhibits related to my analysis
and opinions for use at trial as an aid to the trier-of-fact.


III. INFORMATION REVIEWED

5.      In connection with this report, Whitley Penn professionals, working under my supervision
and direction, and I have reviewed certain documents, information, and testimony in this matter.
The information reviewed and considered is identified in Exhibit 3 to this report, as well as the
body and footnotes of this report and attached exhibits. In addition, I interviewed the following
individuals:


            Dr. Paul McManamon, Uber technical expert in this matter;

            Dr. Michael Lebby, Uber technical expert in this matter;

            Mr. John Bares, Manager (Tiger Team) at Uber;

            Mr. James Haslim, Senior Manager, Engineering for ATG at Uber; and


4
  The Amended Complaint included allegations that Defendants infringed three additional patents, which were
subsequently dismissed. Amended Complaint; and Joint Stipulation and Order Regarding Dismissal of Patent
Claims.
5
  Case 3:17-cv-00939-WHA, Document 563; and Plaintiff Waymo LLC’s Notice Regarding Trade Secret
Narrowing.

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           Prashant Chouta, Global Product Operations - Self Driving Vehicles at Uber.


IV. SUMMARY OF OPINIONS

6.      My opinions are based on the assumption that the Waymo Purported Trade Secrets, as
described below, are proven to be trade secrets and are shown to have been misappropriated and
used to benefit Uber. I understand that Uber vigorously dispute Waymo’s allegations. As of the
date of issuance of this report, it is my understanding that Waymo has not provided a basis for its
allegations that the purported trade secrets were used to the benefit of Uber.


            A. Rebuttal Opinions Regarding the Wagner Report

7.      Based on my review and analysis of the documents, information, and testimony in this
matter, the interviews which I conducted, and my education, training, and experience in intellectual
property matters, it is my opinion that the analysis and opinions expressed in the Wagner Report
are conceptually flawed, grossly overstate any purported damages Waymo allegedly suffered, and
are unreliable. More specifically:


           Mr. Wagner’s opinions regarding the purported unjust enrichment Uber realized as a
            result of allegedly misappropriating the Waymo Purported Trade Secrets are unreliable
            and grossly overstate Uber’s unjust enrichment, if any;

           Mr. Wagner’s opinion regarding the reasonable royalty that is purportedly necessary to
            adequately compensate Waymo is unreliable and grossly overstates reasonable royalty
            damages, if any; and

           Mr. Wagner’s opinion regarding the purported irreparable harm Waymo will suffer in
            the future as a result of the alleged misappropriation of the Waymo Purported Trade
            Secrets is speculative and unreliable.




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            B. Affirmative Opinion – Alleged Misappropriation of the Waymo Purported
                Trade Secrets

                    i. Unjust Enrichment Damages

8.      Based on my review and analysis of the documents, information, and testimony in this
matter, the interviews which I conducted, and my education, training, and experience in intellectual
property matters, it is my opinion that Uber has not been unjustly enriched by their alleged
misappropriation of the Waymo Purported Trade Secrets. However, I have been asked to provide
a calculation of unjust enrichment damages based upon the assumption that Uber has utilized the
Waymo Purported Trade Secrets and have benefited from such use. As a result, under this
assumption, Uber’s unjust enrichment, if any, would be limited to the cost savings realized by
Uber from its alleged misappropriation of the Waymo Purported Trade Secrets. I have calculated
Uber’s unjust enrichment to be no more than $605,000, based upon the costs to independently
develop the accused features of Uber’s in-house light detection and ranging (“LiDAR”) system,
referred to by Uber as “Fuji” that allegedly incorporate the Waymo Purported Trade Secrets. The
following table provides a breakdown of these development costs by alleged trade secret:


                              Cost to Independently Develop Waymo’s
                                      Purported Trade Secrets
                                                             Total Cost
                              Purported Trade Secret
                                No. 2                            $208,920
                                No. 7                              43,600
                                No. 9                             112,160
                                No. 13 and 14                     126,080
                                No. 25                           No Value
                                No. 90                           No Value
                                No. 96                            114,040
                                No. 111                               200
                                Total                             $605,000

9.      As discussed above, this represents the maximum benefit Uber allegedly received as a
result of its alleged misappropriation of the Waymo Purported Trade Secrets. This amount is also
conservative for the reasons discussed below.



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                   ii. Reasonable Royalty Damages

10.     My analysis of a reasonable royalty rate for a license to the Waymo Purported Trade
Secrets is based on the construct of a hypothetical negotiation between Waymo and Uber that
would have occurred on or about the time of first misappropriation (i.e., between December 2015
and August 2016). Based on the procedures performed to date, my review and analysis of the
documents produced in connection with this matter, as well as my education, training, and
experience in intellectual property matters, it is my opinion that the parties would have agreed
upon a reasonable royalty rate of no more than $605,000 based on the maximum cost Uber would
incur to independently develop the Waymo Purported Trade Secrets.


                   iii. Alleged Infringement of the ‘936 Patent

11.     As of the date of issuance of this report, Plaintiff has not provided a damages opinion
related to the teachings of the ‘936 Patent. I understand that Uber implemented a design around
and such design around has not been alleged to infringe the ‘936 Patent. As a result, I have seen
no evidence of any benefit received by Uber from its alleged infringement of the ‘936 Patent,
which would significantly limit the amount of money Uber would be willing to pay for rights to
the ‘936 Patent. Therefore, I agree with Mr. Wagner’s implicit conclusion that there are no
damages related to the ‘936 Patent. However, I disagree that there is any prospect of future harm
to Waymo as any allegation of potential future infringement is based on pure speculation.


12.     The damages amounts contained in this report do not include prejudgment or post-
judgment interest. It is my understanding that prejudgment and post-judgment interest, including
the appropriate interest rates, are a matter for the Court. I am prepared to calculate prejudgment
and post-judgment interest if asked to do so.




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V.    Parties-in-Suit

            A. Waymo (Google)

13.     Google is a global technology company, incorporated in 1998 with its headquarters in
Mountain View, California.6          Google stated that “[its] mission is to organize the world’s
information and make it universally accessible and useful.”7 Research and development (“R&D”)
is one of Google’s primary focal points.8 Sergey Brin, co-founder of Google, stated that “we’re
big fans of investing heavily in R&D.”9 This heavy focus on R&D has assisted Google in
expanding beyond its “search engine roots.”10 Since the launch of its search engine in 1998,
Google has become a “tech giant” with the introduction of several new services including online
advertising technologies, cloud computing, video, maps, software, and email.11


14.     In August 2015, Google announced that a new public holding company, Alphabet Inc.
(“Alphabet”), would be created to hold a collection of businesses, the largest of which would be
Google.12 The creation of Alphabet separated Google’s “profitable search and advertising business
from fledgling efforts in an array of so-called moonshots.”13 According to the Wall Street Journal
(“WSJ”), the move involving Alphabet reflects the co-founders’ view that the company has
become more complex to manage as it pursues potentially big new businesses in industries far
from Google’s search-engine roots.14 The images below outline Alphabet’s structure and key units
as of October 2016:15




6
  Google, Inc. Form 10-K for the fiscal year ended December 31, 2013, pg. 3.
7
  https://www.thebalance.com/google-business-profile-2892814.
8
  http://www.businessinsider.com/history-sergey-brin-larry-page-and-google-strategy-2011-3#they-splurged-on-
research-and-development-4.
9
  http://www.businessinsider.com/history-sergey-brin-larry-page-and-google-strategy-2011-3#they-splurged-on-
research-and-development-4.
10
   http://www.businessinsider.com/history-sergey-brin-larry-page-and-google-strategy-2011-3#they-splurged-on-
research-and-development-4.
11
   https://www.google.com/about/our-story/; http://www.telegraph.co.uk/technology/google/11984555/Rise-of-a-
tech-giant-the-history-of-Google.html.
12
   Google, Inc. Form 10-K for the fiscal year ended December 31, 2015, pg. 2.
13
   https://www.wsj.com/articles/google-creates-new-company-alphabet-1439240645.
14
   https://www.wsj.com/articles/google-creates-new-company-alphabet-1439240645.
15
   https://www.cbinsights.com/blog/google-strategy-teardown/; https://www.wsj.com/articles/google-creates-new-
company-alphabet-1439240645.

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15.     Waymo is a subsidiary of Alphabet with its principal place of business in Mountain View,
California.16 Waymo began as the “Google self-driving car project” in 2009, and has since become
an independent company operating as a subsidiary of Alphabet.17 Waymo is a self-driving
technology company with a mission to “make it safe and easy for people and things to move
around.”18 In October 2015, Waymo “completed the world’s first fully self-driving trip on public
roads in a car without a steering wheel, pedals or test driver.”19 In 2017, Waymo introduced
Chrysler Pacifica Hybrid minivans to its fleet, which were the “first vehicle[s] built on a mass-
production platform with a fully-integrated hardware suite, newly designed by Waymo for the
purpose of full autonomy.”20 I understand that Waymo’s vehicles utilize a combination of LiDAR




16
   First Amended Complaint, pg. 5.
17
   https://waymo.com/journey/. Throughout this report, “Waymo” shall refer to the self-driving car project from its
inception in 2009 to present.
18
   https://waymo.com/faq/.
19
   https://x.company/graduated. Accessed August 24, 2017.
20
   https://waymo.com/journey/. Accessed August 24, 2017.


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systems, cameras, and various other sensors to allow it to operate autonomously.21 The following
diagram shows how “Waymo’s self-driving car works”:22




            B. Uber

16.     Uber is incorporated in the state of Delaware with its principal place of business is in San
Francisco, California.23 Established in 2009, Uber has operated as a ridesharing company in which
users of its smartphone app are connected with drivers.24 According to Uber, it is a “technology
platform,” which “connects driver-partners and riders.”25 Furthermore, I understand that Uber




21
   http://www.businessinsider.com/uber-custom-lidar-tech-not-ready-google-waymo-lawsuit-2017-4.
22
   http://www.businessinsider.com/uber-custom-lidar-tech-not-ready-google-waymo-lawsuit-2017-4.
23
   First Amended Complaint, pg. 5.
24
   http://www.telegraph.co.uk/technology/uber/11962859/The-history-of-Uber.html;
https://help.uber.com/h/738d1ff7-5fe0-4383-b34c-4a2480efd71e.
25
   https://help.uber.com/h/eac2e43e-af42-4521-a042-2982c18664af.


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“serves more than 40 million monthly active riders worldwide.”26 In addition to its ridesharing
business, Uber also offers other services, such as delivering, “food, flowers, and more…”27
Additionally, according to Uber:28


               To further its mission of delivering reliable transportation to the world,
               Uber has built one of the strongest autonomous vehicle engineering
               groups in the industry. From the introduction of the world’s first self-
               driving Ubers in Pittsburgh to its recently announced partnership with
               Daimler, Uber is creating a future in which self-driving cars will make
               cities and roads safer, cleaner, and more accessible.

17.     Uber began testing autonomous vehicles (“AVs”) (with a human backup driver) in
Pittsburgh, Pennsylvania in September 2016.29 The WSJ stated that this test represented Travis
Kalanick’s, Uber’s former Chief Executive Officer (“CEO”), “audacious vision to one day roll out
an entire fleet of AVs to replace the company’s roughly 1.5 million drivers and to ferry commuters,
packages and food around urban centers.”30 Since September 2016, Uber has continued its
driverless car efforts in other cities around the U.S.31


            C. Ottomotto

18.     Ottomotto is a Delaware limited liability company with its principal place of business in
San Francisco, California.32 Ottomotto was established in early 2016 by Anthony Levandowski
and Lior Ron with a focus of designing and developing hardware and software for autonomous
driving.33 Ottomotto offered technologies for self-driving trucks to the transportation industry.34




26
   Uber Technologies, Inc. and Ottomotto LLC’s Answer to First Amended Complaint and Affirmative Defenses,
June 22, 2017, pg. 1.
27
   https://www.uber.com/drive/delivery/.
28
   Uber Technologies, Inc. and Ottomotto LLC’s Answer to First Amended Complaint and Affirmative Defenses,
June 22, 2017, pg. 1.
29
   https://www.wsj.com/articles/inside-ubers-new-self-driving-cars-in-pittsburgh-1473847202.
30
   https://www.wsj.com/articles/inside-ubers-new-self-driving-cars-in-pittsburgh-1473847202.
31
   https://www.usatoday.com/story/tech/news/2016/12/22/uber-moves-self-driving-cars-pilot-to-arizona/95763516/.
32
   First Amended Complaint, pg. 6.
33
   https://www.bloomberg.com/profiles/companies/1433882D:US-ottomotto-llc.
34
   https://www.bloomberg.com/profiles/companies/1433882D:US-ottomotto-llc.


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19.     I understand that Mr. Levandowski was involved in robotics and the creation of AVs for a
number of years prior to his employment at Google. In an August 2008 email, Mr. Levandowski
stated that “[r]obotic technology in general … [has] been a hobby of mine for many years…”35 In
2004 and 2005, Mr. Levandowski was involved with the “Ghostrider” robot motorcycle.36
According to the Smithsonian, the Ghostrider is a “robot motorcycle that drives itself, with no
human intervention once it is underway.”37 Ghostrider was an entrant in the AV races of 2004 and
2005 sponsored by Defense Advanced Research Projects Agency (“DARPA”).38


20.     Otto Trucking is a limited liability company with its principal place of business in San
Francisco, California.39 Similar to Ottomotto, I understand that Otto Trucking was founded by
Mr. Levandowski and Mr. Ron in early 2016.40 However, Otto Trucking is essentially a legal
holding entity, and has no operations or employees.41 I understand that Uber acquired Ottomotto
in or around August 2016 and the right to acquire Otto Trucking during an option period in the
second half of 2017.42


VI. RESPONSE TO THE WAGNER REPORT

             A. Mr. Wagner’s Unjust Profits Opinion

21.     Regarding his calculation of the purported unjust profits Defendants realized as a result of
the alleged misappropriation of the Waymo Purported Trade Secrets (as defined below), Mr.
Wagner relied on a summary slide showing the results of an internal analysis performed by Ms.
Ningjun Qi, a corporate development manager at Uber, in January 2016 (the “Qi Slide”).43 The
Qi Slide shows the results of an exercise in which Ms. Qi attempted to quantify the present value


35
   WAYMO-UBER-00005849 – 850, at 849.
36
   http://americanhistory.si.edu/collections/search/object/nmah_1332301.
37
   http://americanhistory.si.edu/collections/search/object/nmah_1332301.
38
   http://americanhistory.si.edu/collections/search/object/nmah_1332301.
39
   First Amended Complaint, pg. 6.
40
   First Amended Complaint, pg. 12
41
   Deposition of Lior Ron, April 19, 2017, pg.13.
42
   https://newsroom.uber.com/rethinking-transportation/; Deposition of Cameron Poetzscher, June 19, 2017, pgs.
292 and 370.
43
   The Wagner Report, ¶¶ 271-281; UBER00069030 – 033, at 033; and Deposition of Ningjun Qi, June 22, 2017,
pgs. 75-76.


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of incremental profits that Uber could potentially realize if it were able to accelerate
commercialization of Uber’s AV technology by one to two years.44 Given that the Qi Slide
represents the present value of incremental profits assumed to begin in 2018, the analysis
underlying the Qi Slide was one of profits that were projected to occur no earlier than 2018 (i.e.,
future profits).45 Mr. Wagner multiplied the estimates from the Qi Slide by a proportional factor
of an estimated amount of time Waymo contends it would have taken for Uber to independently
develop the Waymo Purported Trade Secrets.46


22.     According to the Court’s operative Case Management Order, “[a]s to damages studies, the
cut-off date for past damages will be as of the expert report (or such earlier date as the expert may
select).”47 The Court’s order also stated that “the experts may try to project future damages (i.e.,
after the cut-off date) if the substantive standards for future damages can be met.”48 Mr. Wagner
has not identified any actual past damages that Waymo suffered or any actual unjust profits that
Uber realized as of August 24, 2017, the date the Wagner Report was issued. Given that Mr.
Wagner’s opinion of purported unjust profits is premised on a projection of future profits
discounted to present value, per the Court’s order, Mr. Wagner’s opinion must be analyzed under
the substantive standards applicable to the calculation of future damages.


23.     In order to analyze the validity of Mr. Wagner’s unjust profits opinion, I first examined the
Qi Slide, which serves as the premise of Mr. Wagner’s opinion of purported unjust profits. Given
that Mr. Wagner’s opinion relied so heavily on a single projection, it is critical to understand the
purpose for which it was created, the analytical rigor, if any, that went into developing it, the extent
to which others reviewed and critiqued it, and the extent to which it was actually relied upon and
used for business decision-making purposes. Furthermore, when relying on a projection as the
basis of an opinion, it is necessary to independently test the analysis to ensure that the assumptions
are reasonable and that it is free of methodological errors.



44
   The Wagner Report, ¶¶ 271-281; and UBER00069030 – 033, at 033.
45
   UBER00069030 – 033, at 033.
46
   The Wagner Report, ¶¶ 282 – 285.
47
   Case 3:17-cv-00939-WHA, Document 563.
48
   Case 3:17-cv-00939-WHA, Document 563.


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24.       Even if the Qi Slide employed a reasonable methodology and reasonable assumptions in
January 2016, Mr. Wagner’s opinion of purported unjust profits is as of August 24, 2017.49 As a
result, the extent to which, if at all, Mr. Wagner undertook an analysis to substantiate that the
assumptions underlying the Ms. Qi’s analysis remained reasonable 18 months after she performed
her analysis must be examined. I analyzed whether, ignoring the methodological flaws of the Qi
Slide and the fact that Ms. Qi performed her analysis 18 months prior to Mr. Wagner issuing his
opinion, Ms. Qi’s analysis is speculative and unreliable in light of uncertainties surrounding the
autonomous vehicle (“AV”) market and the subject technology.                Finally, I examined the
relationship between the projected incremental profits and the Waymo Purported Trade Secrets to
determine if Mr. Wagner properly apportioned projected incremental profits specifically
attributable to the Waymo Purported Trade Secrets.


25.       My conclusions regarding the foregoing are summarized as follows:


             The Qi Slide is an inadequate, speculative and unreliable basis upon which to base an
              opinion of damages. It underwent no peer review, and was never used or relied upon
              by Uber. Mr. Wagner has not indicated that he independently tested or re-created Ms.
              Qi’s methodology, nor has he indicated that he independently tested the assumptions
              Ms. Qi utilized in her analysis to assess validity and/or reasonableness. Certain of Ms.
              Qi’s key assumptions, such as a 15% discount rate, are unreasonable;

             Mr. Wagner failed to account for the fact that Ms. Qi prepared the analysis underlying
              the Qi Slide 18 months prior to the issuance of Mr. Wagner’s opinions, and that
              assumptions it is premised upon have been disproven in real life;

             Even ignoring methodological flaws and the fact that it was prepared 18 months prior
              to the issuance of Mr. Wagner’s opinions, the Qi Slide, and Mr. Wagner’s opinion by
              extension, are speculative and unreliable in light of the nature of the AV technology
              market and uncertainties regarding its regulatory status and commercial viability; and

             Mr. Wagner’s apportionment is flawed and he fails to establish a causal link between
              the Waymo Purported Trade Secrets and purported unjust profits.




49
     The Wagner Report.

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                       i. Mr. Wagner’s Unjust Profit Analysis Is Based on a Single Slide
                           Summarizing an Analysis that Uber Never Used

26.      Mr. Wagner’s opinion of purported unjust profits is premised on the results shown on the
Qi Slide, which is a summary slide from January 2016 that shows projections of incremental profits
resulting from a one to two year acceleration of Uber’s entire AV program. Given that Mr.
Wagner’s opinion is so heavily reliant on this single document, it was necessary for Mr. Wagner
to fully examine the context in which the Qi Slide was created and independently test the data Ms.
Qi relied upon and the assumptions she used in the underlying analysis. Based on the discussion
provided in the Wagner Report, Mr. Wagner has not undertaken these analyses.


27.      As an initial matter, and contrary to Mr. Wagner’s assertion, Ms. Qi’s analysis did not
“indicate[] that Ottomotto could shorten Uber’s AV development timeline by one to two years.”50
Ms. Qi testified, “this assessment is not to prove that he would accelerate AV development. This
assessment shows what happens or attempts to quantify the value of what would it look like if AV
development was accelerated by one to two years.” (emphasis added).51 To the extent that Mr.
Wagner is suggesting that the Qi Slide represents Uber’s valuation of Ottomotto (or the Waymo
Purported Trade Secrets), this is rebutted by the evidence and testimony.52


28.      Ms. Qi described the genesis of her exercise as follows:53


                [John Bares and Brian McClendon] made a comment that they do think
                this would accelerate AV development. But other than that, they were
                unsure of how to quantify it or value it. […] They basically asked me to
                think about that, a way to like show the number, but they reiterated that
                they think this would help accelerate Uber's AV development efforts.




50
   The Wagner Report, ¶ 273.
51
   Deposition of Ningjun Qi, June 22, 2017, pg. 222; see also id.at pgs. 217 and 222 – 223 (“I tried to quantify the
value of an AV acceleration. So call it in one to two years, what would that look like for Uber business model
without that and with that.”).
52
   For example: Deposition of Ningjun Qi, June 22, 2017, pg. 217, and 222 – 223; Deposition of Ningjun Qi,
August 10, 2017, pgs. 402 – 403, 406, and 433.
53
   Deposition of Ningjun Qi, June 22, 2017, pg. 216.

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29.     Based on this, Ms. Qi attempted to assign a value to accelerated development of Uber’s
AV program, which necessarily required making various assumptions regarding future regulations,
market penetration/rides-per-day, profit margins, competition, and discount rates.


30.     Despite his reliance on the Qi Slide, Mr. Wagner did not test any of the assumptions Ms.
Qi utilized in her analysis, or offer any independent opinion as to their reasonableness. In addition,
Mr. Wagner did not create his own model to test against the Qi Slide. Rather, Mr. Wagner merely
made reference to an email from Ms. Qi and various Project Rubicon presentations, which were
prepared after Ms. Qi prepared the Qi Slide, in support of his determination of whether to utilize
the “optimistic city coverage” numbers or the “baseline city coverage” numbers shown on the Qi
Slide.54 However, a bright red box with the following warning was placed prominently throughout
two of the three Project Rubicon presentations Mr. Wagner referred to:55


              Note: Results are highly speculative, and depend on significant
              assumptions on Cost Curves and Pace of Technology Development.
              Output of this analysis require commentary and context.

31.     The following screen shot is an example of one of the numerous instances in which this
notice appeared in the Project Rubicon presentations Mr. Wagner relied on in his attempt to
corroborate his analysis.56




54
   The Wagner Report, ¶¶ 274, and 278 – 279.
55
   UBER00063680 – 695; and UBER00232488 – 514.
56
   UBER00063680 – 695; and UBER00232488 – 514.


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32.     Mr. Wagner’s own summary of the Project Rubicon presentations demonstrates that the
estimates were shifting wildly over short period of time.57 As stated in the September 13, 2016
presentation: “Uncertainty is high; range is wide.”58 Notably, although Ms. Qi used an iteration
of the Rubicon model to develop the analysis underlying the Qi Slide, she was not listed as one of
the 10 main creators of the Rubicon model.59 Mr. Wagner failed to independently analyze how
Ms. Qi utilized the Rubicon model data and assumptions in her own analysis. Furthermore, other
Uber employees testified that the Rubicon model was speculative and hypothetical. For example,
Eric Meyhofer, Uber’s head of ATC, testified as follows:60


             Q: Okay. So how many -- how many cities was Uber estimating that it
                would be in, in November 2015 then, for autonomous vehicles in --
                at that time, looking forward to 2022?

             A: This document runs scenarios on assumptions.

             Q: I understand. So my question now -- I'm saying -- if you're telling
                me that this document is not making any sort of an estimate, my
                question for you: What was the estimate, pre-Otto acquisition, of
                how many cities that Uber would be deploying autonomous vehicles
                in, let's say, in 2022?

             A: It would only have hypothetical scenarios. It was unknown how
                many we would deploy in 2022 as it is still unknown….

             Q: Was there some sort of breakthrough that Uber had between May
                2016 and September 2016 that changed the projections from 13,000
                units in 2019 to over 75,000 units?

             A: So these results are highly speculative and depend on significant
                assumptions. And they change those assumptions and speculations
                from one report to another --




57
   The Wagner Report, ¶¶ 278 – 279.
58
   UBER00232630 – 668, at 631.
59
   UBER00231665 – 696, at 665.
60
   Deposition of Eric Meyhofer, August 18, 2017, pgs. 11, 75 – 76 and 82.


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33.        Mr. Meyhofer also testified that “[t]hese are assumptions teams run to play back scenarios
and do if-then analysis. This isn’t our roadmap. This is what the data analytics team projected
against particular dates in the scenarios.”61 When describing statements in certain Project Rubicon
presentations, Mr. Meyhofer stated: “I don't think anything in this document would be described
as accurate. They are assumptions and estimates.”62


               Q: Why was the data analytics team assuming 13 cities?

               A: They probably ran a lot of scenarios beyond 13 cities. Maybe they
                  assumed two in another scenario or one or 300. It's a set of knobs
                  you turn to try to understand parameters that you need to try to meet.

               Q: So your testimony is that this number was just picked at random?

               A: I don't think anything in Jeff Schneider's world is random. But as a
                  machine learning team, they do need to run lots of scenarios.

               Q: Why did they pick 13 cities?

               A: Unknown to me.

               Q: Is that an accurate description of Uber's estimate of how many cities
                  they would be deployed in as of -- in the year 2022, with the estimate
                  happening in November 2015?

               A: I don't think anything in this document would be described as
                  accurate. They are assumptions and estimates.

34.        Additionally, Mr. Wagner provided no indication that he examined how Ms. Qi, or the
Rubicon model, accounted for the many risks associated with commercialization of Uber’s AV
technology. Waymo itself has identified numerous “significant risks” that “could affect the
success of [its] program and [its] anticipated TaaS business,” including “Supply Side Risk” and




61
     Deposition of Eric Meyhofer, August 18, 2017, pgs. 85 – 86.
62
     Deposition of Eric Meyhofer, August 18, 2017, pg. 76.


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“Demand Side Risk.”63 In summary, Waymo identified the following categories of significant risk
factors in a document titled “Chauffeur Valuation Risk Factors”:64


      1. Supply Side Risk: We deliver commercially viable technology
             a. We get self-driving technology to work
                    i. We can’t get/develop a vehicle platform
                    ii. We can’t get/develop sensors
                   iii. We can’t solve all the software challenges
                   iv. We can’t get our overall system reliability high enough
             b. We get the cost of the technology down enough to run a sustainable TaaS business
      2. Demand Side Risk: We are able to generate harvestable consumer demand
             a. We achieve consumer acceptance of self-driving cars
             b. We avoid regulatory prohibition of our technology
      3. Other Risks:
             a. Corporate funding risks
             b. Secular risks
             c. Macro Risks
             d. Commercialization risks

35.




63
   WAYMO-UBER-00046625 – 632, at 625.
64
   WAYMO-UBER-00046625 – 632.
65
   WAYMO-UBER-00046625 – 632, at 632.




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36.




37.     Mr. Wagner’s failure to independently test Ms. Qi’s assumptions and methodology is
particularly troubling given evidence that Ms. Qi’s analysis was not vetted internally at Uber. Ms.
Qi     testified     that,     to     her     knowledge         “no     one      reviewed        those      slides”
and that “after [she] completed the exercise it was never talked about again.” 70 Ms. Qi further
testified that “this was [her] own assessment and ultimately was not used in any forum.”71 As
such, neither the Qi Slide, nor Ms. Qi’s underlying analysis, was ever reviewed by Ms. Qi’s




66
   http://www.ncsl.org/research/transportation/autonomous-vehicles-self-driving-vehicles-enacted-legislation.aspx.
67
   UBER00069030 – 033, at 033.
68
   WAYMO-UBER-00032541 at cell K20 on “Inputs” tab.
69
   WAYMO-UBER-00039951 – 40027, at 976.
70
   Deposition of Ningjun Qi, June 22, 2017, pgs. 217, and 222 – 223.
71
   Deposition of Ningjun Qi, June 22, 2017, pg. 223.


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superiors or other corporate managers, presented to Uber’s CEO or other executives, or part of any
board package in connection with the Ottomotto transaction.


38.     Ms. Qi was deposed a second time on August 10, 2017. In that deposition, she confirmed
that her analysis was never finalized and was never used for any purpose.72


             Q: … And so did you make a determination of the number of months
                that acquiring Otto would accelerate Uber’s development in
                autonomous vehicles?

             A: We didn’t specifically make a determination. At one point, John
                Bares and Brian McClendon estimated that it would help accelerate
                by 12 to 24 months. But it was not something that we ever really
                finalized or had an expectation of once we closed the deal.

             Q: Is that something you considered in determining the value of the
                deal?

             A: I did do some analysis on that, but, ultimately, it wasn’t shared or
                used in really determining value. (emphasis added)

39.     The foregoing evidence demonstrates that Mr. Wagner did not perform the vetting
necessary to establish that the Qi Slide, which consisted of a single summary slide presenting the
results of a highly speculative analysis of future incremental profits, is a reliable basis for a
$1,690,000,000 opinion of purported unjust profits damages.73 As a result, Mr. Wagner’s opinion
is speculative and unreliable.


                     ii. Mr. Wagner Failed to Account for the Fact that the Qi Slide is 18
                          Months Old and Its Assumptions Have Been Disproven

40.     Even assuming, for the sake of argument, that the methodology and assumptions
underlying the Qi Slide were reasonable when Ms. Qi prepared it in January 2016, Mr. Wagner


72
  Deposition of Ningjun Qi, August 10, 2017, pg. 406.
73
  Mr. Wagner’s summary of conclusions demonstrates that he used the “Baseline Coverage” in attempting to
calculate purported unjust profits damages. Mr. Wagner made a contradictory statement that the “Optimistic
Coverage” is the more reasonable option. To the extent Mr. Wagner later seeks to base his opinions off the
“Optimistic Coverage,” I reserve the right to respond. The Wagner Report, ¶¶ 286, and 326.

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performed no analysis to establish that those assumptions remained reasonable 18 months later in
August 2017 when Mr. Wagner issued his opinions that are premised on the Qi Slide. Forecasting
future profits always involves assessment of future uncertainties in light of the best information
known at the time. As a result, it is critical that forecasts of future profits account for the most
current information. However, rather than project incremental profits using the best current
information as of August 2017, Mr. Wagner relied on the Qi Slide, which was prepared in January
2016. As a result, Mr. Wagner has not examined or accounted for any changes to the technological,
economic, regulatory, competitive, or market landscapes (for example) that may have occurred
between January 2016 and August 2017. This renders Mr. Wagner’s opinion further unreliable.


41.        As an initial matter, evidence indicates that the assumption upon which the Qi Slide was
based—that Ottomotto would accelerate AV commercialization by 1 to 2 years—is not only
incorrect, but that the Ottomotto acquisition actually set Uber’s AV program back, making the
“Baseline Coverage” model (i.e., 13 cities by 2022) unrealistic. For example, John Bares, a
Manager at Uber, testified that, by August 2016, he believed the Ottomotto acquisition would be
a “setback” to Uber’s AV development effort, and that the acquisition ultimately did not advance
Uber’s development efforts, as explained in his testimony below.74


                Q: Did the acquisition of NewCo advance Uber’s development efforts
                   for self-driving cars?

                …

                A: Are you asking my opinion as of today?

                Q: Yes.

                A: No.

                Q: Why not?

                A: Because we - - well, we never got any lasers out of it. It had huge
                   distractions due to the trucking - - trucking efforts; as I said earlier,
                   a huge managerial disruption on our staff due to Anthony’s - - as a

74
     Deposition of John Bares, June 16, 2017, pg. 85; and Deposition of John Bares, August 11, 2017, pgs. 374 – 375.

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                 result of Anthony’s effort to manage and lead, so then, that was a
                 setback.

             Q: … What were your expectations in August 2016?

             …

             A: By that point, 2016, about the same as I just said.

             Q: So even at that point, you did not expect the acquisition to advance
                Uber’s development efforts for self-driving cars?

             A: No, because I saw every one of those things I mentioned already
                taking hold.

             Q: … At some point you expected the NewCo acquisition to advance
                Uber’s self-driving car efforts. Correct?

             A: Yes, for a three- to four-week period, starting in early January 2016.

42.     Mr. Wagner also failed to address the status of the milestones upon which almost all of the
consideration for the Ottomotto transaction are based. Because the milestones are based on steps
towards commercialization, it is logical to assume that they would be reached—and restricted
stock options vested—if the city coverage assumptions underlying the Qi Slide were to bear out.75
Yet Mr. Wagner has not applied any offset to the incremental profits represented in the Qi Slide,
which estimates present value (PV) rather than net present value (NPV) of EBIT76 contributions.77
Under a proper analysis of purported unjust incremental profits, consideration paid to acquire
Ottomotto must offset the PV shown in the Qi Slide in order to arrive at an NPV figure.


43.     Mr. Wagner’s failure to offset consideration paid to acquire Ottomotto against the PV
shown in the Qi Slide may be explained by the fact that no milestones have been achieved.78 This
fact suggests that, not only did the Ottomotto acquisition (and the alleged acquisition of the Waymo
Purported Trade Secrets) not advance Uber’s AV commercialization by one to two years, as Mr.

75
   UBER00016585 – 748, at 660 – 661, 669 – 671, and 706 – 720.
76
   Earnings before interest and taxes.
77
   UBER00069030 – 033, at 033.
78
   Deposition of Lior Ron, April 19, 2017, pg. 83; and Deposition of Jur Van Den Berg, August 2, 2017, pg. 172.

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Wagner assumed, but that Ms. Qi’s assumption of 13-city coverage by 2022 is inaccurate. Mr.
Wagner failed to analyze or account for the fact that no milestones of the Ottomotto acquisition
have been achieved, or any other facts relating to the current status of Uber’s AV program.


44.     In summary, Mr. Wagner has relied on a single summary slide of an exercise performed
18 months prior to the issuance of his unjust enrichment opinions that was never relied upon by
Uber management and subsequently proven to be incorrect. Furthermore, Mr. Wagner failed to
account for the cost to acquire Ottomotto, and has relied on the results presented on the Qi Slide
without vetting the underlying analysis. As a result, the Qi Slide is a speculative and unreliable
basis for Mr. Wagner’s opinion of purported unjust profits, rendering his opinion speculative and
unreliable.


                    iii. Even Ignoring that the Qi Slide is Speculative and Unreliable, Mr.
                         Wagner’s Unjust Profits Opinion is Premised on Layers of Speculation
                         and is Unreliable

45.     Given that the commercialization of fully-automated vehicles is still at least several years
away, no TaaS company has ever generated a single dollar of revenue, let alone realized profits,
from the use of AVs without a safety driver to transport passengers.79 In fact, it remains uncertain
when, if ever, anybody will. According to Mr. Emil Michael, former Senior Vice President of
Business Development at Uber, “the launch of a … autonomous vehicle that can generate revenue
without any safety driver in there is still years away.”80 Mr. Wagner’s opinion of purported unjust
profits resulting from the alleged misappropriation of the Waymo Purported Trade Secrets is
particularly speculative given the uncertainty inherent in efforts to commercialize AV technology
for use in the TaaS space, which no company has successfully accomplished to date.81


46.     As discussed above, evidence indicates that Waymo is cognizant of the challenges that
must be overcome in order to successfully commercialize use of AVs in TaaS. As noted, Waymo


79
   https://www.extremetech.com/extreme/252112-what-is-a-self-driving-car.
80
   Deposition of Emil Michael, July 28, 2017, pgs. 17, and 137-138.
81
   https://www.extremetech.com/extreme/252112-what-is-a-self-driving-car.


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has identified numerous categories of “significant risks” that “could affect the success of [its]
program and [its] anticipated TaaS business.”82 Those include:83


      1. Supply Side Risk: We deliver commercially viable technology
             a. We get self-driving technology to work
                       i. We can’t get/develop a vehicle platform
                      ii. We can’t get/develop sensors
                     iii. We can’t solve all the software challenges
                     iv. We can’t get our overall system reliability high enough
             b. We get the cost of the technology down enough to run a sustainable TaaS business
      2. Demand Side Risk: We are able to generate harvestable consumer demand
             a. We achieve consumer acceptance of self-driving cars
             b. We avoid regulatory prohibition of our technology
      3. Other Risks:
             a. Corporate funding risks
             b. Secular risks
             c. Macro Risks
             d. Commercialization risks

47.      As Waymo’s list of significant risk factors indicates, even if Uber and/or Waymo
successfully develop AV technology, they still face “Demand Side Risk,” including consumer
acceptance and regulatory prohibition or constraint.84 A January 2017 report by Deloitte stated
that “[a]lthough the majority of US consumers surveyed think driving in AVs would be fun and
would free up time to do other things, three out of four are skeptical that self-driving cars will be
safe anytime soon.”85 Deloitte also stated:86


                … Several recent reports have attempted to estimate the failure and
                fatality rates associated with autonomous vehicles, and the consensus is
                that these vehicles would have to be driven hundreds of millions of miles
                to sufficiently demonstrate their safety… Raising public awareness of

82
   WAYMO-UBER-00046625 – 632, at 625.
83
   WAYMO-UBER-00046625 – 632.
84
   WAYMO-UBER-00046625 – 632.
85
   Giffi, Craig, et al., The Race to Autonomous Driving, Deloitte Review, Issue 20, 2017, pg. 84.
86
   Giffi, Craig, et al., The Race to Autonomous Driving, Deloitte Review, Issue 20, 2017, pg. 86 (citations omitted).

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              autonomous technology, Google has been running driverless cars on
              public roads for several years, while Uber recently launched an
              autonomous option to its ridesharing service in Pittsburgh. Both of these
              experiments aim to considerably increase the amount of data on real-
              world autonomous driving in a very visible and consumer-friendly way.
              On the other hand, tragic events involving autonomous vehicle features
              can cast a shadow over the technology, resulting in potential loss of
              consumer confidence.

48.     Waymo also acknowledged the “risk that [Waymo will] have a bad accident and this will
lose [Waymo] trust.”87 Additionally, Waymo noted that there “is also a risk that [Waymo’s]
security systems will be breached and one of [its] vehicles hacked.”88 A Waymo presentation,
dated March 22, 2017, indicated that Waymo also recognizes that the “ideal scaling strategy has
many feasibility challenges.”89 The presentation indicated that Waymo has “identified ~20 major
feasibility challenges” and that “likely many more challenges along the way.”90




49.     Waymo indicated that the seven factors above were of the “[h]ighest challenge, impact,
and parallel pull on resources.”92 However, even if Uber and/or Waymo are able to successfully


87
   WAYMO-UBER-00046625 – 632, at 630.
88
   WAYMO-UBER-00046625 – 632, at 630.
89
   WAYMO-UBER-00032218 – 283, at 238.
90
   WAYMO-UBER-00032218 – 283, at 238.
91
   WAYMO-UBER-00032218 – 283, at 238.
92
   WAYMO-UBER-00032218 – 283, at 238.


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develop AV technology, if consumers accept the technology as being safe, and if they are able to
successfully scale their respective AV operations, they must still overcome a complex and still
uncertain web of regulatory hurdles at various levels of government on a market-by-market basis.
I understand that current regulatory policy prohibits the operation of AVs on most public roads
without a human driver able to take control upon system disengagement or failure.93 For example,
New York maintains a 1967 law “that requires drivers to have at least one hand on the steering
mechanism of any moving vehicle.”94 A recent attempt to amend this requirement failed.95


50.     Washington D.C. similarly permits the operation of AV on public roads if the vehicle
“[h]as a manual override feature that allows a driver to assume control” and there must be “a driver
seated in the control seat of the vehicle while in operation who is prepared to take control of the
autonomous vehicle at any moment.”96 California law mandates vehicles be designed so that a
licensed driver could take control of the vehicle in the case of technology failure.97


51.     Notably, the original draft of the California law had been crafted to allow for entirely
driverless cars as long as they were capable of autonomously complying with traffic laws, but the
State Assembly rejected this notion and inserted an explicit requirement that AVs permit a human
“operator” to override through a steering column, brake or accelerator pedal.98 It has been noted
that these rules effectively prohibit the deployment of Waymo’s driverless vehicles, which lack
this capability, and that this signals an unwillingness by the California legislature to let
autonomous vehicles be truly “autonomous.”99 Waymo recognizes this specific law as a hurdle
“that might limit the ability of self-driving cars to operate,” and observers have noted the likelihood



93
   http://www.ncsl.org/research/transportation/autonomous-vehicles-self-driving-vehicles-enacted-legislation.aspx.
94
   https://www.usatoday.com/story/money/cars/2017/06/25/regulators-scramble-stay-ahead-self-driving-
cars/100963150/; and http://www.govtech.com/fs/NYs-Slow-Pace-on-Autonomous-Vehicle-Legislation-Could-Put-
It-at-a-Disadvantage-in-Years-Ahead.html.
95
   http://www.govtech.com/fs/NYs-Slow-Pace-on-Autonomous-Vehicle-Legislation-Could-Put-It-at-a-
Disadvantage-in-Years-Ahead.html.
96
   D.C. Act 19-643, Autonomous Vehicle Act of 2012 (2013); and
http://www.ncsl.org/research/transportation/autonomous-vehicles-self-driving-vehicles-enacted-legislation.aspx.
97
   Cal. SB 1298 (2012).
98
   Cal. SB 1298, Cal. Assembly Committee on Transportation Hearing, June 25, 2012.
99
   See http://www.ibtimes.com/california-google-ready-autonomous-vehicle-showdown-2016-2233290; and
https://www.theverge.com/2015/12/16/10325672/california-dmv-regulations-autonomous-car.


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that other states may model their laws after California’s, resulting in entrenchment issues going
forward.100


52.     According to Mr. Ron Medford, Director of Safety for Waymo, the California Department
of Motor Vehicles has developed regulations for testing AVs, but has not completed development
of regulations for the operation of AVs, and are in the process of amending the existing regulations
for testing AVs.101 However, Mr. Medford testified that he does not know when the California
regulations will be finalized, what the final regulations will say about AVs, whether the final
regulations will allow Waymo to test its AVs on public roads, or what conditions will apply to the
operation of AVs.102 Mr. Medford also provided the following testimony regarding state of
California’s AV regulatory structure:103


              Q: Based on current California regulations, is Waymo allowed to have
                 passengers in autonomous vehicles on public roads without drivers?

              A: No.

              Q: When will Waymo be allowed to have autonomous vehicles on
                 public roads without drivers?

              …

              A: When California allows it in its regulations.

              Q: When will that be?

              A: I don’t know.

53.     AV developers have been required to navigate these regulations in their operations. For
example, in order for Google to test its prototype vehicles “the company was required to add


100
    WAYMO-UBER-00046625 – 632, at 630 – 631; Deposition of Charlie Johnson, August 17, 2017, pg. 224; and
Daniel A. Crane, et al., “A Survey of Legal Issues Arising from the Deployment of Autonomous and Connected
Vehicles,” 23 Mich. Telecomm. Tech. L. Rev. 191, 219 (Spring 2017).
101
    Deposition of Ron Medford, August 23, 2017, pgs. 37 – 38, and 46 – 50.
102
    Deposition of Ron Medford, August 23, 2017, pgs. 73 – 75.
103
    Deposition of Ron Medford, August 23, 2017, pgs. 78 – 79.


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temporary manual controls to the vehicles.”104 Similarly, Cruise operates a pilot program testing
AV technology as a ride-hailing service called “Cruise Anywhere”, currently available to its
employees in San Francisco.105 However, each vehicle has a “safety driver in place behind the
wheel for testing and as required by law.”106


54.     Uber has not yet made plans for roll-out of its AV TaaS, because planning would be
hindered by uncertainties as to whether, or in what form, the regulatory environment might one
day permit the technology to be implemented.107 This uncertainty is exacerbated by an expectation
within the industry that at some point “someone is going to die in this technology.... [and that]
could really set back the integration of this technology.”108 If ill-timed, an early and highly-
publicized fatality could result in a regulatory pullback that could further hinder commercialization
of AV TaaS or driverless AV, generally.109


55.     The possibility that regulatory hurdles may constrain the progress and commercialization
of AV technology is well-established. Waymo recognizes that regulatory lags present a substantial
risk to a timely launch of AV TaaS. In its “Plan of Record Strategy,” Waymo enumerated the risks
it faces in the AV space, one of which is “regulatory hurdles block[ing] [its] TaaS service from
operating.”110


                                                             Charlie Johnson, a Business Strategy and
Operations Analyst at Waymo, recognized that “some regulations might impede [Waymo’s] ability



104
    Karim R. Lakhani, et al., “Google Car,” Harvard Business School Case 614-922, January 2014 (Rev. March 9,
2015), pg. 10.
105
    https://techcrunch.com/2017/08/08/cruise-is-running-an-autonomous-ride-hailing-service-for-employees-in-
sf/?ncid=rss&utm_source=feedburner&utm_medium=feed&utm_campaign=Feed%3A+Techcrunch+%28TechCrun
ch%29.
106
    https://techcrunch.com/2017/08/08/cruise-is-running-an-autonomous-ride-hailing-service-for-employees-in-
sf/?ncid=rss&utm_source=feedburner&utm_medium=feed&utm_campaign=Feed%3A+Techcrunch+%28TechCrun
ch%29.
107
    Deposition of Gautam Gupta, August 18, 2017, pgs. 127 – 128.
108
    S. Hrg. 114-416, “Hands Off: The Future of Self-Driving Cars,” Hearing before the Committee on Commerce,
Science, and Transportation, United States Senate, 114th Congress, Second Session, March 15, 2016, pg. 63.
109
    Deposition of John Krafcik, August 2, 2017, pg. 131.
110
    WAYMO-UBER-00031805 – 817, at 811.
111
    WAYMO-UBER-00031805 – 817, at 811.


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to serve customers, that would be a challenge [Waymo] would have to respond to.”112 Waymo’s
fears of AV regulatory issues are echoed throughout the industry, in the media, and by regulators.


56.     The Self Driving Coalition, an organization of which Waymo is a member, aggregates
national news stories on the progress of AV technology.113 Headlines are persistently pessimistic
with regard to AV policy issues. The following are a few of those headlines:


           “New York law requiring hand on wheel stymies pace of self-driving cars”114

           “Regulators scramble to stay ahead of self-driving cars”115

           “Auto industry pushes for clear federal oversight of driverless cars”116

           “Car companies race to roll out self-driving cars, but the rules aren't ready”117

           “Automakers ask California to ease rules for self-driving car tests”118

           “Waymo cries foul over self-drive legislation”119

           “Big-name companies come out against self-driving car bill”120

           “Congress and DOT must take additional measures beyond self-driving vehicle
            guidance”121

           “Google, automakers object to California rules for self-driving cars”122

           “Self-driving car advocates: Feds should set safety rules, not states”123


112
    Deposition of Charlie Johnson, August 17, 2017, pgs. 11 and 224.
113
    http://www.selfdrivingcoalition.org/about; and http://www.selfdrivingcoalition.org/newsroom/in-the-news.
114
    http://buffalonews.com/2017/07/31/new-york-takes-baby-steps-toward-self-driving-vehicles/.
115
    https://www.usatoday.com/story/money/cars/2017/06/25/regulators-scramble-stay-ahead-self-driving-
cars/100963150/.
116
    http://www.freep.com/story/money/cars/2017/06/27/auto-industry-federal-driverless-cars/431292001/.
117
    https://www.cbsnews.com/news/is-the-u-s-ready-for-self-driving-cars-rules-legislation/.
118
    http://www.reuters.com/article/us-autos-california-regulations-idUSKBN17R30X.
119
    http://www.autonews.com/article/20170220/OEM11/302209926/waymo-cries-foul-over-self-drive-legislation.
120
    https://www.bizjournals.com/nashville/news/2017/02/10/big-name-companies-come-out-against-self-
driving.html.
121
    http://thehill.com/blogs/congress-blog/technology/309242-congress-and-dot-must-take-additional-measures-
beyond-self.
122
    http://news.trust.org/item/20161019210239-8mauc.
123
    https://www.usatoday.com/story/tech/news/2016/04/27/self-driving-car-advocates-say-feds-should-set-
rules/83620666/.


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57.      AV developers are pushing the U.S. Congress for “unified federal regulations to replace
outdated rules,” and have “urged California to make changes to its proposed state regulations
governing autonomous vehicles.”124 Also, individuals “involved in the nation’s autonomous
vehicle industry […] all raised concerns about New York’s sloth-like path to driverless
vehicles.”125 According to Mr. Medford, there is currently a bill in the House of Representatives
regarding autonomous vehicles.126 Mr. Medford understands that the bill, as written, would require
the U.S. Secretary of Transportation to make certain rules regarding autonomous vehicles and that
he doesn’t know what those rules will be.127 In fact, Mr. Medford acknowledged that if the law is
passed, he doesn’t know if Waymo will be able to legally operate AVs in the United States under
the rules that the Secretary of Transportation promulgates.128 I understand that a bill regarding
autonomous vehicles recently passed the U.S. House of Representatives, demonstrating the
unsettled regulatory nature of this area.129


58.      AV developers are aware of the regulatory hurdles that hinder their entry into the market.
“In the race to deliver cars that can safely operate themselves, proponents are increasingly
concerned about a fast-growing thicket of regulations and laws being proposed by states that could
come in conflict with each other and threaten to hold up development.”130 Mitch Bainwol, CEO
of the Alliance of Automobile Manufacturers, has acknowledged that “the U.S. lacks a critical
uniform national framework to advance [AV] technologies.”131 In fact, Waymo’s own CEO has
testified that that regulatory hurdles are a major risk and “always need to be considered.”132


59.      Leaders in the AV industry also recognize that regulatory hurdles may cause material
delays in the commercialization of AV technology. A representative of IHS Automotive has stated


124
    http://www.reuters.com/article/us-usa-selfdriving/senators-unveil-road-map-for-self-driving-car-legislation-
idUSKBN1942QJ?il=0.
125
    http://buffalonews.com/2017/07/31/new-york-takes-baby-steps-toward-self-driving-vehicles/.
126
    Deposition of Ron Medford, August 23, 2017, pg. 162.
127
    Deposition of Ron Medford, August 23, 2017, pg. 162.
128
    Deposition of Ron Medford, August 23, 2017, pg. 162.
129
    https://energycommerce.house.gov/selfdrive/.
130
    https://www.usatoday.com/story/money/cars/2017/06/25/regulators-scramble-stay-ahead-self-driving-
cars/100963150/.
131
    http://www.freep.com/story/money/cars/2017/06/27/auto-industry-federal-driverless-cars/431292001/.
132
    Deposition of John Krafcik, August 2, 2017, pg. 131.


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that “[AV regulation] could be messier, and it could take longer than we want it to,” and that they
anticipate “state-by-state and some federal fights happening.”133               Volvo’s vice president of
government affairs, Anders Karrberg, recognizes that the U.S. “runs the risk of slowing down the
development and introduction of autonomous driving technologies by making it difficult for
carmakers to test, develop, certify and sell” self-driving cars.134


60.     Regulation can move slowly, especially regulation related to safety issues. For example,
“Congress in 2008 instructed the Department of Transportation to implement a new standard by
2011 requiring automakers to adopt rearview cameras. After numerous delays, the rule was issued
in 2014, but it won’t take effect until 2018.”135         That is, safety related regulation mandated in
2008, will not take effect until next year—a full ten years after the DOT received instructions from
congress, and seven years beyond the date by which they were mandated to take action. The slow
pace with which regulators will likely act is not limited to the federal level. Additionally, “states
are balancing a desire to be viewed as beacons of innovation while also seeking to protect their
residents from technology that remains unproven on a large scale.”136


61.     Policy makers recognize the inadequacy of current AV regulations and the inability of
agencies like the NHTSA to adequately oversee such regulations.137                     Some legislators are
“troubled” by NHTSA’s lack of insight on matters relating to AVs.138 Statements from legislators
also indicate a reluctance to act too quickly or to be overly permissive about AV technology.139




133
    https://www.usatoday.com/story/money/cars/2017/06/25/regulators-scramble-stay-ahead-self-driving-
cars/100963150/.
134
    https://www.usatoday.com/story/money/cars/2017/06/25/regulators-scramble-stay-ahead-self-driving-
cars/100963150/.
135
    https://www.usatoday.com/story/money/cars/2017/06/25/regulators-scramble-stay-ahead-self-driving-
cars/100963150/.
136
    https://www.usatoday.com/story/money/cars/2017/06/25/regulators-scramble-stay-ahead-self-driving-
cars/100963150/.
137
    Hrg. 114-416, Hearing before the Committee on Commerce, Science, and Transportation, United States Senate,
114th Congress, Second Session, March 15, 2016, pgs. 58 – 59.
138
    http://www.freep.com/story/money/cars/2017/06/27/auto-industry-federal-driverless-cars/431292001/.
139
    Hrg. 114-416, Hearing before the Committee on Commerce, Science, and Transportation, United States Senate,
114th Congress, Second Session, March 15, 2016, pgs. 3 – 4.


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62.      Regulators and policy makers also acknowledge that regulations are a barrier to the
commercial implementation of AV technology. “Federal auto regulations pose significant legal
hurdles that must be cleared before fully self-driving cars can be sold without steering wheels and
gas pedals.”140 Additionally, several well-respected legislators have reported that “existing federal
vehicle regulations written over recent decades did not account for self-driving cars without a
human driver behind the wheel.”141


63.      It may be years, if ever, before regulations are in place that would allow AV TaaS operators
to operate without safety drivers. Until then, they will have to pay drivers and incur the expense
of operating and maintaining AV systems, if they wish to run an AV-based TaaS platform.
Therefore, Uber allegedly gaining some modest time advantage as a result of the alleged
misappropriation of the Waymo Purported Trade Secrets would likely have no real impact, as
Uber, and the many other AV developers, will still have to wait for the appropriate regulatory
framework to be instituted.


64.      Competition presents yet another risk to the successful commercialization of Uber’s and
Waymo’s AV technologies. The analysis underlying the Qi Slide is based on the assumptions that
Uber can successfully penetrate 13 cities by 2022 and have thousands of rides at specific profit
levels.142 However, among the other factors discussed, these assumptions are susceptible to the
degree of competition Uber will face in the marketplace.


65.      According to a May 2017 presentation from RethinkX, an independent think tank, early
movers in the AV industry include Tesla, Waymo, NVIDIA, Uber, and Baidu.143 RethinkX also
stated that “[c]ompanies within the incumbent auto industry, such as GM and Ford, have also
acquired Silicon Valley startups that are developing autonomous vehicle software.”144

140
    https://www.reuters.com/article/us-usa-selfdriving/senators-unveil-road-map-for-self-driving-car-legislation-
idUSKBN1942QJ.
141
    https://www.reuters.com/article/us-usa-selfdriving/senators-unveil-road-map-for-self-driving-car-legislation-
idUSKBN1942QJ.
142
    UBER00069030 – 033, at 033.
143
    https://static1.squarespace.com/static/585c3439be65942f022bbf9b/t/591a2e4be6f2e1c13df930c5/
1494888038959/RethinkX+Report_051517.pdf, pg. 36.
144
    https://static1.squarespace.com/static/585c3439be65942f022bbf9b/t/591a2e4be6f2e1c13df930c5/
1494888038959/RethinkX+Report_051517.pdf, pg. 36.


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Additionally, RethinkX noted that California had approved requests by 30 companies to test their
self-driving cars on public roads.145


66.     Furthermore, Tesla recently announced the development of its own ridesharing platform,
which RethinkX stated “is an indicator of this future industry trend.”146 A number of platform-
related developments by auto industry incumbents are in progress, including GM’s $500 million
investment in Lyft, BMW’s ridesharing service, ReachNow, and Volkswagen’s $300 million
investment in Gett.147


67.     I also note that, while Mr. Wagner relied on the Qi Slide as the basis of his opinion, he
neglected to consider his opinion of purported unjust profits in light of the following slide showing
“Market Comparables” that was in the same slide deck as the Qi Slide.148




68.     As shown above, the slide indicated valuations for Quanergy, Velodyne, and “Google
(AL’s Division”) of $1.3 billion, $950 million, and $2.1 billion, respectively.149 Thus, Mr.

145
    https://static1.squarespace.com/static/585c3439be65942f022bbf9b/t/591a2e4be6f2e1c13df930c5/
1494888038959/RethinkX+Report_051517.pdf, pg. 26 (citations omitted).
146
    https://static1.squarespace.com/static/585c3439be65942f022bbf9b/t/591a2e4be6f2e1c13df930c5/
1494888038959/RethinkX+Report_051517.pdf, pg. 36 (citations omitted).
147
    https://static1.squarespace.com/static/585c3439be65942f022bbf9b/t/591a2e4be6f2e1c13df930c5/
1494888038959/RethinkX+Report_051517.pdf, pg. 36 (citations omitted).
148
    UBER00069030 – 033, at 032.
149
    UBER00069030 – 033, at 032.

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Wagner’s opinion of purported unjust profits for the alleged misappropriation of the Waymo
Purported Trade Secrets is greater than the entire indicated value of both Quanergy and Velodyne,
and approximately 80% of the entire indicated value of “Google (AL’s Division).”


69.      Given that no company, including Uber and Waymo, has yet to commercialize operations
or realize a profit from its AV efforts, and the numerous “significant risks” facing successful
commercialization of an AV TaaS operations, any attempt to value future incremental profits is
highly speculative. As a result, Mr. Wagner’s opinion regarding the purported present value of
the incremental future profits Uber will realize sometime in the future as a result of allegedly
misappropriating the Waymo Purported Trade Secrets is speculative and unreliable.


                      iv. Mr. Wagner’s Apportionment Methodology Is Flawed

70.      In order to establish a causal link between the Waymo Purported Trade Secrets and
purported unjust profits, Waymo must be able to explain: (i) how Uber’s alleged misappropriation
of the Waymo Purported Trade Secrets actually caused Uber to realize unjust profits; and (ii) what
portion of those unjust profits are attributable to the alleged misappropriation of the Waymo
Purported Trade Secrets, as opposed to the myriad of other contributing technologies and factors.
150
      Mr. Wagner did neither of these in his analysis.


71.      Mr. Wagner’s entire unjust profits opinion is based on the false assumption that each of the
Waymo Purported Trade Secrets individually accelerated Uber’s entire AV technology by the
amount of time it would take to independently develop each Waymo Purported Trade Secrets,
thereby moving commercialization of Uber’s AV technology to an earlier date. In order to
calculate the purported unjust profits attributable to the alleged misappropriation of each of the
Waymo Purported Trade Secrets, Mr. Wagner multiplied the present value estimate represented
on the Qi Slide by a proportional factor based on the estimated “amount of development time saved
by Uber.”151 Thus, for example, Mr. Wagner assumed that commercialization of Uber’s entire AV


150
    Weil, et al., Litigation Services Handbook (Fourth Edition), pg. 2.1-2. I note that Mr. Wagner was an editor of
this publication.
151
    The Wagner Report, ¶¶ 282 – 285.


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program was accelerated by two years as a result of allegedly not having to independently develop
Waymo Purported Trade Secret No. 25.152 However, this assumption is flawed.


72.     Mr. Wagner’s assumption could only be correct if AV development were a serial process.
That is, if all steps of development had to be undertaken in a specific sequence, and that the failure
to finalize one component means that the development of thousands of other components—both
software and hardware—are delayed by the amount of time necessary to complete predecessor
components. Mr. Wagner employs this serial development assumption to effectively opine that
no other AV development (across Uber’s entire AV program) would occur during a period in
which independent development of the Waymo Purported Trade Secrets was occurring, and
thereby, commercialization of Uber’s AV technology would have taken longer but for the alleged
misappropriation of the Waymo Purported Trade Secrets. In his unjust profits analysis, Mr.
Wagner flips this assumption to opine that the alleged misappropriation of the Waymo Purported
Trade Secrets will allow Uber to commercialize its AV technology faster than it would have, but
for the alleged misappropriation of the Waymo Purported Trade Secrets.


73.     There is no support for Mr. Wagner’s serial development assumption. Hardware is merely
one component of an AV technology; LiDAR is merely a small component of AV hardware; and
the Waymo Purported Trade Secrets are merely a small component of LiDAR.153 The headcount
of Uber’s hardware department is 155 people, while the software department has 405 people.154
The hardware engineering team does not wait for the LiDAR team to perform work, and the
software team does not wait until the hardware team is finished to commence work.155 AVs are
multidimensional systems comprised of a number of complex hardware and software elements,
each being developed in parallel.156 As discussed in greater detail below, these elements include:


           Highly detailed 3-D computerized maps;157


152
    The Wagner Report, ¶ 285.
153
    Interview of Dr. Lebby and Dr. McManamon.
154
    UBER00231730 – 739, at 732.
155
    WAYMO-UBER-00001354 – 412, at 363.
156
    WAYMO-UBER-00001354 – 412, at 363 and 383.
157
    WAYMO-UBER-00031699 – 801, at 713 – 717.


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            A suite of sensors that includes LiDAR, radar, digital camera, and sonar systems;158

            Communications systems;159

            Software-based Artificial Intelligence (“AI”) algorithms and databases;160 and

            A specially designed vehicle that can accommodate and implement these features.161


74.




75.     An October 5, 2016 email from Sasha Zbrozek, Electrical Engineer at Google, regarding
the investigation into Mr. Levandowski’s access of Google information, confirms the secondary
significance of hardware in AV technology, which undermines Mr. Wagner’s assumption that a
single component of LiDAR technology could unilaterally advance commercialization of Uber’s
AV technology.162 Mr. Zbrozek stated in his email that “[a]t least historically, high-value has been
algorithms and software. The hardware (at all levels) was a second class citizen (emphasis
added). Maybe opinions have changed.”163 In a prior email in the same chain, Mr. Zbrozek stated
the following about the materials Mr. Levandowski had accessed:164


               It’s all electronics designs – schematics and PCB layouts, and the
               component library for their creation. It was considered low-value
               enough that we even considered hosting it off of Google infrastructure.


158
    WAYMO-UBER-00031699 – 801, at 714. See also http://spectrum.ieee.org/cars-that-
think/transportation/self-driving/how-driveai-is-mastering-autonomous-driving-with-deep-learning.
159
    https://www.engadget.com/2017/06/24/self-driving-cars-mcity-augmented-reality/.
160
    http://spectrum.ieee.org/cars-that-think/transportation/self-driving/how-driveai-is-mastering-autonomous-
driving-with-deep-learning; Hod Lipson, et al., “Driverless: Intelligent Cars and the Road Ahead,” The MIT Press:
Cambridge, 2016, pgs. 197 – 203.
161
    Interview of Dr. Lebby and Dr. McManamon.
162
    Deposition of Sasha Zbrozek, August 18, 2017, pg. 15; WAYMO-UBER-00084484.
163
    WAYMO-UBER-00084484 (emphasis added).
164
    WAYMO-UBER-00084484 (emphasis added).

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              [Mr. Levandowski] was a high-level manager, and not doing any direct
              technical contribution at this level. It’s not particularly surprising that
              he might check things out once in the misguided dream of maybe making
              individual contribution or maybe taking a look at the progress of a widget.
              It clearly wasn’t part of his routine. Doesn’t ring the alarm bells for me.
              (emphasis added)

76.     In light of all these different components of AV technology, Mr. Wagner’s assumption that
each of the Waymo Purported Trade Secrets—all of which relate to discrete aspects of LiDAR
hardware—allowed Uber to simply skip over months (or years) of hardware, algorithm, and
software development is unsupported and unreliable. If required to independently develop each
of the Waymo Purported Trade Secrets, Uber could simply employ additional engineering
resources to work in parallel with Uber’s existing AV development efforts in order to
commercialize its AV technology in the same amount of calendar time as it would without
independent development of the Waymo Purported Trade Secrets. For example, Uber’s response
to Common Interrogatory No. 1 stated:165


              The Schedule times identified for the redesigns below would not
              significantly or materially impact the timeline for commercialization and
              rollout of Uber’s fully-autonomous self-driving technology to the general
              public.

77.     Although Mr. Wagner adopted Uber’s schedule of times for all Waymo Purported Trade
Secrets except Nos. 25 and 111, he ignored this important part of Uber’s response.


78.     It is also important to note the difference between accelerated development and accelerated
entry to market. The Qi Slide is focused on market entry. But even fully mature AV technology
cannot immediately be commercialized. As noted elsewhere, there are regulatory, safety, and
marketing obstacles, as well as the need to put the AV technology into a vehicle. Accordingly, the
amount of development time necessary to independently develop each of the Waymo Purported
Trade Secrets has no direct relationship to the accelerated commercialization of Uber’s entire AV



165
   Defendant Uber Technologies, Inc. and Ottomotto LLC’s Second Supplemental Responses to Waymo’s First Set
of Common Interrogatories (Nos. 1-3), Response to Common Interrogatory No. 1.


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technology, particularly when Uber’s commercialization timeline stretches out years beyond the
time required for independent development.166


79.     The flaw in Mr. Wagner’s serial development assumption is illustrated by the way in which
he calculated unjust profits in the event that multiple Waymo Purported Trade Secrets are found
to have been misappropriated. Mr. Wagner effectively opined that the alleged misappropriation
of the Waymo Purported Trade Secrets accelerated commercialization of Uber’s AV technology
by 3.86 years, which is the sum of Mr. Wagner’s purported accelerated development for eight of
the Waymo Purported Trade Secrets.167 This would mean that, applying Ms. Qi’s assumption of
commercialization in 13 cities by 2022, Uber should be ready to commercialize AV Technology
in 13 cities by next year (2018), which is a contention for which Mr. Wagner has no basis.


80.     In an apparent attempt to remedy the results of his flawed assumption, Mr. Wagner stated
that he also “assumed that the accelerated AV development is not additive” and that “only the
corresponding unjust enrichment for the trade secret with the longest period of accelerated AV
development should be awarded.”168               However, this assumption contradicts his entire
methodology. If each individual alleged trade secret advances the entire AV program by the
amount of time required for independent development, this necessarily means that all other work
that would be done in parallel is irrelevant. Mr. Wagner does not explain why the Waymo
Purported Trade Secrets are subject to different rules than all of the other technology that goes into
the development of fully autonomous vehicles.


81.     It should be re-stated that my rebuttal opinion is based on the assumption that there is a
finding that Uber has used the Waymo Purported Trade Secrets. Uber contends that the Waymo
Purported Trade Secrets have not been utilized in Uber’s AV technology.169 Furthermore,
according to Dr. McManamon, he has not seen any indication that Uber has utilized Waymo


166
    Interview of Dr. Lebby and Dr. McManamon.
167
    The Wagner Report, ¶ 285 (sum of “Accelerated AV Development (Years)”).
168
    The Wagner Report, ¶ 286.
169
    Uber Technologies, Inc. and Ottomotto LLC’s Answer to First Amended Complaint and Affirmative Defenses,
June 22, 2017, pgs. 3 – 4; and Defendant Uber Technologies, Inc. and Ottomotto LLC’s Second Supplemental
Responses to Waymo’s First Set of Common Interrogatories (Nos. 1 – 3), Response to Common Interrogatory No. 1.


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Purported Trade Secrets Nos. 25 or 111.170 Similarly, according to Dr. Lebby, he has not seen any
indication that Uber has utilized the remaining Waymo Purported Trade Secrets in its AV
technology.171 As a result, even if Uber had already realized profits from its AV technology, which
it has not, it would be improper to attribute any profits to the Waymo Purported Trade Secrets,
because there is no evidence indicating that Uber used the Waymo Purported Trade Secrets. For
this reason alone, Mr. Wagner has no basis to attribute any purported unjust profits to the Waymo
Purported Trade Secrets.


82.     With respect to Waymo Purported Trade Secrets Nos. 25 and 111, Mr. Wagner relied on
Waymo’s technical expert, Dr. Hesselink, for the opinion that alleged misappropriation saved
Defendants at least two years and one year, respectively, of development time.172 However, it is
Dr. McManamon’s opinion that Waymo Purported Trade Secrets Nos. 25 and 111 would not have
accelerated commercialization of Uber’s AV technology at all, even if there was an indication that
Uber utilized those particular Waymo Purported Trade Secrets, which there is not.173 If it is
determined that Waymo Purported Trade Secrets Nos. 25 and 111 have not accelerated Uber’s
commercialization, as Dr. McManamon opined, no purported unjust profits would be attributable
to those two purported trade secrets. As a result, Mr. Wagner has overstated purported unjust
profits attributable to Waymo Purported Trade Secrets Nos. 25 and 111 by “apportioning” $1,690
million and $836 million to those purported trade secrets, respectively.174


83.     Furthermore, based on Mr. Wagner’s description of Waymo Purported Trade Secret No.
25, he understands that it consists of a collection of self-driving car test scenarios.175 Mr. Wagner
gave no consideration to the number of scenarios within the collection of test scenarios Uber is
alleged to have used in development of its AV technology. Mr. Hesselink’s report, upon which
Mr. Wagner relied, identified at most six test scenarios that Waymo alleges Uber




170
    Interview of Dr. McManamon.
171
    Interview of Dr. Lebby.
172
    The Wagner Report, ¶ 284.
173
    Interview of Dr. McManomon.
174
    The Wagner Report, ¶ 285.
175
    The Wagner Report, ¶¶ 47 – 50.


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misappropriated.176 Mr. Wagner’s failure to apportion value to only the test scenarios that Uber
used, if any, renders his apportionment analysis further unreliable.


                       v. Conclusions Regarding Mr. Wagner’s Unjust Profits Opinion

84.     Mr. Wagner’s opinion is based on speculation about future profits that may never occur,
which is premised on the results of an unreliable analysis that has been proven incorrect.
Additionally, Mr. Wagner has conflated time required to independently develop the Waymo
Purported Trade Secrets with accelerated commercialization of Uber’s AV technology, failed to
establish a causal link connecting the alleged misappropriation of the Waymo Purported Trade
Secrets to any unjust profits, and performed an improper “apportionment.” For at least the
foregoing reasons, Mr. Wagner’s opinion regarding the purported unjust profits Uber realized as a
result of the alleged misappropriation of the Waymo Purported Trade Secrets is unreliable and
grossly overstates unjust enrichment damages, if any.


85.     I also note that Mr. Wagner’s unjust profits analysis is predicated on an assumption that no
injunction is granted. If an injunction is granted, Uber will have to independently develop and/or
design-around the Waymo Purported Trade Secrets and, under Mr. Wagner’s theory, no unjust
profits will result.


            B. Mr. Wagner’s Avoided Cost Opinion

86.     Mr. Wagner’s avoided cost opinion is premised on the following statement from Mr. Bares’
notes from January 2016 regarding a meeting he had with Anthony Levandowski: “he would bring
(filtered) advice about what to try and not try…that is a day with him and our team could save us
months towards 2020 (month = $20M run rate).”177 Mr. Wagner then multiplied $20 million per
month by the same “amount of development time saved by Uber” that he used to calculate




176
  The Hesselink Report, pgs. 38 – 43.
177
  UBER00060321 – 347, at 321; Deposition of John Bares, June 16, 2017, pgs. 209 – 215; and Interview of John
Bares.


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purported unjust profits in order to calculate the purported avoided costs Uber enjoyed attributable
to each of the Waymo Purported Trade Secrets.178


                       i. The $20 Million per Month Run Rate is for the Uber’s Entire AV
                          Program and Not Tied to the Waymo Purported Trade Secrets

87.     Mr. Wagner’s avoided cost analysis is flawed because he used the cash burn rate for Uber’s
entire AV program rather than the cost of independently developing each of the Waymo Purported
Trade Secrets. As he did with his opinion of purported unjust profits, Mr. Wagner assumed that
each Waymo Purported Trade Secret advanced the launch date of Uber’s AV, and thereby saved
Uber months or years of incurred costs for its entire AV program.179


88.     According to Mr. Bares, “at the time [Uber] had this goal of getting to know [sic] safety
driver in 2020, and we were burning 20 million dollars a month in our org so if you save us a
month getting there, you save 20 million dollars.” (emphasis added)180 Thus, as with the analysis
underlying the Qi Slide, the $20 million run rate was relevant to the speed with which Uber’s entire
AV program was being developed, not the time necessary to independently develop each of the
Waymo Purported Trade Secrets.


89.     As noted previously, LiDAR—the area of AV to which the Waymo Purported Trade
Secrets allegedly relate—is merely one element of the hardware, which is merely one element of
Uber’s AV program.




90.     On its face, the statement from Mr. Bares’ notes refers to potential cost savings Mr. Bares
thought may result from advice Mr. Levandowski may have been able to provide to Uber. Mr.


178
    The Wagner Report, ¶¶ 292 – 295.
179
    The Wagner Report, ¶¶ 292 – 295.
180
    Deposition of John Bares, June 16, 2017, pgs. 214 – 215.
181
    UBER00231730 – 739, at 732.


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Bares’ deposition testimony confirms this interpretation of the note. Mr. Bares stated the following
about the note at his June 16, 2017 deposition:182


               Filtered advice to me was know-how. It’s like which way to attack the
               mountain and he had been at this since I met him that day in the desert in
               2004, multiple companies, multiple efforts. The first guy to send an
               autonomous car across the Bay Bridge, he knew a lot about autonomy, so
               he would bring filtered men, he’s not going to bring direct advice from a
               prior company such as Google, but he would bring filtered to me, like you
               filtered up enough and then it’s know-how.

91.     According to Mr. Bares, he did not contemplate the Waymo Purported Trade Secrets, or
any proprietary technologies, when he recorded the note about the $20 million monthly run rate.
In fact, Mr. Bares testified that he specifically was not considering “direct advice from a prior
company such as Google.”183 Instead, he was considering Mr. Levandowski’s “filtered” advice
(which, according to Mr. Bares, along with the acquisition of Ottomotto, ultimately did not save
Uber any time in its AV development).184 Mr. Wagner has provided no basis to support the notion
that Mr. Bares’ consideration of the value Mr. Levandowski and/or the Ottomotto acquisition could
provide Uber was tied to the Waymo Purported Trade Secrets.


92.     In light of the foregoing, Mr. Bares’ note regarding a $20 million monthly run rate is not
tied to the Waymo Purported Trade Secrets at issue in this matter and is not a reliable basis for Mr.
Wagner’s opinion regarding Uber’s purported avoided costs. Furthermore, given that Mr. Wagner
conflated time required to independently develop the Waymo Purported Trade Secrets with
accelerated commercialization, as he did with his analysis of purported unjust profits, I incorporate
the above discussion of Mr. Wagner’s failure to acknowledge the distinction between time to
independently develop the Waymo Purported Trade Secrets and accelerated commercialization
herein. For the various reasons discussed above Mr. Wagner’s opinion of the purported costs Uber




182
    Deposition of John Bares, June 16, 2017, pg. 214.
183
    Deposition of John Bares, June 16, 2017, pg. 214.
184
    Deposition of John Bares, June 16, 2017, pg. 214; and Deposition of John Bares, August 11, 2017, pgs. 374 –
375; and 458 – 460.

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avoided as a result of the alleged misappropriation of the Waymo Purported Trade Secrets is
unreliable and grossly overstates unjust enrichment damages.


93.        As discussed in detail below, it is my opinion that the appropriate measure of the purported
unjust enrichment Uber realized as a result of the alleged misappropriation of the Waymo
Purported Trade Secrets, if any, is the cost Uber would incur to employ additional resources to
independently develop the Waymo Purported Trade Secrets. Unlike Mr. Wagner’s opinion, this
measure of unjust enrichment does not conflate time to independently develop the Waymo
Purported Trade Secrets with accelerated commercialization of Uber’s AV technology and saved
development costs.


94.        It is also worth noting the degree to which Mr. Wagner’s use of the run rate for the entire
AV program inflates his calculation of purported unjust enrichment. Even if Mr. Wagner’s flawed
methodology were employed, and one assumed that independent development of the Waymo
Purported Trade Secrets would halt all work in Uber’s entire hardware department for the amount
of time needed for such independent development,




95.




185
186


187
      UBER00231730 – 739, at 732.

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                   ii. Mr. Wagner Did Not Establish a Causal Link Connecting the Waymo
                        Purported Trade Secrets to Purported Avoided Costs

96.     Mr. Wagner failed to establish a causal link between the alleged misappropriation of the
Waymo Purported Trade Secrets and his calculation of purported avoided costs. Similar to Mr.
Wagner’s analysis of alleged unjust profits, Waymo must explain: 1) how Uber’s alleged
misappropriation of the Waymo Purported Trade Secrets caused Uber to avoid costs; and 2) what
portion of those avoided costs are specifically attributable to the alleged misappropriation of the
Waymo Purported Trade Secrets, as opposed to other contributing technologies and factors. Mr.
Wagner did neither.


97.     Mr. Wagner’s opinion is based on purported cost savings of Uber’s entire AV program.
He did not isolate purported cost savings attributable to each of the Waymo Purported Trade
Secrets. As with his opinion regarding purported unjust profits, Mr. Wagner improperly assumed
that Uber’s AV development is a serial process and that no AV development (across the entire
program) would occur during a period that Uber independently developed the Waymo Purported

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Trade Secrets. For the reasons discussed above in relation to unjust profits, which I incorporated
herein, this assumption is unreliable and lacks any basis in evidence. If Mr. Wagner’s assumption
regarding serial development were to hold true, it would require a conclusion that during the two
year period Mr. Wagner opined is needed to independently develop Waymo Purported Trade
Secret No. 25, Uber’s entire AV program would simultaneously: 1) not be making any advances
towards commercialization or developing any other AV technology; and 2) continue to employ
over 700 employees, including over 400 software personnel, at a cost of tens of millions of dollars
a month, while waiting on the purported trade secret to be developed before the next purported
trade secret would be independently developed.188


98.     As discussed above, Uber contends that the Waymo Purported Trade Secrets have not been
utilized in Uber’s AV technology.189 Furthermore, according to Dr. McManamon, he has not seen
any indication that Uber has utilized Waymo Purported Trade Secrets Nos. 25 or 111.190 Similarly,
according to Dr. Lebby, he has not seen any indication that Uber has utilized the remaining Waymo
Purported Trade Secrets in its AV technology.191 As a result, it is improper to presume that Uber
benefited from any avoided costs attributable to the Waymo Purported Trade Secrets, because
there is no evidence indicating that the Waymo Purported Trade Secrets were used. For this reason,
Mr. Wagner has no basis to attribute any purported avoided costs to the Waymo Purported Trade
Secrets.


99.     Furthermore, based on Mr. Wagner’s description of Waymo Purported Trade Secret No.
25, he understands that it consists of a collection of self-driving car test scenarios.192 Mr. Wagner
gave no consideration to the number of scenarios within the collection of test scenarios Uber is
alleged to have used in development of its AV technology. As a result, to the extent Uber has used
less than all of the test scenarios constituting Waymo Purported Trade Secret No. 25, Mr. Wagner’s




188
    UBER00231730 – 739, at 732.
189
    Uber Technologies, Inc. and Ottomotto LLC’s Answer to First Amended Complaint and Affirmative Defenses,
¶¶ 14 – 15; and Defendant Uber Technologies, Inc. and Ottomotto LLC’s Second Supplemental Responses to
Waymo’s First Set of Common Interrogatories (Nos. 1 – 3), Response to Common Interrogatory No. 1.
190
    Interview of Dr. McManamon.
191
    Interview of Dr. Lebby.
192
    The Wagner Report, ¶¶ 47 – 50.

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apportionment is further flawed because he failed to attribute value to only the test scenarios Uber
actually used, if any.


                       iii. Conclusions Regarding Mr. Wagner’s Avoided Cost Opinion

100.       Mr. Wagner’s opinion is premised on a data point from Mr. Bares’ notes that is tied to
Uber’s entire AV program, and not to the Waymo Purported Trade Secrets. Additionally, Mr.
Wagner has conflated time required to independently develop the Waymo Purported Trade Secrets
with accelerated commercialization of Uber’s AV technology, and failed to establish a causal link
between the alleged misappropriation of the Waymo Purported Trade Secrets and any avoided
costs. For at least these reasons, Mr. Wagner’s opinion regarding the purported costs Uber avoided
as a result of the alleged misappropriation of the Waymo Purported Trade Secrets is unreliable and
grossly overstates unjust enrichment damages.


101.       I also note that Mr. Wagner’s unjust profits analysis is predicated on an assumption that no
injunction is granted. If an injunction is granted, Uber will have to do the redesign work related
to the Waymo Purported Trade Secrets and, under Mr. Wagner’s damages theory, no development
costs will be avoided.


               C. Mr. Wagner’s “Unquantified Unjust Enrichment” Opinions

102.       With respect to Mr. Wagner’s discussion of cost savings based on lower costs of lasers,
Mr. Wagner’s opinion is as follows: “[t]here is evidence that Uber is likely to achieve significant
cost savings over the next several years on its LiDAR sensors, and this will result in substantial
cost savings given the number of vehicle that it expects to roll out.”193 However, Mr. Wagner
failed to explain how this potential future cost savings is caused by, or even related to, the alleged
misappropriation of the Waymo Purported Trade Secrets. In fact, Mr. Wagner acknowledged that
“[a]t this time, [he has] not found enough evidence to reliably estimate the cost savings that Uber




193
      The Wagner Report, ¶¶ 313 – 319, at 319.


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will achieve based on developing its own LiDAR, let alone the cost savings attributable to the
misappropriation of the trade secrets.”194


103.     Similarly, Mr. Wagner’s discussion regarding “value to ‘De-Risking’ laser approach”
provides no indication how this purported value results from the alleged misappropriation of the
Waymo Purported Trade Secrets, and he acknowledged that he was unable to perform “a specific
quantification for the value to Uber of having a second laser path and ‘de-risking’ its laser
approach.”195


104.     Finally, Mr. Wagner identified several other “benefits to Defendants that he cannot
quantify,” including: 1) unjust enrichment to Ottomotto Trucking from potential consideration to
be paid if Uber exercised its option to acquire Ottomotto Trucking; 2) unjust enrichment to
Ottomotto Trucking or Uber based on employing LiDAR systems with reduced expenses in the
future; and 3) unjust enrichment to Defendants related to its potential future use of Trade Secret
No. 90.196 Notably, each of these purported benefits are “potential” and/or “future” benefits.
Furthermore, with respect to the first and second “other unquantified benefit,” Mr. Wagner has
failed to indicate how the alleged misappropriation of the Waymo Purported Trade Secrets caused
(or will potentially cause in the future) Uber to realize any unquantified benefit.


105.     Mr. Wagner’s discussion regarding “Unquantified Unjust Enrichment” is mere superfluous
speculation about notions that Mr. Wagner acknowledges he cannot quantify, and is entirely
unreliable.


              D. Mr. Wagner’s Reasonable Royalty Opinion

106.     For his reasonable royalty calculation, Mr. Wagner utilized his opinion of purported unjust
profits Defendants realized as a result of alleged misappropriation of the Waymo Purported Trade




194
    The Wagner Report, ¶¶ 313 – 319, at 319.
195
    The Wagner Report, ¶¶ 320 – 324.
196
    The Wagner Report, ¶¶ 320 – 325.


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Secrets as a “Baseline Royalty.”197 Mr. Wagner then applied a ten percent increase over the
“Baseline Royalty,” effectively applying a 110% royalty rate.198


                     i. Mr. Wagner’s “Baseline Royalty” is Speculative and Unreliable

107.     Mr. Wagner utilized his calculation of purported unjust profits Uber realized as a result of
allegedly misappropriating the Waymo Purported Trade Secrets as the royalty base, or “Baseline
Royalty,” for his reasonable royalty opinion.199 I incorporate the above discussion of Mr.
Wagner’s unjust profits opinion herein. Therefore, Mr. Wagner’s “Baseline Royalty” is unreliable
and grossly overstates reasonable royalty damages for the same reasons that Mr. Wagner’s opinion
regarding purported unjust profits is unreliable and grossly overstates unjust enrichment damages.


108.     Furthermore, as discussed in detail below, the hypothetical negotiation construct involves
a negotiation between a willing licensor, in this case Waymo, and a willing licensee, in this case
Uber. Considering the following factors, it is not rational or logical to conclude that Uber, as a
willing licensee at a hypothetical negotiation occurring between December 2015 and August 2016,
would have agreed to pay a royalty of $1.859 billion for a license to the Waymo Purported Trade
Secrets wherein:


            Uber contends that it has not utilized the Waymo Purported Trade Secrets, and Dr.
             McManamon and Dr. Lebby opined that they have not seen any indication that Uber
             utilized the Waymo Purported Trade Secrets;200

            Uber has not realized any profits from its AV development efforts, and the launch of
             an AV that can generate revenue without any safety driver is still years away;201

            Successful commercialization of Uber’s AV technology faces the same significant risks
             that Waymo faces, including “Supply Side Risks,” and “Demand Side Risks” like


197
    The Wagner Report, ¶¶ 384 – 387.
198
    The Wagner Report, ¶¶ 439 – 440.
199
    The Wagner Report, ¶¶ 384 – 385.
200
    Uber Technologies, Inc. and Ottomotto LLC’s Answer to First Amended Complaint and Affirmative Defenses,
¶¶ 14-15; and Defendant Uber Technologies, Inc. and Ottomotto LLC’s Fifth Supplemental Responses to Waymo’s
First Set of Common Interrogatories (Nos. 1 – 3), Response to Common Interrogatory No. 1; Interview of Dr.
McManamon; and Interview of Dr. Lebby.
201
    Deposition of Emil Michael, July 28, 2017, pgs. 137 – 138.


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             consumer acceptance and regulatory prohibition and/or containment.202



            Internal Google emails indicate Google placed little value on the Waymo Purported
             Trade Secrets;204

            If faced with a demand for an exorbitant royalty, as discussed below, Uber could have
             independently developed the Waymo Purported Trade Secrets for $605,000, rather than
             taking a license; and

            $1.859 billion is approximately twice the entire indicated value of Velodyne, and 89%
             of the indicated value that Google placed on its entire AV program in late 2015.205


109.     For at least the foregoing reasons, the notion that Uber would have paid Waymo $1.859
billion for a license to use the Waymo Purported Trade Secrets is not rational.206 Furthermore,
although his opinion regarding the purported costs Uber avoided is also flawed and unreliable, Mr.
Wagner provided no explanation as to why he chose his calculation of purported unjust profits as
the “Baseline Royalty” rather than his calculation of purported avoided costs. Although Mr.
Wagner stated that he has not reviewed evidence that provides a more reasonable starting point
than his calculations of purported unjust profits and avoided costs, he merely asserted that he
utilized his calculation of purported unjust profits as the “Baseline Royalty” without explaining
why doing so is more appropriate than using his calculation of purported avoided costs.207


110.     In the following table I compared Mr. Wagner’s reasonable royalty opinion to what it
would have been if Mr. Wagner had utilized his opinion of purported avoided cost as his “Baseline
Royalty” rather than his opinion of purported unjust profits.




202
    WAYMO-UBER-00046625 – 632, at 632.
203
    WAYMO-UBER-00046625 – 632, at 632.
204
    WAYMO-UBER-00084484.
205
    Velodyne was valued at $950 million and Google at $2.1 billion. UBER00069030 – 033, at 032.
206
    I note that both Waymo and Uber would have been aware of these factors at the hypothetical negotiation under
the Book of Wisdom. Sinclair Refining Co. v. Jenkins Petroleum Process Co., 289 U.S. 689, 698 (1933).
207
    The Wagner Report, ¶ 385.

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                        Using Purported             Using Purported           Amount Using Purported
    Trade
                        Unjust Profits as           Avoided Costs as          Unjust Profits Increased
  Secret No.
                       “Baseline Royalty”          “Baseline Royalty”           Reasonable Royalty
         25              $1,859,000,000               $528,000,000                 $1,331,000,000

        111               919,600,000                 264,000,000                   655,600,000

         9                312,198,220                  89,626,283                   222,571,937

         96               115,815,469                  33,248,460                    82,567,009

         2                105,744,559                  30,357,290                    75,387,269

         13               103,226,831                  29,634,497                    73,592,334

         14               103,226,831                  29,634,497                    73,592,334

         7                 47,836,824                  13,733,060                    34,103,765


111.         As shown above, Mr. Wagner increased his royalty opinion by as much as $1.331 billion
as a result of using his calculation of purported unjust profits as the “Baseline Royalty” rather than
his calculation of purported avoided costs, and he provided no rationale for doing so.


                        ii. Mr. Wagner’s 110% Royalty Rate is Arbitrary, Not Tied to the Facts of
                           the Case, and Does Not Accord with the Guidance of Georgia-Pacific

112.         Mr. Wagner asserted that “the reasonable royalty that would be agreed to by the parties is
a ten percent (10%) increase over the Baseline Royalty.”208 Thus, Mr. Wagner’s opinion is
effectively that the reasonable royalty rate is 110% of purported incremental profits. However,
Mr. Wagner did not explain the rationale for a 110% royalty rate, or provide a quantitative basis
to support a 110% royalty rate. Although Mr. Wagner noted that his Georgia-Pacific Factor
analysis resulted in identification of factors indicating lower, higher, and neutral royalty rates, he
provided no objective analysis linking those factors to a 110% royalty rate. Notably, Mr. Wagner
did not indicate that he even attempted to identify publicly available license agreements for
comparable technology. As a result, Mr. Wagner’s 110% royalty rate is arbitrary because it is not
based on objective facts or data, and is not tied to the facts of the case.



208
      The Wagner Report, ¶ 439.

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113.     Not only is Mr. Wagner’s 110% royalty rate entirely arbitrary, the notion that Uber would
pay more than the purported present value of incremental profits realized from the alleged
misappropriation of the Waymo Purported Trade Secrets is illogical and contrary to the licensing
parameters set forth in Georgia-Pacific Factor No. 15. As recited in the Wagner Report, Georgia-
Pacific Factor No. 15 states the following:209


               The amount that a licensor (such as the patentee) and a licensee (such as
               the infringer) would have agreed upon (at the time the infringement
               began) if both had been reasonably and voluntarily trying to reach an
               agreement; that is, that amount which a prudent licensee – who desires,
               as a business proposition, to obtain a license to manufacture and sell a
               particular article embodying the patented invention – would have been
               willing to pay as a royalty and yet be able to make a reasonable profit
               and which amount would have been acceptable by a prudent patentee who
               was willing to grant a license. (emphasis added)

114.     Mr. Wagner’s 110% royalty rate not only strips away all the incremental profits Uber
would purportedly realize from the alleged misappropriation of the Waymo Purported Trade
Secrets, but Mr. Wagner has also opined that Uber should pay an additional 10% premium. The
notion that Uber would pay Waymo, a competitor, 10% more than all of the purported incremental
benefit flowing from a license to the Waymo Purported Trade Secrets simply makes no sense and
contradicts the premise of Georgia-Pacific factor 15. Mr. Wagner has effectively opined that Uber
would be willing to incur losses, and subsidize a competitor, in order to receive a license to use
the Waymo Purported Trade Secrets, which internal Google emails indicate Google placed little
value on.210 No willing, or rational, licensee would do so; and the notion is contrary to the guidance
provided in Georgia-Pacific Factor No. 15.


115.     Assuming Mr. Wagner’s “Baseline Royalty” is not unreliable, which it is, a royalty rate
that accords with the guidance of Georgia-Pacific Factor No. 15 would effectively allocate Mr.
Wagner’s “Baseline Royalty” amongst Uber and Waymo. Instead, Mr. Wagner’s royalty rate




209
    The Wagner Report, ¶ 435; and Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116, 1120
     (S.D.N.Y. 1970).
210
    WAYMO-UBER-00084484.

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allocates all of his “Baseline Royalty” (which is $1.69 billion) to Waymo, and then, without
justification, gives Waymo an additional 10% premium (which is an additional $169 million).


116.     For the reasons discussed above, Mr. Wagner’s 110% royalty rate is arbitrary, not tied to
the facts of the case, and results in grossly overstated royalty damages.


117.     Additionally, Mr. Wagner relied on a Waymo Profit and Loss statement (“P&L”) in
purported support of his assertion that “[t]he potential profit opportunity to Waymo related to
autonomous vehicles is dramatic.”211 Mr. Wagner further stated that “Waymo’s internal modeling
of its profit opportunity within TaaS also indicates substantial potential profits,” and relied on these
same projections in his analysis of Georgia-Pacific No. 8 to conclude that “Waymo expected to
earn substantial profits from its TaaS offering during the hypothetical negotiation period.”212
However, Waymo’s forecasts, even if credible, are irrelevant to Georgia-Pacific factor 8, which
requires consideration only of the “established profitability of the product.” Furthermore, the
projections in the P&L statement, extending over 10 years into the future for an entity in an
industry with no operational history, are entirely speculative.


118.     Waymo employees responsible for either preparing the Waymo P&L or providing critical
inputs for it confirmed that the projections Mr. Wagner made reference to are speculative. For
example, Ming Su, former Finance Manager for Waymo, testified that forecasts are sometimes
“best guesses” and “… the goal isn't necessarily to be accurate … [t]he goal is to present a potential
outcome,” as explained in his testimony below:213


            Q: Did he ever provide you with information that you used in the P&Ls?

            A: I'm sure it's happened. I think sometimes in forecasting there's --
               there's kind of like, you know, best guesses. Or there's kind of -- in
               areas where maybe there's no answers. You know I think as a leader,
               you have to set a target. And so you know in those times, you know,




211
    The Wagner Report, ¶¶ 338 and 340 (citing WAYMO-UBER-00032541).
212
    The Wagner Report, ¶¶ 339 and 414.
213
    Deposition of Ming Su, August 23, 2017, pgs. 40, 118, and 211.

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                 maybe he'd step forward and, "Say this is the target that we're going
                 to use."

             Q: In any of the other P&Ls that you developed in the past, did you
                ever have to project out 10 years?

             A: Yes.

             Q: And how accurate were those projections?

             A: No, accuracy is a -- it's a tough question to answer when it comes to
                something like 10 years out.

             Q: What do you mean by that?

             A: Because the goal isn't necessarily to be accurate, right? The goal is
                to present a potential outcome of the future and a potential range of
                outcomes for the future. It's not necessarily to nail it on the -- on the
                dot, because no one can truly predict the future.

119.     Furthermore, the P&L statements were missing variables, such as the cost of “maintenance
for the SDS modules,” regarding which Mr. Su testified that he did not know if it would “be
significant” because he needed to “see some numbers on what the maintenance cost will be,” which
could impact overall profitability projections.214 Additionally, Mr. Willis, Director of Supply
Chain Operations for Waymo, testified that:




                                                                                                       However,
Waymo’s witnesses confirmed that projecting so far into the future increases the speculative nature
of the projections and that they “don't think there's anyone that would suggest they're confident of
anything occurring 10 years from now.”217




214
    Deposition of Ming Su, August 23, 2017, pgs. 271 – 276.
215
    Deposition of Tim Willis, August 18, 2017, pgs. 114 – 115, 204, 211, 220, 230, 336, and 346.
216
    Deposition of Ming Su, August 23, 2017, pgs. 250 – 251.
217
    Deposition of Ming Su, August 23, 2017, pgs. 178 – 179, 216, and 251.


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                       iii. Mr. Wagner Did Not Consider the Cost of Independently Developing the
                           Waymo Purported Trade Secrets as a Cap to Reasonable Royalty

120.         According to Mr. Wagner “design around times are already incorporated into the Baseline
Royalty.”218 However, Mr. Wagner failed to consider the costs of designing around the Waymo
Trade Secrets. Given that Uber would not be willing to pay a royalty that was more than the cost
to independently develop the Waymo Purported Trade Secrets, the cost to independently develop
the Waymo Purported Trade Secrets is a cap on reasonable royalty damages.


121.         As discussed above, Mr. Wagner’s calculation of purported the costs Uber avoided as a
result of allegedly misappropriating the Waymo Purported Trade Secrets is unreliable and grossly
overstates unjust enrichment, if any. However, as discussed in detail below, I have calculated the
cost Uber would incur to independently develop the Waymo Purported Trade Secrets. In the
following table I have compared Mr. Wagner’s reasonable royalty opinion to the cost Uber would
incur to independently develop the Waymo Purported Trade Secrets, which is the cap to the
reasonable royalty the parties would have agreed to at the hypothetical negotiation.


                                                Cost to Independently       Amount Mr. Wagner
    Trade               Mr. Wagner’s
                                                 Develop/Reasonable         Overstated Reasonable
  Secret No.         “Reasonable Royalty”
                                                    Royalty Cap                   Royalties
         25              $1,859,000,000                No Value                  $1,859,000,000

        111               919,600,000                     200                     919,599,800

         9                312,198,220                   112,160                   312,086,060

         96               115,815,469                   114,040                   115,701,429

         2                105,744,559                   208,920                   105,535,639

         13               103,226,831                   126,080                   103,100,751

         14               103,226,831                   126,080                   103,100,751

         7                 47,836,824                   43,600                     47,793,224




218
      The Wagner Report, ¶ 420.

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                       iv. Conclusions Regarding Mr. Wagner’s Reasonable Royalty Opinion

122.       Mr. Wagner’s “Baseline Royalty” is unreliable and grossly overstates reasonable royalty
damages for the same reasons that Mr. Wagner’s opinion regarding purported unjust profits is
unreliable and grossly overstates unjust enrichment damages. Additionally, Mr. Wagner’s 110%
royalty rate is arbitrary, not tied to the facts of the case, and results in grossly overstated royalty
damages. Furthermore, Mr. Wagner failed to acknowledge that the cost to independently develop
the Waymo Purported Trade Secrets is a cap to reasonable royalty damages. For at least these
reasons, Mr. Wagner’s reasonable royalty opinion is unreliable and grossly overstates reasonable
royalty damages.


               E. Mr. Wagner’s Unjust Enrichment Opinion Regarding Waymo Purported
                   Trade Secret No. 90

123.       Mr. Wagner explained his opinion regarding unjust enrichment related to Waymo
Purported Trade Secret No. 90 as follows: “Given Dr. Hesselink’s opinion that Tyto used Trade
Secret No. 90 to develop its technology, and Tyto was acquired by Defendants in May 2016, I
have used the $8 million cash consideration paid in the Tyto acquisition to value the amount of
unjust enrichment to Uber based on its misappropriation of Trade Secret No. 90.”219


                        i. Mr. Wagner’s Opinion is Not Based on Sound Methodology

124.       Mr. Wagner failed to explain why the cash consideration Ottomotto paid to acquire Tyto
is a reasonable measure of the value by which Uber was purportedly unjustly enriched as a result
of the alleged misappropriation of Waymo Purported Trade Secret No. 90. Despite discussing
numerous factors that contributed to the value Ottomotto acquired when it purchased Tyto, Mr.
Wagner merely asserted that the entire $8 million cash consideration paid to acquire Tyto
represented the amount of unjust enrichment to Uber as a result of the alleged misappropriation of
Waymo Purported Trade Secret No. 90.220 Mr. Wagner specifically noted:




219
      The Wagner Report, ¶ 307.
220
      The Wagner Report, ¶ 307.

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            Tyto’s intellectual property – identified as “[a]ll trade secrets, copyrights, and software
             owned by the Seller and used in the operation of the business as currently conducted,”
             as well as “[a]ll rights in and to all inventions owned by the Seller and used in the
             operation of the Business as currently conducted,” including four pending patent
             applications;

            Tangible assets – identified as “[a]ll tool, equipment, parts and inventory used to build
             and assemble fiber lasers and laser scanners. All equipment used to test and calibrate
             fiber lasers and laser scanners”; and

            Employees – $1,440,000 of the total $8,000,000 million cash consideration was to be
             paid to “Transferred Employees,” along with 2.75% of Ottomotto equity.


125.     Mr. Poetzscher, Vice President of Corporate Development at Uber, testified that the
Ottomotto/Tyto Acquisition was a “talent acquisition.”221            According to Mr. Wagner, he
“recognized that in addition to the technology, Defendants were also acquiring five employees
from Tyto. However, Defendants also paid additional consideration beyond the $8 million cash
in the form of 2.75% equity in Ottomotto.”222 Mr. Wagner failed to explain how this statement
justifies apportionment of the entire $8 million cash consideration to Waymo Purported Trade
Secret No. 90 in light of the fact that the Ottomotto/Tyto Acquisition was a talent acquisition.


126.     Mr. Wagner did not make any effort to identify the portion of the $1,440,000 that was paid
to “Transferred Employees,” if any, was consideration paid for Waymo Purported Trade Secret
No. 90, as opposed to consideration to retain talented engineers. Furthermore, it does not appear
that Mr. Wagner apportioned any of the cash consideration to tangible assets or intellectual
property other than Waymo Purported Trade Secret No. 90. Mr. Wagner quoted the following
opinion of Dr. Hesselink:223


               With regards to Trade Secret No, 90, … Defendants’ accelerated their
               knowledge of fiber-laser technology by acquiring Tyto LiDAR in the
               Spring of 2016. For several years prior to this, Tyto LiDAR – at the
               direction of Anthony Levandowski – exploited Waymo’s trade secret
               information regarding fiber laser technology in order to create a lower
               cost design for their “Owl” device… For example at least by November
               2013, Tyto LiDAR had “defined a plan to reduce the cost of the fiber laser
221
    Deposition of Cameron Poetzscher, June 19, 2017, pg. 358.
222
    The Wagner Report, ¶ 307.
223
    The Wagner Report, ¶ 298.

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               and bring BOM cost down to $9,500 by January 2014.” … Tyto’s
               continued work on lowering the cost of its own, custom-built fiber laser
               from late 2013 until its acquisition by Ottomotto in May 2016 further
               enhanced Tyto’s value to Defendants…

127.     Even if Tyto had misappropriated Waymo Purported Trade Secret No. 90 as alleged, Mr.
Wagner has not accounted for the contribution “Tyto’s continued work on lowering the costs of
its own, custom-built fiber laser from late 2013 until its acquisition by Ottomotto in May 2013,”
which is not attributable to Waymo Purported Trade Secret No. 90, made to the ultimate $8 million
cash consideration. Furthermore, the notion that Tyto LiDAR exploited Waymo’s trade secret
information “for several years prior to the Spring of 2016,” is undermined by the fact that Waymo
alleged Mr. Levandowski misappropriated the Waymo Trade Secrets in December 2015.224


128.     For the reasons discussed above, Mr. Wagner did not perform a proper apportionment,
rendering his opinion of unjust enrichment related to Waymo Purported Trade Secret No. 90
unreliable.


                     ii. Mr. Wagner’s Opinions are Internally Inconsistent, Demonstrating
                          Their Unreliability

129.     Mr. Wagner’s theory of purported unjust enrichment for Waymo Purported Trade Secret
No. 90 contradicts his theories of unjust enrichment related to the other Waymo Purported Trade
Secrets, demonstrating that neither theory is reliable.


130.     Mr. Wagner relied on Dr. Hesselink for the understanding that “Uber’s misappropriation
of Trade Secret No. 90 has saved it two years and five months, based on Defendants’ acquisition
of Tyto.”225 Thus, it is Mr. Wagner’s understanding that Waymo Purported Trade Secret No. 90
saved Uber five months of development time more than Waymo Purported Trade Secret No. 25,
which Mr. Wagner understands saved Uber two years of development time.226 Nevertheless, Mr.
Wagner opined that unjust enrichment related to Waymo Purported Trade Secret No. 90 was $8

224
    First Amended Complaint, ¶¶ 43 – 47.
225
    The Wagner Report, ¶ 299.
226
    The Wagner Report, ¶ 284.


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million, whereas he opined that unjust enrichment rated to Waymo Purported Trade Secret No. 25
was $1.69 billion.227


131.     Despite Mr. Wagner’s understanding of the development time Waymo Purported Trade
Secret Nos. 25 and 90 purportedly saved Uber (two years, and two years and five months,
respectively), he opined that unjust enrichment related to the alleged misappropriation of Waymo
Purported Trade Secret No. 25 is 211.25 times more than unjust enrichment related to the alleged
misappropriation of Waymo Purported Trade Secret No. 90.228 The fact that Ottomotto actually
paid an amount that is 211.25 less to acquire Tyto (and thereby allegedly misappropriate a trade
secret that purportedly saved Uber a relatively greater amount of development time) than Mr.
Wagner’s opinion of unjust enrichment related to Waymo Purported Trade Secret No. 25
undermines Mr. Wagner’s other unjust enrichment opinions and illuminates their unreliability.


            F. Mr. Wagner’s Irreparable Harm Opinion

132.     According to Mr. Wagner, absent an injunction, Uber’s alleged misappropriation of the
Waymo Purported Trade Secrets will continue and purportedly cause “significant and recurring
harm to Waymo,” including:229


                Continued misappropriation of Waymo’s trade secrets;

                Potential public disclosure of Waymo’s trade secrets;

                Loss of Waymo’s technological lead, and by extension, market entry opportunity;

                Greater competition in the AV space; and

                Sales made by Wayo at lower prices than would have occurred but for Uber’s
                 misappropriation.


227
    The Wagner Report, ¶¶ 285 – 286, and 307.
228
    [$1,690,000,000 ÷ $8,000,000 = 211.25]. Mr. Wagner’s reasonable royalty opinion related to Waymo Purported
Trade Secret No. 25 is 232.375 time greater than his unjust enrichment opinion related to Waymo Purported Trade
Secret No. 90 [$1,859,000,000 ÷ $8,000,000 = 232.375].
229
    The Wagner Report, ¶ 330.


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133.     In summary, it is Mr. Wagner’s opinion that Uber’s alleged misappropriation of the
Waymo Purported Trade Secrets will accelerate commercialization of Uber’s AV technology,
allowing it to enter the market earlier and thereby having “a significant impact on Waymo’s future
profitability.”230 However, Mr. Wagner stated repeatedly that he is unable to quantify the lost
profits Waymo will purportedly suffer as a result of the alleged misappropriation of the Waymo
Purported Trade Secrets.231


                      i. Any Purported Lost Profits Waymo Will Allegedly Suffer are Speculative

134.     As of the date of this report, neither Waymo nor Uber have commercialized their respective
AV technologies or realized profits from them. According to Mr. Emil Michael, “the launch of a
… autonomous vehicle that can generate revenue without any safety driver in there is still years
away.”232


135.     Contrary to Waymo’s own assessment of its likelihood of success and the many risk factors
it identified, Mr. Wagner’s theory of irreparable harm is premised on the assumption that Waymo
will successfully commercialize its AV technology according to its “Stated Plan of Record,” and
that Uber’s alleged misappropriation of the Waymo Purported Trade Secrets is the only thing that
could impede Waymo’s success. As such, Mr. Wagner’s irreparable harm theory is also premised
on the assumption that Uber will successfully commercialize its AV technology in order to
compete with Waymo, and that the alleged misappropriation of the Waymo Purported Trade
Secrets will accelerate Uber’s ability to do so.


136.     For the numerous reasons discussed above, successful commercialization of Waymo’s and
Uber’s respective AV technologies sometime in the future is far from certain. As a result, Mr.
Wagner’s opinion regarding the irreparable harm Waymo will suffer as a result of the alleged
misappropriation of the Waymo Purported Trade Secrets is mere speculation.




230
    The Wagner Report, ¶¶ 330, 337 and 368.
231
    The Wagner Report, ¶¶ 123, 337, 366, and 368.
232
    Deposition of Emil Michael, July 28, 2017, pgs. 137 – 138.

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                    ii. Mr. Wagner Did Not Establish a Causal Link Connecting the Waymo
                        Purported Trade Secrets to the Purported Irreparable Harm

137.     Mr. Wagner failed to establish a causal link between the alleged misappropriation of the
Waymo Purported Trade Secrets and the irreparable harm that Waymo will purportedly suffer
sometime in the future. As discussed above, Uber contends that the Waymo Purported Trade
Secrets have not been utilized in Uber’s AV technology.233 Furthermore, according to Dr.
McManamon, he has not seen any indication that Uber has utilized Waymo Purported Trade
Secrets Nos. 25 or 111.234 Similarly, according to Dr. Lebby, he has not seen any indication that
Uber has utilized the remaining Waymo Purported Trade Secrets in its AV technology.235 If, as
Uber contends, and Dr. McManamon and Dr. Lebby opined, Uber has not used the Waymo
Purported Trade Secrets in its AV technology, it cannot be the case the alleged misappropriation
of the Waymo Purported Trade Secrets will cause Waymo harm, irreparable or otherwise.


                   iii. Mr. Wagner Failed to Acknowledge the Distinction Between Time to
                        Independently Develop the Waymo Purported Trade Secrets and
                        Accelerated Development

138.     As discussed above, Mr. Wagner’s theory of irreparable harm is premised on the notion
that Uber’s alleged misappropriation of the Waymo Purported Trade Secrets will accelerate Uber’s
successful commercialization of its AV technology, and thereby allow Uber to compete with
Waymo more rapidly than it otherwise would have. However, as discussed above, Mr. Wagner
has conflated the concept of time required to independently develop the Waymo Purported Trade
Secrets with accelerated commercialization of Uber’s AV technology.


139.     The alleged misappropriation of the Waymo Purported Trade Secrets did not accelerate
commercialization of Uber’s AV technology, because Uber could have independently developed



233
    Uber Technologies, Inc. and Ottomotto LLC’s Answer to First Amended Complaint and Affirmative Defenses,
¶¶ 14-15; and Defendant Uber Technologies, Inc. and Ottomotto LLC’s Fifth Supplemental Responses to Waymo’s
First Set of Common Interrogatories (Nos. 1 – 3), Response to Common Interrogatory No. 1.
234
    Interview of Dr. McManamon.
235
    Interview of Dr. Lebby.


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the Waymo Purported Trade Secrets in parallel with its existing development efforts by employing
additional engineering resources.236 As with his opinions regarding unjust enrichment, Mr.
Wagner assumed that independent development of the Waymo Purported Trade Secrets would
have to be done serially, adding calendar days to the commercialization of Uber’s AV technology.


140.     Given that the alleged misappropriation of the Waymo Purported Trade Secrets has not
accelerated commercialization of Uber’s AV technology, Mr. Wagner’s theory, that Uber will
enter the market and compete with Waymo sooner than it otherwise would have as a result of the
alleged misappropriation, fails. As a result, and as with his opinions regarding unjust enrichment,
Mr. Wagner’s conflation of time to independently develop the Waymo Purported Trade Secrets
with accelerated commercialization of Uber’s AV technology renders his opinion regarding
irreparable harm unreliable.


                     iv. Mr. Wagner Has Not Established that Being First to the AV TaaS
                          Market is Necessary for Waymo’s Success

141.     Mr. Wagner provided a discussion regarding Waymo’s perception that being first to the
AV TaaS market is important to Waymo’s long-term success.237 However, it is not necessarily
the case that being first to market with new technology is always the best for the long-term success
of a venture. A 2015 article in Forbes stated:238


               Many entrepreneurs think that they need to launch as soon as possible, to
               get ahead of demand and anticipate what’s coming. Driven further by the
               incorrect notion that it’s essential to beat everyone else to the punch,
               they’re often left facing a market that isn’t ready and a product that’s not
               quite there yet.




236
    Interview of Dr. Lebby and Dr. McManamon.
237
    The Wagner Report, ¶¶ 343 – 351.
238
    Lipson, Jesse, Being First To Market Isn’t Always Best: Ask Microsoft About Apple Watch, Forbes, April 29,
2015.


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142.     Although being the first-mover confers certain advantages, it does not guarantee that a firm
will enjoy continued success.239 In fact, in some industries, it is much better to enter the market
late.240 According to a 2013 KellogInsight article, one study showed that in just 15 of 50 product
categories, pioneers were more successful than late movers.241 This is because pioneers tend to
launch products without fully understanding customers’ problems and the features that solve those
problems.242 Learning from a pioneer’s mistakes and experience is a key factor of why late
entrants are often more successful than pioneers.243 Innovative late entrants may also enjoy the
same benefits as a pioneer by redefining and reshaping a product category.244 Thus, there are
inherent advantages to being a pioneer and a late entrant.245


143.     Other factors that contribute to whether a pioneer or late entrant enjoy continued success
are the expected life of the product and whether value of the product is highly subjective.246 In a
product category where the product’s life cycle is short and/or the value of a product is highly
subjective, a pioneer may have the greater advantage.247 However, in a product category where
objective standards are more important than subjective factors, the late entrants have a greater
advantage.248 For example, in the car industry, many of the elements of buying a car are objective
such as safety, price, and gas mileage.249 Therefore, a late entrant such as Toyota’s Lexus can
create remarkable success 100 years after Karl Benz developed the first car.250


144.     History is filled with examples of successful firms that were never first. Boeing, for
example, did not pioneer modern jet travel, nor was Google the first internet search engine.251



239
    https://hbr.org/2005/04/the-half-truth-of-first-mover-advantage;
https://insight.kellogg.northwestern.edu/article/the_second_mover_advantage.
240
    https://insight.kellogg.northwestern.edu/article/the_second_mover_advantage.
241
    https://insight.kellogg.northwestern.edu/article/the_second_mover_advantage.
242
    http://www.businessinsider.com/steve-blank-first-mover-advantage-overrated-2010-10.
243
    https://insight.kellogg.northwestern.edu/article/the_second_mover_advantage.
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Other examples include: Facebook, LinkedIn, Twitter, Groupon, Uber, Alibaba, and Spotify.252
In the ride-share market, pioneer Sidecar, one of the first apps to let users request a car, shut down
its operations in 2015 after it struggled to raise funding to compete with Lyft and Uber.253


145.     Thus, while Waymo currently perceives that having a head-start in the AV TaaS industry
will be critical to its success, it is yet to be seen whether or not a first-mover advantage is actually
beneficial to Waymo’s long-term success. Accordingly, Mr. Wagner’s theory of the irreparable
harm Waymo will purportedly suffer as a result of Uber allegedly shortening Waymo’s head-start
by misappropriating the Waymo Purported Trade Secrets is undermined to the extent that having
a head-start does not actually provide long-term benefits in the AV TaaS market.


146.     Moreover, Waymo would not be able to enjoy a first-mover advantage in the traditional
TaaS market since other firms, like Uber and Lyft, have been in this market for years without AV
technology. Thus, to the extent Waymo’s strategy is to offer a differentiated TaaS product, Waymo
must overcome significant barriers to compete with entrenched competitors in the traditional TaaS
market. In fact, Waymo identified Uber as the U.S. market leader in TaaS, and as an “extremely
formidable” force that could combat Waymo’s entry into TaaS.254


VII. ANALYSIS OF ECONOMIC DAMAGES RESULTING FROM ALLEGED
       MISAPPROPRIATION OF THE WAYMO PURPORTED TRADE SECRETS

147.     Trade secrets damages can only be recovered if there is a finding of liability. Accordingly,
solely for purposes of evaluating damages, if any, owed to Waymo, I have been asked to assume
that the Waymo Purported Trade Secrets are in fact trade secrets and were misappropriated by
Uber. It is my understanding that Waymo may be entitled to recover actual damages based upon
the value of what has been lost and/or the value of what has been gained by the Uber. I understand
that remedies for misappropriation of trade secrets under the DTSA include the following:255



252
    https://techcrunch.com/2015/06/17/the-last-mover-advantage/.
253
    https://www.forbes.com/sites/briansolomon/2015/12/29/ride-share-pioneer-sidecar-shuts-down-outmuscled-by-
uber-and-lyft/#3641cf8629fe.
254
    WAYMO-UBER-00004175 – 194, at 177 and 184.
255
    18 U.S.C. § 1836.

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              Damages for actual loss caused by the misappropriation;

              Damages for any unjust enrichment caused by the misappropriation of the trade secret
               that is not addressed in damages for actual loss; and

              A reasonable royalty for the misappropriator’s unauthorized disclosure or use of the
               trade secret in lieu of damages measured by any other method.


148.         The CUTSA provides the same remedies for misappropriation of trade secrets as does the
DTSA.256           As a result, an analysis of economic damages resulting from the alleged
misappropriation of the Waymo Purported Trade Secrets applies to Waymo’s claims under both
the DTSA and the CUTSA.


149.     It is my understanding that courts take a variety of approaches to determine the appropriate
damages in trade secret misappropriation cases. Consistent with the remedies provided under the
DTSA and the CUTSA, as outlined above, the calculation of damages can be measured in several
different ways:257


         A. Loss Caused by the Misappropriation:

                   Value of the Trade Secrets. If the value of the trade secret(s) has been destroyed
                    through misappropriation, the owner can be awarded the value of the secret at the
                    time of the misappropriation.258

                   Actual Damages/Lost Profits. This represents the profits, if any, forgone by the
                    plaintiff that resulted from the unauthorized use of the trade secrets.259

         B. Unjust Enrichment Caused by the Misappropriation:

                   Disgorgement of Gains. This involves the disgorgement of defendants’ gains, if
                    any, attributable to its unauthorized use of the trade secrets. Such gains can be
                    measured by defendants’ profits, head start advantage and/or avoided costs.260



256
    Cal. Civ. Code § 3426.3. A reasonable royalty is only available under the CUTSA if the claimant is unable to
prove either lost profits or unjust enrichment.
257
    The measures of recovery discussed are not all additive, and, in fact, some may be mutually exclusive.
258
    Weil, et al., Litigation Services Handbook (Fifth Edition), pg. 18.38.
259
    Weil, et al., Litigation Services Handbook (Fifth Edition), pg. 18.37.
260
    Weil, et al., Litigation Services Handbook (Fifth Edition), pg. 18.39.


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         C. Reasonable Royalty: This measures the royalty that a defendant would have been
            willing to pay, and a plaintiff would have been willing to accept, for the use of the
            trade secrets. A reasonable royalty for the allegedly misappropriated trade secrets is
            typically determined with consideration of the factors set forth in Georgia Pacific
            Corp. v. United States Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970).261


150.     As of the date of issuance of this report, I have not seen any evidence that the Waymo
Purported Trade Secrets have been destroyed or any profits forgone by Waymo as a result of the
alleged misappropriation by Uber. In fact, according to Mr. Wagner, “Waymo is not seeking lost
profits for its theft of trade secrets causes of action at this time.”262 As a result, my analysis of
damages for the alleged misappropriation of the Waymo Purported Trade Secrets is limited to
Uber’s unjust enrichment, if any, and an analysis of a reasonable royalty. I discuss my analysis of
these remedies in the sections below.




261
    RKI, Inc. v. Grimes, 200 F. Supp. 2d 916, 926-27 (N.D. Ill. 2002); Georgia-Pacific Corp. v. United States
Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970); Weil, et al., Litigation Services Handbook (Fifth Edition), pg.
18.34.
262
    The Wagner Report, ¶ 263.




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                       x. Conclusion

183.       In summary, it is my understanding that the Waymo Purported Trade Secrets are not novel,
and could be independently developed for $605,000.332 The following table provides a breakdown
of the development costs by alleged trade secret:


                                Cost to Independently Develop Waymo’s
                                        Purported Trade Secrets
                                                                   Total Cost
                                Purported Trade Secret
                                  No. 2                                $208,920
                                  No. 7                                  43,600
                                  No. 9                                 112,160
                                  No. 13 and 14                         126,080
                                  No. 25                               No Value
                                  No. 90                               No Value
                                  No. 96                                114,040
                                  No. 111                                   200
                                   Total                                $605,000




332
      [$208,920 + $43,600 + $112,160 + $126,080 + $114,040 + $200 = $605,000].


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             B. Unjust Enrichment from Alleged Use of the Waymo Purported Trade Secrets

184.     As of the date of this report, I have seen no evidence of unjust enrichment by Uber from
its alleged use of the Waymo Purported Trade Secrets. According to Scott Boehmke, “Fuji is the
only in-house LiDAR that is currently under development” by Uber.333 Based upon my interviews
of Dr. McManamon and Dr. Lebby, I understand that the Waymo Purported Trade Secrets are well
known within the industry and provide little, if any, value to Uber.334 In fact, I understand that the
Fuji design does not incorporate many of the teachings of the Waymo Purported Trade Secrets.335
Additionally, I understand that Uber contends it has independently developed each of the
technologies within the Fuji design, which I have seen no evidence produced in this matter that
contradicts this position. Therefore, I have seen no evidence that Uber has avoided any costs as a
result of its alleged misappropriation of the Waymo Purported Trade Secrets.


185.     Furthermore, contrary to Mr. Wagner’s position as discussed above, I have seen no
evidence that Uber’s AV development efforts have been accelerated as a result of its alleged
misappropriation of the Waymo Purported Trade Secrets. Although the Qi Slide relied upon by
Mr. Wagner “attempt[ed]” to determine the present value to Uber “if” it were able to accelerate its
AV development by one to two years, as discussed in detail above, results shown in the Qi Slide
were speculative, never reviewed or relied on by anyone at Uber, and ultimately proven to be
incorrect. Furthermore, neither Waymo, nor its experts, have provided any evidence that Uber
accelerated its AV efforts as a result of Uber’s alleged misappropriation of the Waymo Purported
Trade Secrets. Therefore, I have seen no evidence that Uber received a head start advantage as a
result of its alleged misappropriation of the Waymo Purported Trade Secrets.


186.




333
    Deposition of Scott Boehmke, April 17, 2017, pgs. 17 – 18.
334
    Interviews of Dr. McManamon and Dr. Lebby.
335
    Interviews of Dr. McManamon and Dr. Lebby.

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187.




336
    WAYMO-UBER-00001354-R – 1371-R, at 363-R.
337
    WAYMO-UBER-00031699 – 31801 at 713 – 717.
338
    WAYMO-UBER-00031699 – 31801, at 714.

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188.     Additionally, as noted by Waymo, there are many “supply side” and “demand side” risk
factors that could affect the success of an AV development program and TaaS business.341 Waymo
describes these risk factors as follows:342


            Supply Side Risk:

             o “We get the self-driving technology to work”

             o “We can’t get/develop a vehicle platform;”

             o “We can’t get/develop sensors;”

             o “We can’t solve all the software challenges;” and

             o “We can’t get our overall system reliability high enough.”

             o “We get the cost of the technology down enough to run a sustainable TaaS
               business”




339
    “Self-driving cars are safer when they talk to each other,” engadget, June 24, 2017,
https://www.engadget.com/2017/06/24/self-driving-cars-mcity-augmented-reality/.
340
    http://spectrum.ieee.org/cars-that-think/transportation/self-driving/how-driveai-is-mastering-autonomous-
driving-with-deep-learning. Hod Lipson, et al., “Driverless: Intelligent Cars and the Road Ahead,” The MIT Press:
Cambridge, 2016, pgs. 197 – 203.
341
    WAYMO-UBER-00046625 – 632 at 625.
342
    WAYMO-UBER-00046625 – 632.

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            Demand Side Risk:

             o “We achieve consumer acceptance of self-driving cars;” and

             o “We avoid regulatory prohibition of our self-driving technology.” Google expects
               “regulatory risks will increase over the next 5 years.”

            Other Risk Factors:

             o “Corporate Funding Risk;”

             o “Secular Risks;”

             o “Macro Risks;” and

             o “Commercialization risks.”


189.




190.     As a result, LiDAR, which the Waymo Purported Trade Secrets are but a small component
of, is one small element of the AV development effort. There are many other complex elements
and risk factors, unrelated to the development of LiDAR, which may have a significant impact on
the development timeline and a company’s ability to successfully implement an AV TaaS business.
In fact, when considering the compensation structure for the Ottomotto acquisition, only 20% of


343
    WAYMO-UBER-00042527 – 531 at 529.
344
    WAYMO-UBER-00046625 – 632 at 626.
345
    WAYMO-UBER-00046625 – 632 at 626.
346
    WAYMO-UBER-00046625 – 632 at 627.
347
    WAYMO-UBER-00046625 – 632 at 627 – 628.


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the “milestone” payments were based upon deliverables associated with the laser.348                      The
remaining 80% was based upon achievements in other aspects of the AV development effort.349
This further supports the fact that Uber’s AV development effort encompasses much more than
the development of a sensor, or the Waymo Purported Trade Secrets.


191.     Based on the foregoing, I have seen no evidence that Uber has received a head-start benefit
from its alleged misappropriation of the Waymo Purported Trade Secrets, even under an
assumption of use. In fact, it is clear that the sensor (e.g., LiDAR) is only a small component of
implementing a successful AV TaaS business and a component that does not pose much risk to the
AV development timeline as both Plaintiff and Uber are primarily focused on “software
challenges.”350 As a result, any alleged benefit would be limited to Uber’s avoided costs which
can be measured by the cost to independently develop each of the Waymo Purported Trade Secrets.
The cost to independently develop each of the Waymo Purported Trade Secrets would represent
the maximum benefit received by Uber under the assumption that Uber misappropriated the
Waymo Purported Trade Secrets and benefited from such use.


192.     As discussed in detail above, Uber provided the following time and cost estimates to
independently develop the accused features of Fuji, which allegedly incorporate the Waymo
Purported Trade Secrets:351




348
    UBER00100344 – 352 at 346 and 349.
349
    UBER00100344 – 352 at 346 and 349.
350
    WAYMO-UBER-00046625 – 632 at 626; Deposition of Daniel Gruver, August 4, 2017, pgs. 112 – 113.
351
    Defendant Uber Technologies, Inc. and Ottomotto LLC’s Second Supplemental Responses to Waymo’s First Set
of Common Interrogatories (Nos. 1 – 3). See Exhibit 4.

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                              Cost to Independently Develop Waymo’s
                                      Purported Trade Secrets
                                                                Total Cost
                              Purported Trade Secret
                                No. 2                               $208,920
                                No. 7                                 43,600
                                No. 9                                112,160
                                No. 13 and 14                        126,080
                                No. 25                              No Value
                                No. 90                              No Value
                                No. 96                               114,040
                                No. 111                                  200
                                Total                                $605,000

193.     I understand the estimates above assume that the independent contractor would not be
provided with information on the current design of the accused features of Fuji.352 Additionally, I
understand that Dr. McManamon and Dr. Lebby reviewed these estimates and believe them to be
reasonable.    Therefore, under an assumption that Uber received a benefit from its alleged
misappropriation and use of the Waymo Purported Trade Secrets, I have calculated Uber’s unjust
enrichment (i.e., based on avoided costs) to be no more than $605,000. As discussed above, this
represents the maximum benefit Uber allegedly received as a result of its alleged misappropriation
of the Waymo Purported Trade Secrets. This amount is also conservative as it overstates the
damages to Waymo due to the fact that I have not seen any evidence that Uber has been unjustly
enriched by its alleged misappropriation of the Waymo Purported Trade Secrets. Additionally,
this amount does not take into consideration the actual time expended and costs incurred by Uber
from its development of the accused features of Fuji. As noted above, Uber contends that it has
independently developed each of the technologies within the Fuji design; and therefore, any
alleged unjust enrichment realized by Uber would be net of any actual costs incurred.




352
   Defendant Uber Technologies, Inc. and Ottomotto LLC’s Second Supplemental Responses to Waymo’s First Set
of Common Interrogatories (Nos. 1 – 3).


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            C. Reasonable Royalty for the Alleged Use of the Waymo Purported Trade
                Secrets

194.     For purposes of determining a reasonable royalty for alleged use of trade secrets, it is my
understanding that one can look to the guidance given by courts in patent infringement disputes.353
35 U.S.C. § 284 provides:


              Upon finding for the claimant the court shall award the claimant damages
              adequate to compensate for the infringement, but in no event less than a
              reasonable royalty for the use made of the invention by the infringer…

195.     In trade secret matters, Courts have adopted the guidance set forth in Georgia-Pacific Corp.
v. United States Plywood Corp (“Georgia-Pacific”) to determine the reasonable royalty that would
have resulted from a hypothetical negotiation between a willing licensor and willing licensee at
the time the trade secrets were allegedly misappropriated.354 In establishing the reasonable royalty
in this hypothetical willing licensor/licensee negotiation, courts have established a number of
factors that are to be considered, including those established by the Georgia-Pacific case. The
analysis focuses on the economic and bargaining positions of the hypothetical licensor and
hypothetical licensee at the time of the hypothetical negotiation, and the likely outcome of such
negotiation given the parties’ respective bargaining positions. An important distinction of the
hypothetical negotiation is that parties on both sides of the negotiation would have acknowledged
that the alleged trade secrets were, in fact, trade secrets and misappropriated as has been alleged;
whereas the licensee in a real-life negotiation may not have made such acknowledgements.


196.     While Georgia-Pacific enumerates various factors that should be considered in
determining reasonable royalties, these factors are not absolute determinants of a reasonable
royalty. Rather, the Georgia-Pacific Factors are guidelines to evaluating the likely actions of the


353
    University Computing Company v. Lykes-Youngstown Corporation et al. 504 F.2d 518, 535, 537 – 539 (5th Cir.
1974); De Lage Landen Operational Services, LLC v Third Pillar Systems, Inc. Civil Action No. 09-2439,
Memorandum dated May 9, 2011.
354
    Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970); and University
Computing Company v. Lykes-Youngstown Corporation et al. 504 F.2d 518, 535, 537 – 539 (5th Cir. 1974); De Lage
Landen Operational Services, LLC v Third Pillar Systems, Inc. Civil Action No. 09-2439, Memorandum dated May
9, 2011.


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parties in a hypothetical negotiation. Based on the facts and circumstances of the case, the factors
are not necessarily given equal weight, and are not exhaustive. Rather, the Georgia-Pacific Factors
are part of the overall analysis. I have also considered recent Federal Circuit opinions as they
relate to my opinion of economic damages in this matter and my opinions comply with the Federal
Circuit’s mandates.355


                      i. Hypothetical Negotiation

197.     The hypothetical negotiation for a license to the Waymo Purported Trade Secrets is
assumed to have occurred on or about the date of first alleged misappropriation. However, I am
not aware of any evidence or allegation indicating when the alleged misappropriation of the
Waymo Purported Trade Secrets by Uber occurred.356 Given that Waymo alleged that Mr.
Levandowski, who is not a Defendant in this litigation, downloaded the 14,000 Waymo documents
containing the Waymo Purported Trade Secrets in December 2015, the date of first
misappropriation by Uber in this matter could not have occurred prior to December 2015.357
Furthermore, although he provided no basis for the statement, Mr. Wagner asserted that the
misappropriation “may have continued through the period until the date of the merger in August
2016.”358 Despite the lack of any evidence indicating the date or dates on which any of the Waymo
Purported Trade Secrets were allegedly misappropriated, similar to Mr. Wagner’s assumption, I
have assumed that the date of first misappropriation, and therefore the hypothetical negotiation,
was sometime between December 2015 and August 2016.


                     ii. Georgia Pacific Factor Analysis

               Georgia-Pacific Factor No. 1: The royalties received by the [trade
               secret(s) owner] for the licensing of the [trade secret(s)], proving or
               tending to prove an established royalty.


355
    E.g., Lucent Technologies v. Gateway, 580 F.3d 1307 (Fed. Cir. 2009); Cornell University v. Hewlett-Packard,
609 F.Supp.2d 279 (N.D.N.Y. 2009); ResQNet.com v. Lansa, 594 F.3d 860 (Fed. Cir. 2010); Uniloc USA v.
Microsoft, 632 F.3d 1292 (Fed. Cir. 2011); LaserDynamics, Inc. v. Quanta Computer, Inc., (Fed. Cir. Aug. 30,
2012); Ericsson, Inc. v. D-Link Systems, Inc., 773 F.3d 1201 (Fed. Cir. 2014); Commonwealth Sci. & Indus.
Research Org. v. Cisco Sys., Inc., 809 F.3d 1295 (Fed. Cir. 2015).
356
    Interview of Dr. McManamon and Dr. Lebby.
357
    Amended Complaint, ¶ 44.
358
    The Wagner Report, ¶ 383.

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198.     Georgia-Pacific Factor No. 1 involves consideration of the existence of an established
royalty for the Waymo Purported Trade Secrets. As of the issuance of this report, I am not aware
of any licenses under which Waymo has granted rights to the Waymo Purported Trade Secrets.
As a result, this factor would have a neutral impact on the royalty negotiated between the parties
at the hypothetical negotiation.


              Georgia-Pacific Factor No. 2: The rates paid by the licensee for the use
              of other [trade secret(s)] comparable to the [trade secret(s) at issue].

199.     Georgia-Pacific Factor No. 2 involves consideration of the existence of any licenses Uber
has taken for trade secrets that are comparable to the Waymo Purported Trade Secrets. As of the
issuance of this report, I am not aware of any licenses under which Uber has been granted rights
to trade secrets or other technology that is comparable to the Waymo Purported Trade Secrets. As
a result, this factor would have a neutral impact on the royalty negotiated between the parties at
the hypothetical negotiation.


              Georgia-Pacific Factor No. 3: The nature and scope of the license, as
              exclusive or non-exclusive; or as restricted or non-restricted in terms of
              territory or with respect to whom the manufactured product may be sold.

200.     The hypothetical negotiation in this matter would result in Uber obtaining non-exclusive
and non-restrictive license to use the Waymo Purported Trade Secrets. My analysis of a reasonable
royalty in this matter is based upon the cost and time to independently develop the Waymo
Purported Trade Secrets, which would represent the maximum amount Uber would be willing to
pay for rights to the Waymo Purported Trade Secrets. As a result, this factor would have a neutral
impact on the royalty negotiated between the parties at the hypothetical negotiation.


              Georgia-Pacific Factor No. 4: The licensor’s established policy and
              marketing program to maintain its [trade secret(s)] monopoly by not
              licensing others to use the invention or by gaining licenses under special
              conditions designed to preserve that monopoly.

201.




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202.




203.     Waymo and Uber would have been considered potential competitors at the time of the
hypothetical negotiation. Specifically, Uber identified various competitors in the AV industry,
including Google, Tesla, and Apple.362 Furthermore, Waymo viewed the following companies as
potential competitors as of 2016:363




359
    WAYMO-UBER-00031464 – 552 at 548.
360
    Deposition of Gerard Dwyer, August 9, 2017, pg. 213.
361
    Deposition of Gerard Dwyer, August 9, 2017, pgs. 213 – 214.
362
    UBER00068983.
363
    WAYMO-UBER-00001354 – 1412, at 1404 – 1405.

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204.       Additionally, in May 2017, Waymo announced that it would partner with Lyft, which is a
competitor of Uber in the ridesharing industry.364 As a result, Waymo and Uber would have been
considered potential competitors at the time of the hypothetical negotiation. As a result, this factor
would have an upward impact on the royalty negotiated between the parties at the hypothetical
negotiation.


                 Georgia-Pacific Factor No. 6: The effect of selling the [trade secret(s)]
                 specialty in promoting sales of other products of the licensee; the existing
                 value of the invention to the licensor as a generator of sales of its [non-
                 trade secret] items; and the extent of such derivative or convoyed sales.

205.       In general, convoyed sales involve sales of related products, which flow or would be
expected to flow to the licensee from the right to manufacture, use or sell products utilizing the
trade secret(s). As of the date of issuance of this report, I have seen no evidence that the Waymo
Purported Trade Secrets provide the basis of demand for the Fuji LiDAR System. Similarly, I
have seen no evidence of any residual sales that Uber would be able to realize as a result of
incorporating the Waymo Purported Trade Secrets into a LiDAR system. As a result, this factor
would have a neutral impact on a negotiated royalty between the parties.


                 Georgia-Pacific Factor No. 7: The duration of the [trade secret(s)] and
                 the term of the license.

206.       Trade secrets have no legal limit on their duration. As a result, the term of the license
resulting from the hypothetical negotiation would have been for as long as the Waymo Purported
Trade Secrets remained confidential and provided a competitive advantage to Waymo. However,
Uber could have independently developed the Waymo Purported Trade Secrets in a short period
of time. Moreover, once Waymo, and other companies, introduce an AV on the road, the LiDAR
systems may be more accessible and subject to reverse engineering. As a result, this factor would
have a neutral impact on the royalty negotiated between the parties at the hypothetical negotiation.




364
      https://www.nytimes.com/2017/05/14/technology/lyft-waymo-self-driving-cars.html?mcubz=1.

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               Georgia-Pacific Factor No. 8: The established profitability of the
               product made under the [trade secret(s)]; its commercial success; and its
               current popularity.

207.     In order to evaluate this factor, it is important to review the respective expectations of the
parties at the time of the hypothetical negotiation regarding potential revenues and profits realized
from implementing a successful AV TaaS business. As discussed throughout this report, I
understand that any alleged use of the Waymo Purported Trade Secrets would have had little, if
any, impact on future revenues and profits of Uber. Moreover, none of the evidence cited by
Wagner has to do with the “established profitability of the product,” as required for consideration
under Georgia-Pacific factor number 8.


208.     Although the Qi Slide relied upon by Mr. Wagner “attempt[ed]” to determine the present
value to Uber “if” it were able to accelerate its AV development by one to two years, as discussed
in detail above, results shown in the Qi Slide do not reflect the “established profitability of the
product,” which doesn’t exist. Further, the results were speculative, never reviewed or relied on
by anyone at Uber, and ultimately proven to be incorrect as the Ottomotto acquisition has not
accelerated commercialization of Uber’s AV technology. Ms. Qi stated multiple times in her
testimony that her incremental profitability projections were not readily received by her
supervisors.365 In her testimony, Ms. Qi stated that “both John and Brian did not like this, and I
remember John saying, ‘This slide needs work’” and “[t]hey thought my analysis on the cheaper
data collection was off.”366 As a result, Ms. Qi testified that her incremental profitability
projections (i.e., the Qi Slide) were “her own assessment and ultimately was not used in any
forum.”367


209.     Additionally, due to the high risks and uncertainties involved in the AV market, assessing
future profitability is unpredictable.368 At the time of the hypothetical negotiation, Uber, and
Waymo, faced, and still faces, numerous obstacles, including technical and regulatory hurdles, to


365
    Deposition of Ningjun Qi, June 22, 2017, pgs. 212 and 215 – 216; Deposition of Ningjun Qi, August 10, 2017,
pgs. 412 and 417.
366
    Deposition of Ningjun Qi, June 22, 2017, pg. 215.
367
    Deposition of Ningjun Qi, June 22, 2017, pg. 223.
368
    Strategy&, “Connected car report 2016: Opportunities, risk, and turmoil on the road to autonomous vehicles,” pg.
22.

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its contemplated launch of an AV TaaS business that a license to the Waymo Purported Trade
Secrets alone would not remove. These hurdles make Uber’s internal forecasts of profit associated
with that service extremely speculative. Several substantial technical hurdles stand between
current AV technology and commercialization of AV TaaS. First, profitability in the AV TaaS
model is tied to the ability to remove human drivers (labor costs being [70%] of total costs).
Removing human drivers depends on AV technology being sufficiently reliable. Second, LiDAR
cannot currently function in adverse weather conditions such as rain or snow.369 Therefore,
LiDAR-dependent AVs cannot sustain continuous operations in areas where precipitation is
common. Given the climate in the U.S., this significantly limits the potential locations in which a
LiDAR-dependent AV car design can be brought to market.


210.     In addition to the technical hurdles encumbering AV commercialization, many policy and
regulatory issues affect the timing and viability of an AV TaaS business.370 One of the major
hurdles involves many current legal regimes requiring human driver fail safes for AVs to access
public roadways. Uber has discussed the fact that so-called “safety drivers” may have to be in AV
cars for some time.371 For example, Uber has not even ventured to make plans to roll-out AV TaaS
because any planning process would be stymied by uncertainties as to whether, or in what form,
the regulatory environment might one day permit the AV technology to be implemented.372


211.     Waymo also recognized the hurdles posed by regulation. In its “Plan of Record Strategy,”
Waymo enumerated the risks it faced in the AV space, one of which was “regulatory hurdles
block[ing] [its] TaaS service from operating.”373


                                                                    Charlie Johnson, a Business Strategy
and Operations Analyst at Waymo, recognized that “some regulations might impede [Waymo’s]



369
    http://spectrum.ieee.org/cars-that-think/transportation/self-driving/how-driveai-is-mastering-autonomous-
driving-with-deep-learning.
370
    For example, WAYMO-UBER00032319 – 383, at 335 – 342; WAYMO-UBER-00031805 – 817, at 810.
371
    Deposition of Gautam Gupta, August 18, 2017, pg. 126.
372
    Deposition of Gautam Gupta, August 18, 2017, pgs. 126 – 128.
373
    WAYMO-UBER-00031805 – 817, at 811.
374
    WAYMO-UBER-00031805 – 817, at 811.


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ability to serve customers, that would be a challenge [Waymo] would have to respond to.” Without
removing drivers from cars, the cost-savings of AV versus non-AV may not even exist.


212.    As discussed above, Mr. Wagner relied on a Waymo Profit and Loss statement (P&L)375
as allegedly supporting his argument that “[t]he potential profit opportunity to Waymo related to
autonomous vehicles is dramatic.”376 However, Waymo’s forecasts, even if credible, are irrelevant
to Georgia-Pacific factor 8, which requires consideration only of the “established profitability of
the product.” Furthermore, the projections in the P&L statement, extending over 10 years into the
future for an industry with no historical track record of commercialization, are entirely speculative.


213.    In fact, Waymo employees responsible for either preparing the Waymo P&L or for
providing critical inputs to it confirmed that the projections were speculative. For example, Mr.
Su, former Finance Manager for Waymo, testified that forecasts are sometimes “best guesses” and
“…the goal isn't necessarily to be accurate…[t]he goal is to present a potential outcome”.377
Furthermore, the P&L statements were missing variables, like the cost of “maintenance for the
SDS modules,” which Mr. Su testified he did not know if it would “be significant” because he
needed to “see some numbers on what the maintenance cost will be,” that could affect overall
profitability of the projections.378 Mr. Willis, Director of Supply Chain Operations for Waymo,
testified


                                    Additionally, according to Mr. Su, projecting so far in the future
increases the speculative nature of the projections and that they “don't think there's anyone that
would suggest they're confident of anything occurring 10 years from now.”380


214.    As a result, this factor would have a downward impact on the royalty negotiated between
the parties at the hypothetical negotiation.



375
    The Wagner Report at ¶340 (citing WAYMO-UBER-00032541).
376
    The Wagner Report at ¶338.
377
    Deposition of Ming Su, August 23, 2017, pgs. 118, 211 – 212.
378
    Deposition of Ming Su, August 23, 2017, pgs. 271:8-276:24; Ex. 1877 (Waymo-Uber-40138-139).
379
    Deposition of Tim Willis, August 18, 2017, pgs. 204, 211, 220, 230, 336, and 346.
380
    Deposition of Ming Su, August 23, 2017, pgs. 178 – 179, 216, 251.

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              Georgia-Pacific Factor No. 9: The utility and advantage of the [trade
              secret(s)] property over the old modes or devices, if any, that had been
              used for working out similar results.

              Georgia-Pacific Factor No. 10: The nature of the [trade secret(s)]; the
              character of the commercial embodiment of it as owned and produced by
              the licensor; and the benefits to those who have used the [trade secret(s)].

215.    Georgia-Pacific Factors Nos. 9 and 10 are considered together because of their similar
nature. Georgia-Pacific Factors Nos. 9 and 10 both relate to the advantages conveyed due to use
of the trade secrets and the related benefits enjoyed by the user of the trade secret(s) over
alternative means of achieving similar results. As discussed above, according to Dr. McManamon
and Dr. Lebby, the Waymo Purported Trade Secrets are not novel and provided very little, if any,
benefit to Uber.381 In fact, Google itself placed limited, if any, value on the Waymo Purported
Trade Secrets. According to Google, “[a]t least historically, high-value has been algorithms and
software. The hardware (at all levels) was a second class citizen.”382 The files allegedly
downloaded by Mr. Levandowski, which included the Waymo Purported Trade Secrets, were “all
electronic designs – schematics and PCB layouts, and the component library for their creation. It
was considered low value enough that we had even considered hosting it off of Google
infrastructure.”383


216.    Furthermore, the development and manufacturing of LiDAR systems is dynamic and
rapidly evolving.384 As of the issuance of this report, many new and established companies are
pursuing the next generation of LiDAR systems, which will lead to cheaper, smaller, and more
reliable systems being announced and introduced over time.385 I understand that these newer
systems are different from conventional LiDARs with rotary joints and spinning mechanical



381
    Interview of Dr. McManamon and Dr. Lebby.
382
    WAYMO-UBER-00084484.
383
    WAYMO-UBER-00084484.
384
    Interview of Dr. McManamon and Dr. Lebby.
385
    For example, Velodyne announced two new LiDAR systems in the second half of 2016.
http://velodynelidar.com/docs/news/Velodyne%20LiDAR%20Announces%20Puck%20Hi-
Res%20LiDAR%20Sensor,%20Offering%20Higher%20Resolution%20to%20Identify%20Objects%20at%20Greate
r%20Distances%20_%20Business%20Wire.pdf; http://velodynelidar.com/docs/news/Velodyne%20LiDAR%20
Announces %20New%20Velarray%20LiDAR%20Sensor%20_%20Business%20Wire.pdf.


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components, similar to what Waymo has developed.386 For example, solid-state, micro-electro-
mechanical system steered (“MEMS-steered”), or coherent optical systems are recognized as
viable alternatives to mechanically rotating LiDAR technology.387 Furthermore, I understand that
various next-generation solid-state LiDAR systems have already been developed by several
companies, (e.g., Velodyne, Quanergy, Valeo, Leddar).388 As of April 2017, the latest version of
solid-state LiDAR being developed by Luminar promised to “provide 50 times more resolution
and 10 times the range of current LiDAR systems.”389


217.    I further understand that other companies such as Infineon, STMicroelectronics, and
AnalogDevices have been investing in solid-state and MEMS-steered LiDAR technology and
entering the AV industry.390 As of the date of issuance of this report, more advanced technologies
were in the works, such as Oryx’s “coherent optical radar” which combines the benefits of LiDAR
and radar in a single device.391 Additionally, as noted above, there are also AV systems that do
not use LiDAR at all, including Tesla’s current system.


218.    As noted above, there are many other complex elements and risk factors, unrelated to the
development of a LiDAR, which may have a significant impact on the development timeline and
a company’s ability to successfully implement an AV TaaS business. I have seen no evidence that
Uber was able to accelerate its time to market involving commercialization of AV technology as
a result of its alleged misappropriation of the Waymo Purported Trade Secrets. Therefore, the
little, if any, value provided by the Waymo Purported Trade Secrets would limit the amount that




386
    The Hesselink Report, pgs. 51 – 52; Deposition of James Haslim, August 9, 2017, pgs. 482 – 483.
387
    http://spectrum.ieee.org/cars-that-think/transportation/sensors/can-israeli-startup-oryx-oust-lidar-from-
selfdriving-cars; https://www.economist.com/news/science-and-technology/21712103-new-chips-will-cut-cost-
laser-scanning-breakthrough-miniaturising.
388
    https://spectrum.ieee.org/cars-that-think/transportation/sensors/velodyne-announces-a-solidstate-lidar;
http://quanergy.com/s3/; http://leddartech.com/leddar-technology-enables-new-mass-market-lidar-offering-
automotive-applications/; http://leddartech.com/automotive/.
389
    WAYMO-UBER-00025181 – 183, at 181.
390
    https://www.infineon.com/cms/en/about-infineon/press/press-releases/2016/INFATV201610-002.html; and
http://www.st.com/content/st_com/en/about/media-center/press-item.html/t3876.html.
391
    http://oryxvision.com/news/oryx-vision-raises-50m-build-groundbreaking-coherent-lidar-autonomous-vehicles/.


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Uber would be willing to pay for rights to these trade secrets. As a result, this factor would have
a downward impact on the royalty negotiated between the parties at the hypothetical negotiation.


              Georgia-Pacific Factor No. 11: The extent to which the infringer has
              made use of the invention; and any evidence probative of the value of that
              use.

219.    This factor takes into account the extent of use, and value provided from such use, of the
Waymo Purported Trade Secrets by Uber. As noted above, I understand that the Fuji design does
not incorporate many of the teachings of the Waymo Purported Trade Secrets.392 Furthermore,
based upon my interviews of Dr. McManamon and Dr. Lebby, I understand that the Waymo
Purported Trade Secrets are well known within the AV industry, are not novel, and provide little,
if any, value to Uber.393 In fact, according to Google, “[t]he hardware (at all levels) was a second
class citizen”394 and the files allegedly downloaded by Mr. Levandowski, which included the
Waymo Purported Trade Secrets, were “…considered low value.”395


220.




392
    Interviews of Dr. McManamon and Dr. Lebby.
393
    Interviews of Dr. McManamon and Dr. Lebby.
394
    WAYMO-UBER-00084484.
395
    WAYMO-UBER-00084484.
396



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221.




397
    WAYMO-UBER-00046625 – 632 at 625.
398
    Krawiec, RJ, et al., Governing the Future of Mobility, Deloitte, 2017, pgs. 2 and 9 (citations omitted).
399
    WAYMO-UBER-00046625 – 632 at 630.
400
    WAYMO-UBER-00046625 – 632 at 632.




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222.       Based on the foregoing, Uber would have been reluctant to pay a significant royalty for
rights to purported trade secrets that provided little, if any, value and/or benefit to its ability to
implement an AV TaaS business.              Additionally, the parties would have also taken into
consideration the substantial risks and overall uncertainty surrounding the AV TaaS business,
which are unrelated to the successful development of the LiDAR system. Therefore, this factor
would have a downward impact on the royalty negotiated between the parties.


                 Georgia-Pacific Factor No. 12: The portion of the profit or selling price
                 that may be customary in the particular business or in comparable
                 businesses to allow for the use of the invention or analogous inventions.

223.       In considering Georgia-Pacific Factor No. 12, I conducted research regarding royalty rates
for potentially comparable technology in the public domain. As a result, I obtained information
from RoyaltySource,401 an online database and provider of publicly-available information
regarding licenses of intellectual property, based on keywords and descriptions of comparable
technology provided to me by Dr. McManamon and Dr. Lebby. However, none of the agreements
identified through this search were economically comparable to a hypothetical negotiation between
Waymo and Uber. As a result, this factor would have a neutral impact on the royalty negotiated
between the parties at the hypothetical negotiation.


                 Georgia-Pacific Factor No. 13: The portion of the realizable profit that
                 should be credited to the invention as distinguished from [non-trade
                 secret] elements, the manufacturing process, business risks, or significant
                 features or improvements added by the [misappropriator].

224.       This factor takes into account the relative contribution of the trade secret feature(s) to the
success of the accused product(s). As of the issuance of this report, I have seen no evidence that
the Waymo Purported Trade Secrets are the basis of demand for the LiDAR system. As discussed
above, based on my interviews of Dr. McManamon and Dr. Lebby, I understand the Waymo
Purported Trade Secrets are not novel and provide very little, if any, benefit to Uber. Furthermore,




401
      http://www.royaltysource.com.


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I understand the Waymo Purported Trade Secrets could have been independently developed with
minimal time and cost.402


225.     As a result, my analysis of a reasonable royalty in this matter is based on the estimated
time and cost to independently develop the accused features, which allegedly incorporate the
Waymo Purported Trade Secrets, of the Fuji LiDAR system.403 As such, my analysis inherently
apportions out the value of the Waymo Purported Trade Secrets from the value of the LiDAR
system and the AV system as a whole. As a result, this factor would have a neutral impact on the
royalty negotiated between the parties at the hypothetical negotiation.


              Georgia-Pacific Factor No. 14: The opinion and testimony of qualified
              experts.

226.    This factor includes by reference all of the opinions stated in this report, including the
expertise of Dr. Lebby and Dr. McManamon on technical matters.


              Georgia-Pacific Factor No. 15: The amount that a licensor (such as the
              patentee) and a licensee (such as the infringer) would have agreed upon
              (at the time the infringement began) if both had been reasonably and
              voluntarily trying to reach an agreement; that is, that amount which a
              prudent licensee – who desires, as a business proposition, to obtain a
              license to manufacture and sell a particular article embodying the
              patented invention – would have been willing to pay as a royalty and yet
              be able to make a reasonable profit and which amount would have been
              acceptable by a prudent patentee who was willing to grant a license.

227.    This factor represents the combination of all the facts considered in my report and my
assessment of the previous factors in determining the amount of a reasonable royalty. Waymo
would have entered into a hypothetical negotiation with Uber for a non-exclusive and non-
restrictive license for rights to use the Waymo Purported Trade Secrets. Based on the documents,
deposition testimony, and other information I have reviewed and considered in this matter, the
parties would have considered the following points at the time of the hypothetical negotiation.



402
   Interview of Dr. McManamon; Interview of Dr. Lebby; Interview of Mr. Haslim.
403
   Defendants Uber Technologies, Inc. and Ottomotto LLC’s Fifth Supplemental Responses to Waymo’s First Set
of Common Interrogatories (Nos. 1 – 3), August 24, 2017.

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              The Waymo Purported Trade Secrets are assumed to be trade secrets and to have been
               misappropriated by Uber;

              There was no established royalty for a license to the Waymo Purported Trade Secrets;

              The Waymo Purported Trade Secrets are well known within the industry and are not
               novel;

              The Waymo Purported Trade Secrets provide little, if any, value to Uber;

              Waymo recognized the “low value” of the Waymo Purported Trade Secrets;

           


              Waymo and Uber would have been considered potential competitors at the time of the
               hypothetical negotiation. However, Waymo did not have a functional TaaS business
               as of the date of the hypothetical negotiation;

              The Fuji LiDAR, which allegedly incorporates the Waymo Purported Trade Secrets, is
               only a small component of Uber’s overall AV development effort;

              Waymo and Uber recognized the significant risks and uncertainties involved in
               implementing an AV TaaS business, which made assessing potential future success and
               profitability unpredictable; and

              There were alternative LiDAR designs available to Uber at the time of the hypothetical
               negotiation. In fact, Uber was utilizing LiDAR systems from third-parties at the time
               of the hypothetical negotiation.


228.       Waymo and Uber would have also considered the other factors and considerations
described above and throughout this report at the time of the hypothetical negotiation in
determining a reasonable royalty.


                       iii. Royalty Conclusion

229.       Upon review of all the evidence and information in this case, it is my opinion that Waymo
and Uber would have agreed to structure the royalty as a lump-sum payment. In concluding the
amount of the lump sum royalty which would result from the hypothetical negotiation, it is my
opinion that Waymo and Uber would have agreed to a lump-sum royalty of no more than $605,000,

404
      Deposition of Gerard Dwyer, August 9, 2017, pgs. 213 – 214.

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based on the cost to independently develop the Waymo Purported Trade Secrets. As noted above,
the cost to independently develop the Waymo Purported Trade Secrets can be broken down by
trade secret as follows:405


                               Cost to Independently Develop Waymo’s
                                         Purported Trade Secrets
                                                                Total Cost
                               Purported Trade Secret
                                 No. 2                               $208,920
                                 No. 7                                 43,600
                                 No. 9                                112,160
                                 No. 13 and 14                        126,080
                                 No. 25                             No Value
                                 No. 90                             No Value
                                 No. 96                               114,040
                                 No. 111                                     200
                                 Total                               $605,000


230.    I understand that Dr. McManamon and Dr. Lebby reviewed the estimated costs and time
to develop these purported trade secrets and believe them to be reasonable. Waymo would have
understood that Uber would never have agreed to pay a royalty that was any more than the cost to
independently develop the Waymo Purported Trade Secrets.


231.    The reasonableness of these estimates is further supported by a monthly “Headcount
Spend” identified in an August 2017 Uber presentation.406 As discussed in Exhibit 4, the time and
cost to develop the Waymo Purported Trade Secrets of $605,000 is based on estimated hardware
costs and “salary time” applied at the following rates: $200 per hour for Electrical Engineers,
Engineers, Mechanical Engineers, and $60 per hour for Technicians.407 Based on my review of



405
    See Exhibit 4.
406
    UBER00231730 – 739.
407
    Interview of Mr. Chouta.


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the August 2017 Uber presentation, it appears that the hourly rates provided to me by Mr. Chouta
are reasonable, if not overstated. As of June 2017, the Hardware department, which would
incorporate more than just the Fuji LiDAR design, had a headcount of 108 people and a monthly
spend of approximately $1.9 million.408 This would result in an average spend of $100.48 per hour
for its employees in the Hardware department.409 Therefore, in addition to the reasons identified
above, the estimated cost to independently develop the Waymo Purported Trade Secrets of
$605,000 appears to be conservative (i.e., overstated).


VIII. RESERVATION OF RIGHTS

232.       This report reflects my analysis and opinions to date. It is my understanding that discovery
in this matter is ongoing, including depositions of fact witnesses. As additional data, information,
or testimony become available to me, I intend to consider this information. I may modify or update
my opinions to include additional information received after the date of this report. Furthermore,
I may prepare demonstrative graphs and/or charts to assist in the presentation of my opinions at
deposition or at hearing, if I am requested to testify.




408
      UBER00231730 – 739, at 732.
409
      [$86,814.59 per day ÷ 108 employees = $803.84 per day]; [$803.84 per day ÷ 8 hours = $100.48 per hour].

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                                                                                                           Exhibit 1




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Education               M.B.A. Wharton Graduate School, University of Pennsylvania
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Certifications          Certified Public Accountant, State of Texas 1981
                        Certified Licensing Professional, 2008
                        Certified Fraud Examiner, 1991
                        Certified in Financial Forensics, AICPA 2009


Professional            American Institute of Certified Public Accountants
Affiliations            Texas Society of Certified Public Accountants
                        Houston Chapter, Texas Society of Certified Public Accountants
                        Chairperson, U.S. Licensing Executive Society International Committee
                        Intellectual Property Organization, Patent Misuse Committee
                        United Nations/Economic Commission for Europe, Group of Experts on Enforcing Intellectual
                                  Property Rights for the Commonwealth of Independent States
                        Editorial Board of the Journal of Commercial Biotechnology, London, England
                        Associate Editor of the Journal of Biotechnology Applications
                        Editorial Board of Managing Intellectual Property
                        Lecturer on trademarks/trade secrets/Lanham Act at University of Houston
                                  Law School 2001-Present
                        Lecturer on financial reporting, cost accounting, and management accounting topics


Professional
History                 03/01/17-Present     Managing Director, OverMont, a Division of Whitley Penn LLP
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Professional            9/1/08–03/01/17 Managing Director, OverMont Consulting LLC
History cont’d
                        9/1/08–3/10    Senior Consultant, Charles River Associates

                        2004–08/31/08 Vice President, Charles River Associates

                        1999–2004      Managing Director, InteCap, Inc.

                        1998–1999      Partner, PricewaterhouseCoopers LLP
                                       Global Director/Partner—Intellectual Property Services for the Financial
                                       Advisory Services Practice

                        1983–1998      Price Waterhouse LLP
                                       U.S./European Director—Intellectual Property Services for the Corporate
                                       Finance Reorganization and Disputes Practice, 1996–1998
                                       Partner, 1989-1998
                                       Senior Manager, 1985–1989
                                       Manager, 1983–1985; Senior Consultant, 1983

                        1981–1983      CFO and Treasurer, Advanced Energy Supply Company

                        1980–1981      Arthur Andersen

                        1978–1979      Ernst & Whinney

Range of Industry
Experience              Industry Experience Includes:
                    •    Aeronautic/Aviation/Avionics           •   Health Care and Life Sciences
                    •    Agriculture                            •   High Technology
                    •    Automotive                             •   Insurance
                    •    Biotechnology                          •   Investments
                    •    Broadcasting/Media                     •   Leasing
                    •    Chemicals                              •   Manufacturing
                    •    Commercial Real Estate                 •   Medical Devices/Procedures
                    •    Computer Software & Hardware           •   Mining/Extraction
                    •    Construction                           •   Oil & Gas
                    •    Consumer Products                      •   Pharmaceuticals
                    •    Electronic Commerce                    •   Publishing
                    •    Energy                                 •   Restaurant/Food Distribution
                    •    Entertainment, Gaming, &               •   Retailing & Wholesaling
                         Hospitality                            •   Software
                    •    Film Production/Distribution           •   Telecommunications
                    •    Financial Institutions                 •   Transportation & Distribution
                    •    Consumer & Commercial                  •   Veterinary/Livestock
                         Financial Institutions                 •   Vitamins, Mineral, Health Supplements
                    •    Health and Beauty Aids
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Examples of Business Experience

   Intellectual Property

       •     Extensive experience in a variety of intellectual property issues involving patents, trademarks, trade dress,
             copyrights, trade secrets and know how. Have worked on assignments relating to strategic management,
             licensing, litigation and competition issues related to IP matters.

       •     Testified in federal and state court, ITC, AAA, IAA and ICC matters involving a broad range of IP topics
             including industry structure, licensing and practices. Also testified regarding damages related issues including
             lost profits, reasonable royalties, price erosion, competition and related topics. Subject matter has involved
             patents, trademarks and trade dress, copyrights and trade secrets. Testified regarding competition issues and
             the impact of the form and structure of patent license terms on technology innovation. Testified regarding
             product and geographical market definition related to patent and antitrust damages. Served as court
             appointed expert, examiner and consultant in federal and state court proceedings.

       •     Conducted extensive studies in strategic management of intellectual property for corporate clients including
             multinational, international, joint ventures, and start-up and development stage companies. Work performed
             included research and analysis regarding industry dynamics and IP management practices and evaluation of
             corporate IP strategies relating to invention/innovation cycles, license-in/license-out policies, buy/sell
             strategies, portfolio optimization, license enforcement and overall offensive and defensive IP strategies.

       •     Negotiated licenses and assisted clients in license negotiations and technology transfer projects. Determined
             appropriate compensation package, including royalty payments, based on the proposed structure and terms
             of the license agreement for the subject technology. Performed empirical studies associated with the subject
             technology's financial performance, industry practices and investment strategies. Reviewed and analyzed the
             terms and conditions of several thousand license agreements. Performed royalty compliance audits.

       •     Conducted auction process for sale of IP portfolios. Work included valuation of IP assets, identification of
             potential acquirers, preparation of IP offering circular and managing the auction process to completion.
             Involved in projects related to securitization of IP rights and related income streams.

       •     Analyzed and studied various industry standard setting bodies, practices and related license issues affecting
             standards adoption and innovation. Analyzed technology adoption and commercialization trends in the
             context of standard setting and patent pools.

       •     Industry focus has included, among others, energy, software and operating systems, semiconductors, life and
             health sciences (pharmaceutical, biotechnology, medical devices/procedures), semiconductors, high-end and
             consumer electronics, chemicals, computers, telecommunications and internet based services including
             various aspects of e-commerce, including retail, advertising, consumer tracking activities, etc.

       •     Analyzed and traced R&D spending and other contributions made by parties to the development of inventions
             in a variety of industries including biotech and pharma, semiconductors, and consumer and electronics.

       •     Analyzed FRAND/RAND Licensing issues in the context of standard setting organizations and patent pools.
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Antitrust Matters

   •     Analyzed various aspects of anti-competitive conduct under the Sherman Act and Robinson Act as well
         as under various state Antitrust Statues. Investigated examples of tying arrangements, boycotts and
         monopolistic pricing and profits. Testified in federal, state courts and ITC proceedings regarding antitrust
         matters.

Integrated Circuits

   •     Performed extensive analyses and valuation of various aspects of semiconductor technology and
         semiconductor manufacturing, cleaning and inspection equipment. Analyzed several thousand semiconductor
         industry licenses regarding term and structure of such licenses and changes in licensing practices in the
         semiconductor industry. Served as expert and consultant on semiconductor industry licensing practices.
         Studied evolution and changes in technology, manufacturing and distribution of semiconductors as well as
         changes in industry capacity. Analyzed commodity and niche chip products, analyzed chipset, module, and
         motherboard interfaces, packaging including wireless and other configurations to enable data usage, transfer
         and storage.

Trade Secrets

   •     Valued trade secrets for transactional purposes.

   •     Analyzed trade secrets in the context of DOJ antitrust licensing guidelines.

   •     Analyzed trade secrets damages across a broad range of industries and technologies.

Enterprise Resource Planning

   •     Involved in numerous projects relating to design, implementation and performance of ERP systems involving
         the entire range of corporate performance and management from procurement, inventory and manufacturing
         controls to integrated financial reporting and planning for execution of system objectives.

Broadcast Media/Data Storage/Data Transfer

   •     Involved in broadcast rights relating to radio, TV, cable, satellite, and internet content. Rights have included
         sports, news, education programming relating to professional development, and career training.

   •     Involved in IP projects relating to valuation and licensing of technology relating to broadcast storage,
         distribution and retrieval such as internet, digital satellite, and terrestrial cable related to hardware and
         software technology for access to distributed content.

   •     Analyzed and valued network and data storage and transmission hardware and software solutions including
         internet, Ethernet, and extranet data storage and transmission.

Consumer Electronics

   •     Performed extensive experience in on a broad array of consumer electronics and components related
         thereto. Work has involved a broad range of products such as PC's, PDA's, cameras, video gaming systems,
         printers, copiers, monitors, projection systems, led, LCD and plasma screens, etc. I have analyzed trends
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          related to technology trends and market trends relating to manufacture, introduction, adoption and use and
          distribution of consumer electronics worldwide.

    •     Regarding video gaming systems have studied the history and evolution of video console systems over its
          more than 20 year development including the various console makers and different generation of products
          and technologies offered. Have studied market share shifts relating to competitor position. Have also studied
          license agreements and royalty structures for hardware and software. Have studied the development and
          shift in game graphics from first party to include second and third party games. Have studied the economic
          structure and profit model of the video gaming systems industry since its inception.

Gaming/ Gambling

    •     Performed valuations of gaming industry concessions in the US, China and Venezuela. Work performed
          analysis of market trends, projections and demographic characteristics of potential population of relevant
          consumers. Analyzed the scope and extent of concessionary rights and impact on valuation.

    •     Analyzed electronic gaming equipment and valued features and royalties for gaming equipment. Analyzed
          trends related to gaming equipment technology trends and market trends relating to manufacture,
          introduction, adoption and use and distribution of consumer electronics worldwide.

    •     Studied evolution of video gaming systems including video console systems and change in distribution of
          video gaming content. Analyzed market share shifts relating to competitor position. Have also studied license
          agreements and royalty structures for hardware and software. Have studied the development and shift in
          game graphics from first party to include second and third party games. Have studied the economic structure
          and profit model of the video gaming systems industry since its inception.

Integrated Circuits

    •     Performed extensive analyses and valuation of various aspects of semiconductor technology and
          semiconductor manufacturing, cleaning and inspection equipment. Analyzed several thousand semiconductor
          industry licenses regarding term and structure of such licenses and changes in licensing practices in the
          semiconductor industry. Served as expert and consultant on semiconductor industry licensing practices.
          Studied evolution and changes in technology, manufacturing and distribution of semiconductors as well as
          changes in industry capacity. Analyzed commodity and niche chip products, analyzed chipset, module, and
          motherboard interfaces, packaging including wireless and other configurations to enable data usage, transfer
          and storage.

Automotive/Trucking/Farm/Heavy Equipment Industries

    •     Worked on numerous projects involving car and truck (light, medium, heavy) and off highway, farm and heavy
          equipment dealerships. Performed analysis of dealership profitability including new and used product sales,
          service, body shops, parts and aftermarket services. Also analyzed floor plan financing, leasing, distribution
          and advertising practices. Analyzed industry standards and criteria for dealership ownership, transfer and
          performance.

    •     Performed valuation of truck, automotive, farm equipment, and heavy construction dealerships.

    •     Studied dealer performance standards in demographic and geographic markets using manufacturer
          proprietary data and industry statistics. Analyzed industry criteria across manufacturers for dealer
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         performance standards and manufactures practices for ownership, transfer, and termination to determine
         whether such standards are reasonable and consistent with industry practices.

   •     Analyzed trends in the retail/wholesale car dealership markets including rental fleet and auction house
         practices.

   •     Work on financing issues regarding sale of enhanced products such as credit life and extended warranties,
         floor plans, lease operations, loan origination, packaging and securitization of prime and sub prime paper
         sales as well as loan service portfolio operations and costs. Analyzed industry consolidation and profitability
         trends. Performed dealership valuations.

   •     Reviewed and analyzed licenses and valued technology relating to various automotive transportation
         technologies, including, ignition, safety, security, brake and engine components and systems and designs,
         micromotors, and designs and glass and battery technology, as well as breath alcohol detection and fleet
         logistics.

Telecommunications

   •     Performed numerous reviews and analyses of the telecommunications industry. Work performed included
         studies of wire line and wireless communications systems, including hardware, architecture, administration
         and related software. Regarding wireless systems, have reviewed and analyzed the adoption of various
         international protocol standards in the U.S., Europe and Asia (GSM, CDMA, TDMA, G3.0, G3.5, G4.0). Also
         analyzed data and voice transfer, routing, switching and networking systems, including hardware,
         architecture, administration and related software required to run such systems. Studied industry dynamics
         including telecommunications segment market shares by equipment manufacturer, investment rates,
         profitability and market transactions. Analyzed numerous licenses in the telecom industry. Valued telecom
         technology and negotiated telecom licenses.

   •     Performed studies relating to wireless cellular networks including satellite broadcast systems. Analyzed
         cellular concessions in the US and overseas. Analyzed various satellite based communication networks for
         radio, television in cellular systems. Analyzed cellular tracking systems for vehicle equipment, and service
         and repair operations.

   •     Analyzed cellular/wifi networks, speech codecs, CDMA 2000 and WCDMA essential patents in cell and
         smartphones, system and media management patents, application (“App”) delivery and content management,
         touch screen technology and mobile display advertising technology for mobile devices.

Copyrights

   •     Served as court appointed expert appraiser to value proprietary software. Performed analyses relating to
         patent and copyright software issues for a variety of software and hardware related applications. Performed
         analyses relating to design specifications for hardware and software applications platforms and systems
         architecture involving industry specific applications. Analyzed and negotiated software licenses for numerous
         applications. Performed reverse engineering studies and COCOMO analysis for software applications.
         Performed studies relating to e-commerce including hardware and software platforms and supply chain
         management and financial reporting integration. Analyzed and valued software relating to mainframe data
         storage compartmentalization, compression and voice and data transmission.

   •     Valued copyrights for a variety of proposals including financing, asset purchases, and securitization.
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   •     Involved in and performed studies of IT systems including requirements definition studies, selection of
         hardware and software specifications and system implementation and conversion. Also performed studies of
         the economics associated with the impact of IT systems on operational and financial performance of the
         subject company.

   •     Performed numerous valuations and analyzed and determined royalties for software across a number of
         different applications.

   •     Analyzed value and licensing of copyrights relating to music, education and business.

   •     Analyzed software copyright damages.

Energy/Mining

   •     Involved in various oil and gas and alternate energy technology projects. Performed valuation and strategic
         studies regarding new and emerging energy technologies including advanced oil and gas recovery and
         production techniques and alternate energy sources. Testified in patent and trade secret cases involving
         valuation and licensing of new and emerging energy technologies. Assisted in and engaged in licensing
         activities relating to energy technologies.

   •     Analyzed various oil field technologies including: on- and offshore rig design; well pressure control systems
         relating to drilling, completion, workover and snubbing, and well stimulation techniques.

   •     Performed analyses relating to well stimulation/well enhancement technologies, including hydraulic and
         matrix fracturing. Also analyzed secondary and tertiary recovery techniques for well enhancement. Analyzed
         drilling techniques such as directional and horizontal drilling for conventional on shore and offshore
         applications as well as for shale and coalbed seam gas reservoir production. Valued the manufacturing
         operations of a coiled tubing company which supplied tubing to the oil industry.

   •     Involved in licensing and valuation of mining technologies.

Bio/Pharma

   •     Involved in numerous projects for pharmaceutical and biotechnology companies involving chemical
         compounds, biologics and recombinant therapies and treatment regimens for multiple indications. Performed
         valuations of companies as well as specific drugs and patents. Valued and analyzed various indications in
         different stages of FDA clinical trials. Assisted clients in strategy, valuation and licensing projects involving IP
         rights related to proprietary technology. Also quantified damages related to patent infringement matters and
         co-ownership rights and development agreements. Studied terms of co-development and co-marketing
         agreements and made recommendations to improve client economics.

   •     For various treatment indications studied effects of on-and-off label usage on adoption rates and impact on
         ANDA applications. Performed extensive studies of R&D funding (through NIH and under collaboration
         agreements) and analyzed lead times for next generation treatment regimens given FDA approval time line
         and impact on competitive market share. Studied the potential effects of march in rights on licensing of
         biopharma technology.
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    •     Performed studies of the neutraceuticals (vitamins, minerals, supplements “VMS”) industry including analysis
          of product manufacture, sourcing, packaging, labeling and distribution. Also analyzed profit margins and
          performed valuations of companies in this industry. Also performed studies regarding licensing practices in
          the VMS industry.



          Examples of biotech/pharma and related subject matters:

             •   Advanced Macular Degeneration                                  •    Hereditary Emphysema
             •   Allergic Rhinitis                                              •    Human Growth Hormone
             •   Anklyosing Spondylitis                                         •    Human Insulin
             •   Asthma                                                         •    Immuno-toxins/Immuno-therapy
             •   Blood Clotting                                                 •    Oncology
             •   Cholesterol Reduction                                          •    Otitis Media
             •   Colitis                                                        •    Psoriasis
             •   Crohn’s Disease                                                •    Receptors/Inhibitors
             •   Coronary Heart Disease                                         •    Rheumatoid Arthritis
             •   Diabetes Management                                            •    Sepsis/Stroke/Brain Injury
             •   Genetically Modified Crops                                     •    Tissue Plasminogen Activators
             •   Genomic Mapping                                                •    Tissue Regeneration

Medical Devices/Procedures

    •     Involved in licensing, valuation, marketing studies and litigation(breach of contract, patent infringement, theft
          of trade secrets, etc.) related to medical devices, diagnostic equipment and procedures and surgical supplies
          and medical equipment related to patient treatment and rehabilitation.

Consumer Retail

    •     Performed research and analysis of trends in various consumer retail products including consumer
          electronics, eyewear, apparel, shoes and sports gear and equipment. Valued trademarks and other IP rights
          for footwear industry. Valued footwear retail operations.

Security/Surveillance/Biometrics

    •     Performed studies and analyses related to a variety of security and surveillance products ranging from
          artificial optic technology to various biometric systems including fingerprint, voice recognition, signature,
          heartbeat and optical technologies. Work performed including valuation of these technologies and studies of
          industry trends including benchmarking. Also participated in auction process to sell biometric technology for
          client.

Trademarks/Lanham Act/Copyright

    •     Performed studies of trademark licensing practices and valued trademarks (and portfolios) related to
          consumer marks including electronics, food, products, services and apparel and industrial products and
          financial services. Testified regarding various trademark and Lanham Act matters. Assisted clients in
          negotiating purchase/sale transactions related to trademark portfolios including conducting competitive and
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         complimentary trademark licensing and positioning studies as well as valuation of comparable marks.
         Performed strategies assessment of trademark portfolio maintenance practices and licensing out strategies.

   •     Performed studies of corrective advertising and disgorgement of profits and other (FTC) measures of
         damages relating to trademark and tradedress infringement and false designation of origin and false
         advertising under the Lanham Act. Trademarks analyzed have included consumer and industrial products
         and services including consumer electronics as well as financial sector and information technology products
         and services. Analyzed trademark licenses and transactions involving sales of various marks. Also evaluated
         damages associated with false advertising, false designation of origin and unfair competition claims.
         Performed analyses relating to customer confusion, corrective advertising and unfair trade practices.

   •     Performed valuation of copyright portfolios involving software, data management, manuals, process and
         procedures.

Other IP Matters

   •     Analyzed production and distribution costs relating to educational and commercial film rights involving various
         media

   •     Involved in and performed studies of IT systems including requirements definition studies, selection of data
         communication hardware and software specifications and system implementation and conversion. Also
         performed studies of the economics associated with the impact of IT systems on operational and financial
         performance of the subject company. Analyzed hardware and software requirements for multi-user
         configurations including WAN/LAN and internet connectivity.

   •     Engaged in various IP projects involving consumer products ranging from consumer electronics and food to
         pet and recreational products. Pet industry work has involved valuation and licensing of IP related to food
         additives, pet accessories and hygenic products.

   •     Performed extensive studies in the computer hardware and peripheral sector, including components.
         Analyzed trends in prices, volume and market share of PC manufacturers and related components including
         integrated circuits, chip sets, mother boards, etc.

   •     Involved in a variety of projects relating to the chemical industry including processes, formulation, and
         compounds. Work included evaluation of lost profits and reasonable royalties, and industry licensing
         practices. Negotiated licenses and performed valuations relating to chemical processes compounds and
         formulations.

   •     Performed numerous analyses regarding valuation and licensing of trade secrets technology, as well as
         impact on antitrust licensing guidelines.

   •     Performed studies relating to product liability issues related to electronics components, consumer electronics
         products and consumer and industrial products. Analyzed economic impact of defective products on
         manufacturers, retailers and consumers. Performed studies related to cost of settlements and design and
         implementation of such settlements.
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Subject Area Expertise

    Valuations
    Performed valuations of various businesses including minority and control blocks of closely held businesses and
    marketability discounts. These valuations have included valuation of non-public companies, including warrants,
    options and phantom stock. These valuations of businesses and assets include manufacturing, distribution, retail and
    services sectors, but not limited to, the following:


             •    Agriculture                                          •   Industrial Gases
             •    Biotechnology/Life Sciences                          •   Maritime/Admiralty/Jones Act Matters
             •    Car/Truck Dealerships                                •   Medical and Professional Practices
             •    Distributorships/Franchises                          •   Mining/Extraction
             •    Energy (producing and non-producing                  •   Patents, Trademarks, Goodwill, Naming
                  properties)                                              Rights, Tradedress and Copyrights
             •    Entertainment                                        •   Resorts/Recreational/Casinos Properties
             •    Financial Institutions                               •   Restaurants and Retail Establishments
             •    High-end and Consumer Electronics                    •   Security/Surveillance
             •    Holding Companies                                    •   Software
             •    Hospitals/Nursing Homes/Medical                      •   Transportation
                  Practices and Facilities                             •   Telecommunications
             •    Income Producing Properties                          •   Waste Disposal

Additional Subject Area Expertise

Mr. Bratic has been engaged in numerous projects involving the subject areas listed below:

             •    Alter Ego/Corporate Veil                             •   Fiduciary Duty
             •    Antitrust/Competition                                •   Fraud/White Collar Crime
             •    Audit, Accounting and Financial                      •   Leasing/Financial Institution
                  Reporting                                            •   Lender Liability
             •    Bankruptcy Proceedings                               •   Lost Profits
             •    BOD Representation/Special Projects                  •   Mergers and Acquisitions
             •    Business Interruption/Extra                          •   Personal Injury/Wrongful
             •    Expense/Betterment                                   •   Termination/Wrongful Death
             •    Compensation Studies                                 •   Product Liability
             •    Environmental and Natural Resources                  •   Securities Matters
                  Damages

     Recent Speeches

     “Economic Damages in Trademark Litigation” University of Houston Law School, November 10, 2016.

     “Lanham Act Damages” University of Houston Law School, April 21, 2016.

     “Trade Secret Damages” University of Houston Law School, March 29, 2016.

     “Economic Damages in Trade Secrets Litigation” University of Houston Law School, April 21, 2015.

     “Economic Damages in Trade Secrets Litigation” University of Houston Law School, April 15, 2014.
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“Economic Damages in Trademark Litigation” University of Houston Law School, February 27, 2014.

“Financial Statement Analysis – Accounting for Lawyers” Andrews Myers P.C., February 4, 2013.

“Economic Damages in Trademark Litigation” University of Houston Law School, November 20, 2012.

“Economic Damages in Trade Secrets Litigation” University of Houston Law School, April 4, 2012.

“Economic Damages in Trademark Litigation” University of Houston Law School, November 8, 2011.

“Determination of Post Judgment Royalties and Damages Issues from Uniloc” co-presented CLE program at Locke Lord
Bissell & Liddell, May 2011.

“Economic Damages in Trade Secrets Litigation” University of Houston Law School, March 29, 2011.

“Economic Damages in Trademark Litigation” University of Houston Law School, November 18, 2010.

“Economic Damages in Trade Secrets Litigation” University of Houston Law School, April 7, 2010.

“Economic Damages in Trademark Litigation” University of Houston Law School, November 17, 2009.

“Economic Damages in Trade Secrets Litigation” University of Houston Law School, April 23, 2009.

“Economic Damages in Trademark Litigation” University of Houston Law School, October 27, 2008.

“Managing Intellectual Assets Hypothetical” Licensing Executive Society Australia Annual
Conference, April 19, 2008.
"Patent Damages " George Mason/The University of Texas School of Law, 2008 Advanced Patent Law Institute,
Alexandria, Virginia, January 11, 2008.

“Economic Damages in Trademark Litigation” University of Houston Law School, October 16, 2007.

“Taking a New Look at Patent Pools: Use and Abuse”, “The Subtleties and Complexities of Valuing Emerging
Technology” and “Win/Win Strategies for Successful International Technology Collaboration and Exploitation” Institute of
Intellectual Property Research and Development, India, August 6-8, 2007.

“Strategic Litigation/Arbitration Considerations in Negotiating and Drafting Global License Agreements” Licensing
Executive Society International Conference, June 18, 2007.

“Economic Damages in Trade Secrets Litigation” University of Houston Law School, April 26, 2007.

“Win/Win Strategies for Successful International Technology Collaboration and Exploitation” IPTEC-The International
Marketplace and Conference for Technology Transfer Professionals, February 2007.

“Economic Damages in Trademark Litigation.” University of Houston Law School, November 8, 2006.

“The Subtleties and Complexities of Valuing Emerging Technology.” Licensing Executive Society Scandinavia Annual
Conference, September 2006.

“Determining Economic Damages in Trade Secret Litigation.” University of Houston Law School, April 13, 2006.

“Emerging Valuation Techniques in Technology Transfer.” IPTEC-The International Marketplace and Conference for
Technology Transfer Professionals, February 2006.
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“Taking a New Look at Patent Pools: Use and Abuse.” Licensing Executive Society Annual Conference, October 2005.

“Win/Win Strategies for successful International Technology Joint/Ventures-Partnership.” Licensing Executive Society
International Conference, June 2005.

“Determining Economic Damages in Trade Secrets Litigation.” Continuing Legal Education Program sponsored by the
State Bar of Texas, May 19–20, 2005.

“Employing and Circumventing the New Business and Future Damages Rule: How Certain Does Certain Have to Be?”
University of Texas School of Law - The Damages Institute, October 2004.

“Damages in Cases Involving Cutting Edge Technologies.” Law Seminars International-Calculating
& Proving Patent Damages, Reston, Virginia, June 14, 2004.

“Economic Issues in Trademark Damages.” University of Houston Law School, April 13, 2004.

“Treatment of IP Related to Standard.” Licensing Executive Society 2004 International Conference, Paris, France,
March 31, 2004.

“When Good Relationships Go Bad: Managing Default and Termination.” American Conference Institute, Advanced
Forum on Licensing Intellectual Property, December 9, 2003.
                                                                                                               th
“Evolving Techniques in IP Portfolio Strategies: What Works?” The University of Texas School of Law, 8 Annual
Advanced Patent Law Institute, Austin, Texas, October 31, 2003.

“Current Topics in IP Licensing and Litigation.” Patent Lawyers Club of Washington & Northern Virginia, Reston, Virginia,
September 8, 2003.

“Licensing and Competition: FTC/DOJ Views.” LES Washington, DC Chapter, Washington, DC, May 2003.

“IP Valuation: Real World Transactions vs. Litigation.” General Electric Crotonville IP Practice Group Meeting, Ossining,
New York, April 2003.

“IP Valuation: Real World Transactions vs. Litigation.” Berkeley Center for Law & Technology and The University of
Texas School of Law, 3rd Annual Advanced Patent Law Institute, San Jose, California, December 6, 2002.
                                                                                        th
“Continuing Evolution of Patent Damages.” The University of Texas School of Law, 7 Annual Advanced Patent Law
Institute, Austin, Texas, November 1, 2002.

“IP Valuation: Real World Licenses v. The Hypothetical License in Litigation.” Patent Lawyers Club of Washington &
Northern Virginia, Reston, Virginia October 28, 2002.

“Monetizing IP Investments in Early Stage Companies and Start Ups in a Down Economy.” Berkeley Center for Law &
Technology and The University of Texas School of Law, 2nd Annual Advanced Patent Law Institute, San Jose,
California, December 7, 2001.

                                                                                        th
“Complex IP Valuation and Securitization.” The University of Texas School of Law, 6 Annual Advanced Patent Law
Institute, Austin, Texas, November 2, 2001.

“Intellectual Property Damages in U.S. Litigation.” Intellectual Property Forum 2001, London, June 18, 2001.
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“Valuing the Trade Secret, Proving the Damages and Getting the Best Award.” American Conference Institute, New
York, New York, June 7, 2001.

“Advanced IP Valuation Methodologies.” Licensing Executives Society 2001 Annual Conference, South Africa, April 30,
2001.

“Evolution of Patent Damages after Rite-Hite and Royalties Under Standard Setting Organizations: What’s Fair,
Reasonable and Non-Discriminatory?” Association of Corporate Patent Counsel (ACPC) Winter Meeting, Key Largo,
Florida, February 6, 2001.

“Do’s and Don’ts for Successful International Technology Exploitation.” Licensing Executives Society 2000 Annual
Meeting, Toronto, Canada, September 11, 2000.

“Convoyed Sales.” Patent Section-Bar Association of the City of New York, April 2000.

“Patent Damages, Recent Developments & Emerging Trends.” Intellectual Property Owners’ Association 1999 Annual
Meeting, San Francisco, California, November 15–16, 1999.

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                          3737 Buffalo Speedway Suite 1600
                               Houston, Texas 77098
                                    713-403-3307

                        Testimony during the Past Four Years

COURT PROCEEDINGS
    United States District Court for the Eastern District of Texas Marshall Division
    • Alfonso Cioffi, an individual, and The Estate of Allen Rozman v. Google, Inc.
        Case No. 2:13-CV-103
        Filed 12.11.12

    United States District Court of Dallas County, Texas
    • Centego II, LLC v. Metrosplash Systems Group, Inc. and Philip S. Babick, Individual
        Case No. DC-14-07297
        Filed 07.10.14

    United States District Court for the Eastern District of Texas Marshall Division
    • Mobile Telecommunications Technologies, LLC v. HTC America
        Case No. 2:13-cv-00948
        Filed 11.07.13

    In the Superior Court of the State of California For the County of San Diego
    • Hooman Asbaghi and HBA Medical Group, Inc. vs. Neil K. Nydeggar; Nydeggar &
         Associates, and DOES 1 -20
         Case No. 37-2013-00066639-CU-PN-CTL
         Filed 09.10.13

    In the United States District Court for the Northern District of Texas Dallas Division
    • Mobile Telecommunications Technologies, LLC v. Research in Motion Corporation
         Case No. 3:12-cv-01652-M
         Filed 05.29.12

    In the United States District Court Southern District of Florida
    • Arctic Cat Inc. v. Bombardier Recreational Products Inc. and BRP U.S. Inc
         Case No. 0:14-cv-62369
         Filed 10.16.14

    In the United States District Court 68th Judicial District Dallas County, Texas
    • Continental Intermodal Group - South Texas LLC v. Eloy P. Garcia Balcones Muster, Inc.,
         Case No. DC-14-07993
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   In the United States District Court for the Western District of Tennessee
   • Ronald A. Katz Technology Licensing L.P. v. FEDEX Corporation, Federal Express
        Corporation, FEDEX Corporate Services, Inc., and FEDEX Customer Information Services,
        Inc.,
        Case No. 2:15-cv-02329
        Filed 05.18.15

   In the United States District Court for the Western District of Oklahoma
   • Core Laboratories LP v. Spectrum Tracer Services, L.L.C., Steve Faurot, and Kelly Bryson
        Case No. 5:11-CV-01157
        Filed 10.18.11

   In the United States District Court for the Western District of Michigan
   • Stryker Corporation, a Michigan corporation; Howmedica Osteonics Corp., a New Jersey
        corporation v. Christopher Ridgeway, an individual; Richard Steitzer, an individual; Biomet,
        Inc., an Indiana corporation
        Case No. 1:13-CV-1066
        Filed 09.30.13

   American Arbitration Association
    Village Lindo Paseo, LP, v. Campus Advantage, Inc.
      Case No. 01-14-0001-3383

   American Arbitration Association
    McKool Smith, P.C., v. Versata Software, Inc., Versata Development Group, Inc., and
      Versata Computer Industry Solutions, Inc.
      (EDTX, Marshall)
      Case No. 2:07-CV-153-RSP
      Filed 04.20.07

   In the United States District Court for the Southern District of Texas Houston Division
    Quantlab Technologies Ltd. (BVI) and Quantlab Financial, LLC v. Vitaliy Godlevsky, Andriy
        Kuharsky, Anna Maravina, Ping An, Emmanuel Mamalakis, and SXP Analytics, LLC
        Civil Action No. 4:09-cv-4039
        Filed 12.18.09

   Alternative Arbitration Association
    Hospira, Inc., and Hospira Healthcare Corporation v. ICU Medical Sales, Inc.

   American Arbitration Association
    ICU Medical, Inc. v. Flextronics Medical Sales and Marketing, Ltd., Flextronics America LLC,
      and Flextronics International Ltd.

   United States District Court Western District of Texas Austin Division
    Masakazu Ushijima v. Samsung Electronics Co., Ltd, and Samsung Electronics America,
       Inc.
       Case No. 1:16-CV-585
       Filed 05.18.16

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    OptimisCorp, Alan Morelli and Analog Ventures, LLC v. John Waite, William Atkins, Gregory
        Smith and William Horne
        Case No. CA8773
        Filed 08.05.13
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   United States District Court for the Eastern District of Texas Marshall Division
    Mobile Telecommunications Technologies, LLC v. Samsung Telecommunications America,
       LLC
       Civil Action No. 2:15-cv-00183
       Filed 02.09.15

   In the District Court of Nueces County, Texas 28th Judicial District
    Lilly Helene Shaffer, M.D. v. Nationwide Mutual Insurance Company, et al.
        Civil No. 13-11-00503-cv
        Filed 07.28.11

   United States District Court for the Eastern District of Texas Marshall Division
    Mobile Telecommunications Technologies, LLC v. Apple, Inc.
       Civil Action No. 2:13-CV-00258
       Filed 04.02.13

   In the United States District Court for the Eastern District of Texas Sherman Division
    Raytheon Company v. Indigo Systems Corporation and Flir Systems, Inc.
        Case No. 4:07-cv-109
        Filed 03.02.07

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    PODS Enterprises, Inc. v. U-Haul International, Inc.
        Case No. 8:12-cv-01479-T-27MAP
        Filed 07.03.12

   United States District Court for the Western District of Texas Austin Division
    DDB Technologies L.L.C. v. Fox Sports Interactive Media, LLC, et al.
       Cause No. A-11-CV-1014-LY
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    Eagle Operating, Inc. v. Williston Hunter N.D., LLC
       Case No. 4:11-CV-00066
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   In the United States District Court for the Southern District of Texas Houston Division
    Macro Niche Software, Inc.; R/Med, Inc. and Michael J. Ruthemeyer v. 4 Imaging Solutions,
        LLC, Protech Leaded Eyewear, Inc., Mark Struthers, Debbie Starr, and Imaging Solutions of
        Australia
        Case No. 4:12-cv-02293
        Filed 08.01.12

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    Russell M. Peck v. CPaT, Inc., and Brent A. Birdwell
        Case No. 2013-02986
        Filed 01.16.13

   American Arbitration Association, International Centre for Dispute Resolution in the Matter of the
   Arbitration Between
    Chevron U.S.A. Inc. v. Sabine Pass LNG, L.P..
       Case No. 50198 T 00902 12
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   In the District Court of Clark County, Nevada
    Richard Suen and Round Square Company Limited v. Las Vegas Sands, Inc.
        Case No. 04A493744
        Filed 10.15.04

   In the United States District Court for the Eastern District of Texas Marshall Division
    Hitachi Consumer Electronics Co., Ltd., et al. v. Top Victory Electronics (Taiwan) Co. Ltd., et
        al.
        Cause No. 2:10-CV-260-JRG
        Filed 07.22.10

   In the United States District Court for the District of Delaware
    XpertUniverse, Inc. v. Cisco Systems, Inc.
        Civil Action No. 09-157-RGA
        Filed 03.10.09

   In the District Court of Harris County, Texas 61st Judicial District
    Structure Consulting Group LLC v. Corey Berg, M. Daryl Cote, Brent Kassing, Jennifer
        Mihalic, Julia Prybys, and Stacy Rodgers
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    Cudd Pressure Control, Inc. v. Ronnie Roles, et al.
        Cause No. 2006-70697
        Filed 11.02.06

   In the United States Court for the Northern District of Texas Dallas Division
    Reaux Medical Industries, LLC a Texas Limited Liability Company v. Stryker Corporation, a
        Michigan Corporation, Racing Optics, Inc., a California Corporation
        Civil Action No. 3:12-cv-03685-M
        File 09.11.12

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    Halliburton Company, and Halliburton Energy Services, Inc. v. BJ Services Company
      Case No. 2:08-cv-00475

   In the District Court of Travis County, Texas 419th Judicial District
    Alexsam, Inc. v. Netspend Corporation
        Cause No. D-1-GN-07-003659
        Filed 10.24.07

   In the United States District Court for the Eastern District of Texas Tyler Division
    Internet Machines LLC v. Alienware Corporation, et al.
        Case No. 6:10-cv-23
        Filed 02.02.10

   The Circuit Court of the 11th Judicial District in and for Miami-Dade County, Florida
    St. Jude Medical S.C., Inc. v. Medtronic USA, Inc.
      Case No. 2010-007896-CA-01
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     In the United States District Court for the Southern District of Texas Houston Division
      Transocean Offshore Deepwater Drilling, Inc. v. Maersk Contractors USA, Inc.
          Civil Action No. 4:07-cv-02392
          Filed 07.24.07

     In the District Court of Nueces County, Texas, 28th Judicial District
      Lilly Schaffer, M.D. v. Brady Keith Lovins, Tracey Barrett, d/b/a Barrett Pools, Nationwide
          Mutual Insurance Co., and Nationwide Property and Casualty Insurance Co.
          Case No. 07-02035-00-0-A
          Filed 04.18.07

     In the United States District Court for the Northern District of Georgia Atlanta Division
      Insituform Technologies, Inc., et al v. Amerik Supplies, Inc., et al v. Cosmic-
          Sondermaschinenbau GMBH, et al.
          Case No. 1:08-cv-00333
          Filed 01.30.08

     In the United States Bankruptcy Court for the Eastern District of Virginia Alexandria Division
      In re: Qimonda AG, Debtor in a Foreign Proceeding (Represented Objector, Micron, Inc.)
          Case No. 1:09-bk-14766
          Filed 06.15.09

DEPOSITIONS
     In the United States District Court For the Eastern District of Texas Marshall Division
      Effective Exploration, LLC v. Bluestone Natural Resources II, LLC
          Case No. 2:16-CCV-00607-JRG-RSP
          Filed 6.08.16

     In the County Court of Law of Kendall County, Texas
         Massandra Capital, LLC v. Windmill IV Partners, LLC ,Windmill IV Manager, LLC, Windmill
          VI Investments, LLC, f/k/a Windmill IV Investments, LLC, PCSM Management, LLC, CP
          Boerne I, LLC, CP Boerne II, LLC and CF Commercial Brokerage, LLC d/b/a Sana Antonio
          Commercial Advisors
          Case No. 14-587CCL
          Filed 6.25.15

     In the United States Bankruptcy Court Northern District of Texas Fort Worth Division
      DSI Lending Resources, Inc., v. The PLS Loan Store of Texas, Inc., PLS Financial, Inc., and
          PLS Financial Solutions of Illinois, Inc
          Case No. 01-16-0001-5021
          Filed 9.22.16

         In the United States District Court Northern District of Texas Dallas Division
            Ilife Technologies, Inc., v. Nintendo of America, Inc.,
             Case No. 3:13-cv-04987-M
             Filed 12.23.13

     In the United States District Court for the Eastern District of Texas Tyler Division
      Evicam International, Inc., v. Enforcement Video, LLC d/b/a Watchguard
          Cause No. 6:15-cv-01043
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   In the District Court for the Southern District of New York (Foley Square)
    Infinity Headwear & Apparel, LLC, an Arkansas limited liability company v. Jay Franco &
        Sons, Inc., a New York corporation and Jay at Play, Int’l HK Ltd., a Hong Kong limited
        company
        Case No. 1:15-cv-01259 (JPO)(RLE)
        Filed 02.20.15

   United States District Court For The Western District of Texas Austin Division
   • Intellectual Ventures II LLC v. AT & T Inc., et al
        Case No. 13-cv-00116-LY
        Filed 02.08.13

   United States District Court Middle District of Florida Orlando Division
   •   Sreenivasan Asokan, Chakravarthy Raghavan, Nanni Pidikiti, Rakesh Parekh, Ram Reddy,
        Madhubala Reddy, and Roger Lodge et. al. v. American General Life Insurance Company,
        a Texas company and subsidiary of American International Group, Inc (“AIG”) ; and Does 1
        - 50
        Case No. 6:15-cv-2048
        Filed 12.04.15

   Private Arbitration
   •   DSI Lending Resources, Inc. v. The PLS Loan Store of Texas, Inc., PLS Financial, Inc., and
        PLS Financial Solutions of Illinois, Inc. Formerly Payday Loan Store of Illinois, Inc.
        Case No. 01-16-0001-5021
        Filed 4.26.16

   In the United States District Court for The Western District of Texas San Antonio Division
   • Live Face on Web, LLC, a Pennsylvania Company vs. Daniel Moreno, Individually and d/b/a
        Full Service Vending Co.
        Case No. 5:15-cv-00539-OLG
        Filed 07.02.15

   In the District Court of Leon County, Texas 369th Judicial District
   •    Linda Singleton, Individually and as the Independent Administrator of The Estate of Alfred
        A.Singleton, Deceased; Leighia Ardorin; and Angelia Williams v. Laronte D. Blance and
        Rockin D. Driveways, Inc.
        Cause No. AP-15-405
        Filed 09.28.15

   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC v. AT& T Mobility LLC, AT&T Mobility II LLC, and New Cingular
        Wireless Services, Inc. (Defendants); and Ericsson Inc. and Telefonaktielbolaget LM
        Ericsson (Intervenors)
        Civil Action Nos. 13-1668-LPS and 13-669-LPS
        Filed 10.07.13

   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC v. T-Mobile USA, Inc. and T-Mobile US, Inc. (Defendants); and
        Ericsson Inc. and Telefonaktielbolaget LM Ericsson (Intervenors),
        Civil Action Nos. 13-1671-LPS
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   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC v. Nextel Operations, Inc. and Sprint Spectrum L.P.
        (Defendants); and Ericsson Inc. and Telefonaktielbolaget LM Ericsson (Intervenors),
        Civil Action Nos. 13-670-LPS
        Filed 10.07.13

   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC v. United States Cellular Corporation (Defendant); and Ericsson
       Inc. and Telefonaktielbolaget LM Ericsson (Intervenors),
       Civil Action No. 13-1672-LPS
       Filed 10.07.13

   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC and Intellectual Ventures II LLC v. United States Cellular
       Corporation
       Civil Action No. 13-1672-LPS
       Filed 10.07.13

   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC v. Nextel Operations, Inc. and Sprint Spectrum L.P., and
        Ericsson Inc. and Telefonaktiebolaget LM Ericsson
        Case No. 13-1670-LPS
        Filed 09.26.14

   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC v. Nextel Operations, Inc. and Sprint Spectrum L.P., and
        Ericsson Inc. and Telefonaktiebolaget LM Ericsson
        Case No. 13-1670-LPS
        Filed 09.26.14

   In the United States District Court Southern District of Texas Houston Division
   • Transocean Offshore Deepwater Drilling, Inc. v. Seadrill Americas Inc., Seadrill Gulf
        Operations Auriga LLC, Seadrill Gulf Operations Vela LLC, Seadrill Gulf Operations
        Neptune LLC.
        Case No. 4:15-cv-00144
        Filed 08.31.15

   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC and Intellectual Ventures II LLC v. AT&T Mobility LLC; AT&T
       Mobility II LLC; and New Cingular Wireless Services, Inc.
       Civil Action Nos. 12-cv-193-LPS and Civil Action Nos. 13-cv-1631-LPS
       Filed 10.07.13

   In the District Court of Harris County, Texas
   • Apache Corporation; Apache Natural Resources Petrolera Argentina S.R.L. et al v. Pioneer
        Natural Resources Company; Pioneer Natural Resources Canada, Inc.; and Pioneer
        Canada ULC
        Case No. 2014-64407 / Court 189
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       an Morgan Rozman, an individual v. Google, Inc.
       Case No. 2:13-cv-00103
       Filed 02.07.13

   United States District Court for the Eastern District of Texas Marshall Division
   • Mobile Telecommunications Technologies, LLC v. HTC America
       Case No. 2:13-cv-00948
       Filed 11.07.13

   In the United States District Court Eastern District of Texas Tyler Division
   • TracBeam, LLC v. T-Mobile US, Inc., et al.
        Case No. 6:13-cv-00093
        Filed 08.08.14

   In the United States District Court for the District of Delaware
   • Intellectual Ventures I LLC and Intellectual Ventures II LLC v. T-Mobile USA, Inc. and T-
        Mobile US, Inc.
        Case No. 1:13-cv-01633-LPS and Case No. 1:13-cv-01632-LPS
        Filed 02.16.12

   In the District Court Dallas County, Texas 298th Judicial District
   • Centego II, LLC v. Metrosplash Systems Group, Inc. and Phillip S. Babick
        Case No. DC-14-07297
        Filed 07.10.14

   United States District Court District of Minnesota
   • Plasti Dip International, Inc. v. Rust-Oleum Brands Company and Rust-Oleum Corporation
       Case No. 0:14-cv-01831
       Filed 06.06.14

   United States District Court Northern District of Georgia Atlanta Division
   • HCC Insurance Holdings, Inc., v. Valda Flowers, Michael Remeika and Creative Risk
       Underwriters, LLC
       Case No. 1:15-cv-03262
       Filed 09.16.15

   United States District Court for the Central District of California
   • Ulti-mate Connectors, Inc.; Bruce L. Billington; Thierry Pombart; and Stephen R. Brockman,
       on behalf of themselves and all others similarly situated, v. American General Life Insurance
       Company; Sea Nine Associates, Inc.; Innovative Private
       Case No. 8:14-cv-01051
       Filed 07.09.14

   United States District Court for the Eastern District of Pennsylvania
   • Red Online Marketing Group, LP, d/b/a 50onRED v. Revizer LTD
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   • Mobile Telecommunications Technologies, LLC v. Samsung Electronics Co., LTD.,
       Samsung Electronics America, Inc., Samsung Telecommunications America, LLC
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   In the United States District Court Harris County 234th Judicial District
   • Vincent Anthony Matassa and Adam Henry Robinson v. Brightoil Petroleum (USA) Inc.
        Cause No. 2012-37056
        Filed 06.26.12

   In the Superior Court of New Jersey Law Division Ocean County
   • Joseph Fleischman v. Direct Energy, Gateway Energy Services Corporation, ABC Corp 1-10
        Case No. L00263813
        Filed 09.18.13

   In the United States District Court for the Northern District of Texas
   • Mobile Telecommunications Technologies, LLC v. BlackBerry Corporation
        Civil Action No. 3:12-cv-1652-M
        Filed 05.29.12

   In the United States District Court for the Western District of Michigan
    Stryker Corporation, a Michigan corporation; Howmedica Osteonics Corp., a New Jersey
        Corporation v. Christopher Ridgeway, an individual; Richard Steitzer, an individual; Biomet,
        Inc., an Indiana corporation
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   American Arbitration Association, San Diego, California
    Village Lindo Paseo, LP v. Campus Advantage, Inc.
      Case No. 01-14-0001-3383

   In the United States District Court for the Southern District of Texas Houston Division
       Tess AS v. Charles D. Pate, Joanna C. Pate, Mike Pate, and CJP Real Estate, LLC
        Civil Case No. 4:14-cv-01557
        Filed 06.04.14

   Superior Court of California County of San Diego
    Hooman Asbaghi and HBA Medical Group, Inc. v. Neil K. Nydegger; Nydegger & Associates
      Case No. 37-2013-00066639-CU-PN-CTL
      Filed 09.10.13

   United States District Court for the Western District of Tennessee
    Ronald A. Katz Technology Licensing L.P. v. FEDEX Corporation, Federal Express
       Corporation, FEDEX Corporate Services, Inc., and FEDEX Customer Information Services,
       Inc.
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    N8 Medical, Inc., and Brigham Young University v. Colgate-Palmolive Company
        Case No. 2:13-cv-01017
        Filed 11.12.13

   In the United States District Court for the Southern District of Texas Houston Division
    Lennar Homes of Texas Sales and Marketing, Ltd. v. Perry Homes, LLC
        Civil Action No. 4:14-cv-01094
        Filed 04.21.14

   American Arbitration Association
    McKool Smith, P.C., v. Versata Software, Inc., Versata Development Group, Inc., and
      Versata Computer Industry Solutions, Inc.
      (EDTX)
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      Filed 04.20.07

   United States District Court Central District of California
    FarStone Technology, Inc. v. Apple, Inc.
       Civil Case No. 8:13-cv-01537-ODW (JEMx)
       Filed 09.30.13

   United States District Court for the Eastern District of Texas Marshall Division
    Mobile Telecommunications Technologies, LLC v. Leap Wireless International, Inc. and
       Cricket Communications, Inc.
       Civil Case No. 2:13-cv-00885
       Filed 10.30.13

   United States District Court for the Eastern District of Texas Marshall Division
    Mobile Telecommunications Technologies, LLC v. LG Electronics Mobilecomm U.S.A., Inc.
       Civil Case No. 2:13-CV-00947
       Filed 11.07.13

   In the United States District Court for the Eastern District of Texas Lufkin Division
    Allure Energy, Inc. v. Nest Labs, Inc., Green Mountain Energy Company, and Reliant Energy
        Retail Holdings, LLC
        Civil Case No. 9:13-cv-00102
        Filed 05.14.13

   In the District Court of Harris County, Texas 281st Judicial District
    Airport Holdings I, L.L.C. and Airport Holdings II, L.L.C. v. Elford Building Corporation and
        John Elford, et al.
        Case No. 2013-49851
        Filed 08.23.13

   United States District Court for the Eastern District of Texas Marshall Division
    Mobile Telecommunications Technologies, LLC v. Amazon.com, Inc.
       Civil Case No. 2:13-CV-883-JRG-RSP
       Filed 10.29.13
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   In the United States District Court for the Northern District of Illinois Eastern Division
    Intercontinental Great Brands LLC v. Kellogg North America Company, Kellogg USA Inc.,
        Keebler Company, Keebler Foods Company, and Kellogg Sales Company
        Case No. 1:13-cv-00321
        Filed 01.16.13

   In the United States District Court for the Western District of Texas San Antonio District
    AT&T Corp. v. Park I-10 Motors, Inc.
        Case No. 5:13-cv-00644-XR
        Filed 07.16.13

   United States District Court Western District of Texas Austin Division
    Masakazu Ushijima v. Samsung Electronics Co., Ltd, and Samsung Electronics America,
       Inc.
       Civil Case No. 1:12-CV-00318
       Filed 04.10.12

   In the United States District Court for the Eastern District of Virginia Alexandria Division
    Intelligent Verification Systems, LLC v. Microsoft Corporation and Majesco Entertainment
        Co.
        Civil Case No. 2:12-CV-525
        Filed 09.20.12

   United States District Court for the Northern District of Georgia Atlanta Division
    Mobile Telecommunications Technologies, LLC v. United Parcel Services, Inc.
       Civil Case No. 1:12-CV-03222
       Filed 09.14.12

   In the District Court of Harris County, Texas 165th Judicial District
    Realty Holdings of Katy, LLC and Kemosabe Motors, L.P. D/B/A Honda Cars of Katy v.
        Cypress Equities LLC, et al.
        Case No. 200976361-7
        Filed 11.25.09

   In the Court of Chancery of the State of Delaware
    OptimisCorp, Alan Morelli, and Analog Ventures, LLC v. John Waite, William Atkins,
        Gregory Smith and William Horne
        Case No. CA8773
        Filed 08.05.13

   United States District Court for the Eastern District of Texas Marshall Division
    Mobile Telecommunications Technologies, LLC v. Samsung Telecommunications America,
       LLC
       Case No. 2:13-cv-00259
       Filed 04.02.13

   United States District Court for the Eastern District of Texas Marshall Division
    Mobile Telecommunications Technologies, LLC v. Apple, Inc.
       Case No. 2:13-CV-00258
       Filed 04.02.13
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   In the United States District Court for the Northern District of Texas Fort Worth Division
    Heil Trailer International, Co. v. Gavin Kula, Jerry Davis, Robert Troxell, William Lyman and
        Troxell Company, Inc.
        Case No. 4:12-CV-00385
        Filed 06.11.12

   In the United States District Court for the Eastern District of Texas Tyler Division
    Profectus Technology LLC v. Huawei Technologies Co., Ltd., et al.
        Case No. 6:11-CV-00474
        Filed 09.09.11

   In the District Court Dallas County, Texas 298th Judicial District
    Newton Research Partners, L.P. v. Shell Exploration & Production, Company; Shell Oil
        Company, et al.
        Case No. DC-07-13697
        Filed 11.20.07

   United States District Court for the District of Delaware
    Nonend Inventions N.V. v. Spotify USA Inc., et al.
       Case No. 1:13-CV-00389
       Filed 03.08.13

   United States District Court for the Southern District Court of Texas Houston Division
    Jay Martin Barrash, M.D. v. American Association of Nuerological Surgeons, Inc.
       Case No. 4:13-CV-01054
       Filed 04.11.13

   United States District Court Northern District of California Oakland Division
    U.S. Ethernet Innovations, LLC v. Acer, Inc., et al.
       Case No. 4:10-CV-03724
       Filed 08.23.10

   In the United States District Court for the Eastern District of Texas Marshall Division
    Optimize Technology Solutions, LLC v. Staples, Inc., Dillard’s Inc., Drugstore.com, Inc.,
        HSN, Inc., et al.
        Case No. 2:11-CV-00419-JRG
        Filed 09.15.11

   In the District Court of Harris County, Texas 11th Judicial District
    Bryant Collins v. David Martinez, Jr.
        Cause No. 2013-50115
        Filed 08.26.13

   United States District Court for the Northern District of Georgia Atlanta Division
    Equifax Inc., v. Versata, Inc.
       Case No. 1:13-cv-00213
       Filed 01.22.13


   United States District Court for the Western District of Texas Austin Division
    DDB Technologies L.L.C. v. Fox Sports Interactive Media, LLC, et al.
       Case No. 1:11-CV-01014
       Filed 11.28.11
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   In the District Court of Orange County, Texas 128th Judicial District
    Henry Travis Myers and Clayton Poullard v. Midwest Carriers, L.L.C., Bashir Duale Nuh and
        Williams Brothers Construction, Co., Inc.
        Cause No. A 11 0487 - C

   In the Circuit Court of Jefferson County, Alabama
    Tom Waugh and Seamless Pole, Inc. v. McWane, Inc. and McWane Global, et al.
        Case No. 01-CV-2013-901820.00

   In the United States District Court for the District of Delaware
    Linex Technologies, Inc. v. Hewlett-Packard Company, et al.
        Case No. 1:11-cv-400-GMS
        Filed 05.06.11

   In the United States District Court Northern District of California
    Brandywine Communications Technologies, LLC v. AT&T Corp. and SBC Internet Services,
        Inc.
        Case No. 4:12-cv-02494-CW
        Filed 05.16.12

   In the District Court Harris County, Texas 269th Judicial District
    Robert P. Alford, Ruth M. Alford and Randall D. Romack v. Monster Mosquito Systems,
        LLC, Leo J. Niekerk, Kemper Modlin and Aubrey “Don” Knudson
        Cause No. 2012-37881
        Filed 06.29.12

   In the United States District Court for the Middle District of Florida
    Arthrex, Inc. and Arthrex Manufacturing, Inc. v. Parcus Medical, LLC
        Case No. 2:10-cv-00151
        Filed 03.08.10

   In the United States District Court for the Middle of District of Florida Tampa Division
    PODS Enterprises, Inc. v. U-Haul International, Inc.
        Case No. 8:12-cv-01479
        Filed 07.03.12

   The International Court of Arbitration of the International Chamber of Commerce
    Dresser-Rand Holdings Spain, S.L. (Spain) and Dresser-Rand Group Inc. (U.S.A.) v. Joseba
      Mikel Grajales Jimenez (Spain), Centauro Capital, S.L.U. (Spain) and Others
      Case No. 20821/ASM

      Eagle Operating, Inc. v. Williston Hunter N.D., LLC
       (District of North Dakota)
       Case No. 4:11-cv-00067
       Filed 08.19.11

   In the United States District Court for the Southern District of California
    Pacing Technologies, LLC v. Garmin International, Inc. and Garmin USA, Inc.
        Case No. 3:12-cv-01067-BEN-WMC
        Filed 05.01.12
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   In the United States District Court Middle District of Florida Fort Myers Division
    Arthrex, Inc. v. Parcus Medical, LLC
        Case No. 2:11-cv-00694
        Filed 12.15.11

   In the District Court of Harris County, Texas 234th Judicial District
    Momentive Specialty Chemicals, Inc. v. Robert R. McDaniel, Avis Lloyd McCrary, Joshua C.
        Brown, and Preferred Sands, LLC, et al.
        Cause No. 2011-51663
        Filed 08.30.11

   In the District Court of Harris County, Texas 80th Judicial District
    Gulf Coast Asphalt Company, L.L.C. and Trifinery, Inc. v. Russell T. Lloyd and John M.
        O’Quinn and Associates, L.L.P.
        Cause No. 2011-61780
        Filed 10.13.11

   American Arbitration Association, International Centre for Dispute Resolution in the Matter of the
   Arbitration Between
    Chevron U.S.A. Inc. v. Sabine Pass LNG, L.P.
       Case No. 50198 T 00902 12

   Under the Federal Arbitration Act
    Magnum Hunter Production, Inc. and Eureka Hunter Pipeline, LLC v. Seminole Energy
      Services, LLC and Seminole Gas Company, LLC

   In the United States District Court for the Eastern District of Texas Tyler Division
    Guardian Media Technologies, Ltd. v. AT&T Operations, Inc., et al.
        Case No. 6:10-cv-00597
        Filed 11.10.10

   In the United States International Trade Commission, Washington, DC
    In the Matter of Reduced Folate Nutraceutical Products and L-Methylfolate Raw Ingredients
        used therein
        Investigation No. 337-TA-857
        Filed 09.10.12

   In the United States District Court for the District of Arizona
    Oticon, Inc. v. Sound Design Technologies, Ltd. and Sebotek Hearing Systems, LLC
        Case No. 2:11-cv-01874
        Filed 09.23.11

   In the United States District Court for the Northern District of California, San Francisco Division
    MedioStream, Inc. v. Microsoft Corporation, et al.
        Case No. 3:11-cv-02525-RS-JCS
        Filed 06.07.11

   In the District Court of Clark County, Nevada
    Richard Suen and Round Square Company Limited v. Las Vegas Sands, Inc.
        Case No. 04A493744
        Filed 10.15.04
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   In the United States District Court for the Southern District of California
    SPH America, LLC v. Acer, Inc., et al.
        Case No. 3:09-cv-02535
        Filed 11.09.09

   In the United States District Court for the Eastern District of Texas Marshall Division
    Hitachi Consumer Electronics Co., Ltd., et al. v. Top Victory Electronics (Taiwan) Co. Ltd., et
        al.
        Cause No. 2:10-cv-00260-JRG
        Filed 07.22.10

   In the United States Bankruptcy Court for the Northern District of Texas Dallas Division
    In Re: Hallwood Energy, L.P., et al., Ray Balestri, Trustee of the Hallwood Energy I
        Creditors’ Trust v. Hunton & Williams LLP, W. Alan Kailer, Andrew E. Jillson, and Michelle
        A. Mendez
        Case No. 09-31253-SGJ-11
        Filed 03.01.09

   In the County Court of Nueces County, Texas; In the County Court at Law No. 2
    John Jalufka v. Joshua E. Comstock, Individually, et al.
        Case No. 2011CCV-60390
        Filed 02.22.11

   In the District Court of Harris County, Texas 270th Judicial District
    Araceli Alarcon Velazquez, Maria Eugenia Alarcon Velazquez, Robert Blaauw as Receiver
        for Zalinco Corporation, N.V. and Ocana Corporation, N.V. v. Gabriel Alarcon Velazquez
        Cause No. 2006-51822
        Filed 08.21.06

   In the District Court of Harris County, Texas 61st Judicial District
    Structure Consulting Group LLC v. Corey Berg, M. Daryl Cote, Brent Kassing, Jennifer
        Mihalic, Julia Prybys, and Stacy Rodgers
        Cause No. 2010-69070
        Filed 10.18.10

   In the United States District Court for the Easter District of Texas Tyler Division
    Secure Axcess, LLC v. ING Direct Bancorp, ING Bank, FSB d/b/a ING Direct USA, and
        Bank of America Corp., et al.
        Case No. 6:10-cv-00670
        Filed 12.16.10
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                                                            Documents Considered
          Bates           Beginning       End       Bates           Beginning           End       Bates      Beginning           End
          UBER            00005799      00005857    UBER            00018054          00018058    UBER       00023381          00023381
          UBER            00006013      00006015    UBER            00022948          00022962    UBER       00023382          00023401
          UBER            00006035      00006041    UBER            00022963          00022977    UBER       00023402          00023404
          UBER            00006042      00006047    UBER            00022978          00023007    UBER       00023405          00023411
          UBER            00006667      00006668    UBER            00023008          00023023    UBER       00023412          00023430
          UBER            00008399      00008399    UBER            00023024          00023039    UBER       00023431          00023444
          UBER            00008593      00008594    UBER            00023040          00023046    UBER       00023445          00023447
          UBER            00009001      00009415    UBER            00023047          00023049    UBER       00023448          00023457
          UBER            00011858      00011876    UBER            00023050          00023066    UBER       00023458          00023458
          UBER            00011912      00011931    UBER            00023067          00023069    UBER       00023459          00023459
          UBER            00012060      00012062    UBER            00023070          00023078    UBER       00023460          00023468
          UBER            00012295      00012296    UBER            00023079          00023098    UBER       00023469          00023485
          UBER            00012397      00012398    UBER            00023099          00023105    UBER       00023486          00023492
          UBER            00012405      00012406    UBER            00023106          00023122    UBER       00023493          00023512
          UBER            00012407      00012407    UBER            00023123          00023142    UBER       00023513          00023519
          UBER            00012457      00012458    UBER            00023143          00023157    UBER       00023520          00023522
          UBER            00012664      00012674    UBER            00023158          00023166    UBER       00023523          00023539
          UBER            00016391      00016391    UBER            00023167          00023169    UBER       00023540          00023546
          UBER            00016392      00016392    UBER            00023170          00023176    UBER       00023547          00023549
          UBER            00016393      00016394    UBER            00023177          00023185    UBER       00023550          00023552
          UBER            00016399      00016399    UBER            00023186          00023192    UBER       00023553          00023566
          UBER            00016429      00016431    UBER            00023193          00023199    UBER       00023567          00023586
          UBER            00016432      00016452    UBER            00023200          00023218    UBER       00023587          00023595
          UBER            00016453      00016523    UBER            00023219          00023221    UBER       00023596          00023604
          UBER            00016524      00016584    UBER            00023222          00023241    UBER       00023605          00023624
          UBER            00016585      00016748    UBER            00023242          00023244    UBER       00023625          00023631
          UBER            00016749      00016751    UBER            00023245          00023253    UBER       00023632          00023634
          UBER            00016752      00016756    UBER            00023254          00023273    UBER       00023635          00023653
          UBER            00016757      00016837    UBER            00023274          00023288    UBER       00023654          00023667
          UBER            00016838      00016973    UBER            00023289          00023307    UBER       00023668          00023670
          UBER            00016974      00016982    UBER            00023308          00023314    UBER       00023671          00023673
          UBER            00016983      00017006    UBER            00023315          00023323    UBER       00043434          00043436
          UBER            00017083      00017091    UBER            00023324          00023326    UBER       00047831          00047856
          UBER            00017108      00017126    UBER            00023327          00023346    UBER       00047857          00047661
          UBER            00017265      00017276    UBER            00023347          00023349    UBER       00060147          00060156
          UBER            00017483      00017486    UBER            00023350          00023356    UBER       00060180          00060181
          UBER            00017487      00017517    UBER            00023357          00023373    UBER       00060321          00060347
          UBER            00017518      00017578    UBER            00023374          00023380    UBER       00060416          00060416




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                                                            Documents Considered
          Bates           Beginning       End       Bates           Beginning           End       Bates      Beginning           End
          UBER            00060449      00060449    UBER            00068717          00068717    UBER       00101482          00101498
          UBER            00060504      00060504    UBER            00068727          00068728    UBER       00109919          00109932
          UBER            00060505      00060505    UBER            00068736          00068737    UBER       00114289          00114327
          UBER            00060506      00060506    UBER            00068757          00068758    UBER       00118203          00118203
          UBER            00060588      00060588    UBER            00068788          00068788    UBER       00119851          00119853
          UBER            00060636      00060637    UBER            00068835          00068835    UBER       00124217          00124217
          UBER            00060643      00060643    UBER            00068945          00068945    UBER       00124218          00124221
          UBER            00060650      00060651    UBER            00068946          00068950    UBER       00141843          00141844
          UBER            00060661      00060661    UBER            00068982          00068982    UBER       00145491          00145491
          UBER            00060665      00060676    UBER            00068983          00068983    UBER       00145615          00145624
          UBER            00062774      00062913    UBER            00069029          00069029    UBER       00145762          00145763
          UBER            00063585      00063585    UBER            00069030          00069033    UBER       00146316          00146317
          UBER            00063586      00063586    UBER            00069043          00069064    UBER       00146357          00146358
          UBER            00063617      00063617    UBER            00069080          00069081    UBER       00146519          00146524
          UBER            00063618      00063622    UBER            00069359          00069359    UBER       00146557          00146557
          UBER            00063640      00063642    UBER            00070108          00070110    UBER       00146693          00146693
          UBER            00063658      00063659    UBER            00070243          00070247    UBER       00146761          00146765
          UBER            00063680      00063695    UBER            00070983          00071036    UBER       00146884          00146887
          UBER            00063707      00063708    UBER            00071544          00071544    UBER       00146997          00146999
          UBER            00063721      00063721    UBER            00071548          00071550    UBER       00149027          00149027
          UBER            00063785      00063786    UBER            00071595          00071597    UBER       00149028          00149030
          UBER            00064043      00064044    UBER            00071606          00071607    UBER       00149195          00149198
          UBER            00064272      00064273    UBER            00071609          00071610    UBER       00150730          00150733
          UBER            00064295      00064297    UBER            00071616          00071618    UBER       00151136          00151139
          UBER            00064468      00064469    UBER            00071636          00071636    UBER       00177409          00177409
          UBER            00064472      00064473    UBER            00071639          00071640    UBER       00177749          00177773
          UBER            00064592      00064595    UBER            00072238          00072249    UBER       00211176          00211181
          UBER            00064596      00064597    UBER            00074703          00074773    UBER       00213222          00213222
          UBER            00064680      00063695    UBER            00076047          00076048    UBER       00213222          00213269
          UBER            00065024      00065024    UBER            00076982          00076983    UBER       00213223          00213223
          UBER            00065563      00065563    UBER            00086529          00086529    UBER       00213224          00213224
          UBER            00065569      00065572    UBER            00086828          00086828    UBER       00213225          00213234
          UBER            00065647      00065648    UBER            00098408          00098408    UBER       00213235          00213243
          UBER            00065777      00065781    UBER            00099106          00099108    UBER       00213244          00213258
          UBER            00065812      00065814    UBER            00099289          00099299    UBER       00213259          00213269
          UBER            00065989      00065989    UBER            00099666          00099667    UBER       00213501          00213502
          UBER            00065997      00065997    UBER            00099671          00099671    UBER       00218027          00218032
          UBER            00068702      00068705    UBER            00100344          00100352    UBER       00218222          00218227




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                                                              Documents Considered
          Bates           Beginning       End         Bates           Beginning           End          Bates         Beginning           End
          UBER            00218250      00218255      UBER            00232227          00232227    WAYMO-UBER-      00005995          00005997
          UBER            00218609      00218610      UBER            00232262          00232274    WAYMO-UBER-      00006008          00006009
          UBER            00218666      00218670      UBER            00232291          00232291    WAYMO-UBER-      00006082          00006082
          UBER            00218672      00218678      UBER            00232375          00232375    WAYMO-UBER-      00006085          00006085
          UBER            00221805      00221810      UBER            00232416          00232420    WAYMO-UBER-      00006087          00006088
          UBER            00223278      00223278      UBER            00232421          00232421    WAYMO-UBER-      00006091          00006092
          UBER            00223405      00223405      UBER            00232422          00232438    WAYMO-UBER-      00006304          00006305
          UBER            00223442      00223443      UBER            00232447          00232448    WAYMO-UBER-      00006306          00006306
          UBER            00223529      00223529      UBER            00232449          00232449    WAYMO-UBER-      00006316          00006316
          UBER            00223629      00223630      UBER            00232450          00232450    WAYMO-UBER-      00006317          00006318
          UBER            00223667      00223684      UBER            00232451          00232451    WAYMO-UBER-      00006348          00006348
          UBER            00223840      00223844      UBER            00232452          00232453    WAYMO-UBER-      00006992          00006993
          UBER            00224219      00224219      UBER            00232454          00232454    WAYMO-UBER-      00008897          00008901
          UBER            00231665      00231696      UBER            00232488          00232514    WAYMO-UBER-      00008930          00008931
          UBER            00231717      00232191      UBER            00232516          00232547    WAYMO-UBER-      00008932          00008934
          UBER            00231729      00231729      UBER            00232549          00232575    WAYMO-UBER-      00008968          00009015
          UBER            00231730      00231739      UBER            00232630          00232668    WAYMO-UBER-      00009042          00009101
          UBER            00231748      00231751      UBER            00233777          00233779    WAYMO-UBER-      00009102          00009142
          UBER            00231798      00231807                                                    WAYMO-UBER-      00009502          00009502
          UBER            00231827      00231827   WAYMO-UBER-        00000060          00000063    WAYMO-UBER-      00009503          00009508
          UBER            00231873      00231873   WAYMO-UBER-        00000181          00000181    WAYMO-UBER-      00009509          00009509
          UBER            00231926      00231926   WAYMO-UBER-        00000275          00000275    WAYMO-UBER-      00009532          00009533
          UBER            00231927      00231965   WAYMO-UBER-        00000321          00000331    WAYMO-UBER-      00009635          00009635
          UBER            00231966      00231966   WAYMO-UBER-        00000350          00000355    WAYMO-UBER-      00009935          00009935
          UBER            00232001      00232011   WAYMO-UBER-        00001354          00001412    WAYMO-UBER-      00009936          00009937
          UBER            00232012      00232012   WAYMO-UBER-        00001496          00001499    WAYMO-UBER-      00009943          00009944
          UBER            00232013      00232018   WAYMO-UBER-        00004093          00004329    WAYMO-UBER-      00010452          00010452
          UBER            00232055      00232055   WAYMO-UBER-        00004175          00004194    WAYMO-UBER-      00010453          00010454
          UBER            00232056      00232056   WAYMO-UBER-        00005845          00005845    WAYMO-UBER-      00010455          00010456
          UBER            00232067      00232067   WAYMO-UBER-        00005846          00005846    WAYMO-UBER-      00010459          00010463
          UBER            00232115      00232115   WAYMO-UBER-        00005849          00005850    WAYMO-UBER-      00010492          00010492
          UBER            00232116      00232153   WAYMO-UBER-        00005851          00005852    WAYMO-UBER-      00010496          00010496
          UBER            00232154      00232154   WAYMO-UBER-        00005860          00005863    WAYMO-UBER-      00010878          00010878
          UBER            00232155      00232155   WAYMO-UBER-        00005864          00005864    WAYMO-UBER-      00011542          00011542
          UBER            00232192      00232218   WAYMO-UBER-        00005935          00005940    WAYMO-UBER-      00011749          00011749
          UBER            00232219      00232219   WAYMO-UBER-        00005963          00005963    WAYMO-UBER-      00011751          00011751
          UBER            00232220      00232220   WAYMO-UBER-        00005978          00005983    WAYMO-UBER-      00011762          00011762
          UBER            00232221      00232221   WAYMO-UBER-        00005984          00005985    WAYMO-UBER-      00011796          00011796




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                                                              Documents Considered
          Bates           Beginning       End         Bates           Beginning           End          Bates         Beginning           End
    WAYMO-UBER-           00011799      00011799   WAYMO-UBER-        00031553          00031553    WAYMO-UBER-      00039951          00040027
    WAYMO-UBER-           00011805      00011805   WAYMO-UBER-        00031554          00031612    WAYMO-UBER-      00040126          00040127
    WAYMO-UBER-           00011811      00011811   WAYMO-UBER-        00031637          00031697    WAYMO-UBER-      00040138          00040139
    WAYMO-UBER-           00012134      00012135   WAYMO-UBER-        00031699          00031801    WAYMO-UBER-      00040174          00040175
    WAYMO-UBER-           00012136      00012137   WAYMO-UBER-        00031804          00031804    WAYMO-UBER-      00040727          00040728
    WAYMO-UBER-           00012357      00012358   WAYMO-UBER-        00031805          00031817    WAYMO-UBER-      00041064          00041065
    WAYMO-UBER-           00012359      00012361   WAYMO-UBER-        00031818          00031960    WAYMO-UBER-      00041754          00041757
    WAYMO-UBER-           00012362      00012363   WAYMO-UBER-        00031973          00032046    WAYMO-UBER-      00041811          00041849
    WAYMO-UBER-           00013908      00013908   WAYMO-UBER-        00032047          00032059    WAYMO-UBER-      00041893          00041971
    WAYMO-UBER-           00014000      00014019   WAYMO-UBER-        00032060          00032077    WAYMO-UBER-      00041972          00041989
    WAYMO-UBER-           00014020      00014040   WAYMO-UBER-        00032078          00032096    WAYMO-UBER-      00041990          00042068
    WAYMO-UBER-           00014078      00014098   WAYMO-UBER-        00032097          00032139    WAYMO-UBER-      00042069          00042091
    WAYMO-UBER-           00014703      00014704   WAYMO-UBER-        00032176          00032217    WAYMO-UBER-      00042255          00042264
    WAYMO-UBER-           00014707      00014707   WAYMO-UBER-        00032218          00032283    WAYMO-UBER-      00042280          00042327
    WAYMO-UBER-           00016837      00016837   WAYMO-UBER-        00032284          00032318    WAYMO-UBER-      00042351          00042359
    WAYMO-UBER-           00019667      00019705   WAYMO-UBER-        00032319          00032383    WAYMO-UBER-      00042374          00042382
    WAYMO-UBER-           00020826      00020899   WAYMO-UBER-        00032384          00032526    WAYMO-UBER-      00042398          00042419
    WAYMO-UBER-           00021118      00021131   WAYMO-UBER-        00032530          00032539    WAYMO-UBER-      00042515          00042515
    WAYMO-UBER-           00022235      00022236   WAYMO-UBER-        00032541          00032541    WAYMO-UBER-      00042527          00042531
    WAYMO-UBER-           00022237      00022237   WAYMO-UBER-        00033191          00033204    WAYMO-UBER-      00042532          00042553
    WAYMO-UBER-           00022840      00022840   WAYMO-UBER-        00033587          00033588    WAYMO-UBER-      00042554          00042589
    WAYMO-UBER-           00025177      00025180   WAYMO-UBER-        00033665          00033665    WAYMO-UBER-      00042590          00042603
    WAYMO-UBER-           00025181      00025183   WAYMO-UBER-        00035227          00035263    WAYMO-UBER-      00042993          00042993
    WAYMO-UBER-           00026142      00026142   WAYMO-UBER-        00035632          00035637    WAYMO-UBER-      00043001          00043003
    WAYMO-UBER-           00026142      00026143   WAYMO-UBER-        00035653          00035657    WAYMO-UBER-      00043047          00043057
    WAYMO-UBER-           00026243      00026244   WAYMO-UBER-        00036066          00036067    WAYMO-UBER-      00043058          00043058
    WAYMO-UBER-           00026248      00026248   WAYMO-UBER-        00036448          00036448    WAYMO-UBER-      00043101          00043101
    WAYMO-UBER-           00026471      00026476   WAYMO-UBER-        00038713          00038717    WAYMO-UBER-      00043102          00043123
    WAYMO-UBER-           00026722      00026723   WAYMO-UBER-        00038720          00038724    WAYMO-UBER-      00043124          00043148
    WAYMO-UBER-           00026886      00026887   WAYMO-UBER-        00038726          00038726    WAYMO-UBER-      00043188          00043188
    WAYMO-UBER-           00029355      00029357   WAYMO-UBER-        00038727          00038732    WAYMO-UBER-      00043353          00043358
    WAYMO-UBER-           00031414      00031415   WAYMO-UBER-        00038737          00038742    WAYMO-UBER-      00043362          00043366
    WAYMO-UBER-           00031431      00031432   WAYMO-UBER-        00038744          00038746    WAYMO-UBER-      00043437          00043470
    WAYMO-UBER-           00031433      00031446   WAYMO-UBER-        00039433          00039433    WAYMO-UBER-      00043722          00043750
    WAYMO-UBER-           00031447      00031447   WAYMO-UBER-        00039478          00039478    WAYMO-UBER-      00043956          00043983
    WAYMO-UBER-           00031460      00031461   WAYMO-UBER-        00039532          00039533    WAYMO-UBER-      00044023          00044072
    WAYMO-UBER-           00031462      00031463   WAYMO-UBER-        00039556          00039557    WAYMO-UBER-      00044108          00044171
    WAYMO-UBER-           00031464      00031552   WAYMO-UBER-        00039661          00039661    WAYMO-UBER-      00044261          00044324




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          Bates           Beginning       End         Bates           Beginning           End         Bates          Beginning           End
    WAYMO-UBER-           00044325      00044337   WAYMO-UBER-        00050099          00050099     LAZ-BB          00000001          00000008
    WAYMO-UBER-           00044338      00044401   WAYMO-UBER-        00050123          00050123     LAZ-BB          00000009          00000016
    WAYMO-UBER-           00044589      00044626   WAYMO-UBER-        00050196          00050198     LAZ-BB          00000017          00000017
    WAYMO-UBER-           00045518      00045521   WAYMO-UBER-        00050240          00050241     LAZ-BB          00000018          00000052
    WAYMO-UBER-           00045724      00045725   WAYMO-UBER-        00050320          00050320     LAZ-BB          00000053          00000060
    WAYMO-UBER-           00045885      00045886   WAYMO-UBER-        00050331          00050345     LAZ-BB          00000061          00000065
    WAYMO-UBER-           00046262      00046262   WAYMO-UBER-        00050346          00050359     LAZ-BB          00000066          00000095
    WAYMO-UBER-           00046264      00046264   WAYMO-UBER-        00050360          00050420     LAZ-BB          00000096          00000105
    WAYMO-UBER-           00046391      00046417   WAYMO-UBER-        00050504          00050504     LAZ-BB          00000106          00000114
    WAYMO-UBER-           00046451      00046452   WAYMO-UBER-        00051847          00051848     LAZ-BB          00000115          00000129
    WAYMO-UBER-           00046625      00046632   WAYMO-UBER-        00054953          00054953     LAZ-BB          00000130          00000143
    WAYMO-UBER-           00046633      00046635   WAYMO-UBER-        00055926          00055927     LAZ-BB          00000144          00000145
    WAYMO-UBER-           00046636      00046640   WAYMO-UBER-        00055971          00055975     LAZ-BB          00000146          00000189
    WAYMO-UBER-           00046678      00046678   WAYMO-UBER-        00055988          00055992     LAZ-BB          00000190          00000207
    WAYMO-UBER-           00046679      00046679   WAYMO-UBER-        00056843          00056845     LAZ-BB          00000208          00000268
    WAYMO-UBER-           00046694      00046697   WAYMO-UBER-        00056929          00056933     LAZ-BB          00000269          00000279
    WAYMO-UBER-           00046742      00046742   WAYMO-UBER-        00057157          00057158     LAZ-BB          00000280          00000301
    WAYMO-UBER-           00046973      00046977   WAYMO-UBER-        00057432          00057540     LAZ-BB          00000302          00000304
    WAYMO-UBER-           00046983      00046988   WAYMO-UBER-        00057707          00057708     LAZ-BB          00000305          00000343
    WAYMO-UBER-           00047060      00047061   WAYMO-UBER-        00058740          00058747     LAZ-BB          00000344          00000377
    WAYMO-UBER-           00047062      00047063   WAYMO-UBER-        00059470          00059508     LAZ-BB          00000378          00000405
    WAYMO-UBER-           00047165      00047165   WAYMO-UBER-        00064392          00064406     LAZ-BB          00000406          00000450
    WAYMO-UBER-           00048246      00048248   WAYMO-UBER-        00066296          00066298     LAZ-BB          00000451          00000467
    WAYMO-UBER-           00048412      00048437   WAYMO-UBER-        00079254          00079261     LAZ-BB          00000468          00000497
    WAYMO-UBER-           00048482      00048484   WAYMO-UBER-        00080591          00080630     LAZ-BB          00000498          00000509
    WAYMO-UBER-           00048635      00048638   WAYMO-UBER-        00080888          00080925
    WAYMO-UBER-           00048639      00048643   WAYMO-UBER-        00081012          00081061      TYTO-           000001            000004
    WAYMO-UBER-           00048677      00048677   WAYMO-UBER-        00082092          00082094      TYTO-           000054            000069
    WAYMO-UBER-           00048712      00048716   WAYMO-UBER-        00083633          00083633      TYTO-           000193            000212
    WAYMO-UBER-           00049293      00049295   WAYMO-UBER-        00084484          00084491      TYTO-           000368            000407
    WAYMO-UBER-           00049937      00049939   WAYMO-UBER-        00085723          00085739      TYTO-           000477            000502
    WAYMO-UBER-           00049951      00049951   WAYMO-UBER-        00085775          00085775
    WAYMO-UBER-           00049952      00049953   WAYMO-UBER-        00085776          00085776     Blattmachr      00000001          00000026
    WAYMO-UBER-           00049959      00049961
    WAYMO-UBER-           00049967      00049972   OTTOTRUCKING       00000020          00000034       LEV_           002126            002126
    WAYMO-UBER-           00049974      00049974   OTTOTRUCKING       00000035          00000050
    WAYMO-UBER-           00049976      00049976   OTTOTRUCKING       00000127          00000141    SANDSTONE         000001            000007
    WAYMO-UBER-           00049980      00050025   OTTOTRUCKING       00002492          00002522




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                                                                            Documents Considered
     Legal Filings
     Case Management Order, Reference to Magistrate Judge for Mediation/Settlement, and Further Reference to Magistrate Judge for Discovery Supervision, June 7, 2017.
     Complaint for Violation of Defense of Trade Secrets Act, Violation of California Uniform Trade Secret Act, Patent Infringement, and Violation of Cal. Bus and Prof. Code
     Section 17200, Case No. 3:17-cv-00939, February 23, 2017, with Exhibits A-C.
     Declaration of Gary Brown, March 9, 2017.
     Declaration of Gregory Kintz, March 10, 2017.
     Declaration of James Haslim in Support of Defendants' Opposition, April 7, 2017.
     Declaration of Michael Janosko, March 9, 2017.
     Declaration of Pierre-Yves Droz, March 9, 2017, with Exhibits A, B, D, and F.
     Declaration of Scott Boehmke in Support of Defendants' Opposition, April 7, 2017.
     Defendant Uber Technologies, Inc. and Ottomotto LLC's Fifth Supplemental Responses to Waymo's First Set of Common Interrogatories (Nos. 1-3), August 24, 2017.
     Defendant, Otto Trucking LLC's Answer to First Amended Complaint and Counterclaims, June 22, 2017.
     Defendants Uber Technologies, Inc. and Ottomotto LLC's Second Supplemental Responses to Waymo's First Set of Common Interrogatories (Nos. 1-3), August 11, 2017.
     First Amended Complaint for Violation of Defense of Trade Secrets Act, Violation of California Uniform Trade Secret Act, Patent Infringement, and Violation of Cal. Bus and
     Prof. Code Section 17200, Case No. 3:17-cv-00939, March 10, 2017, with Exhibits A-D.
     Infringement Contents Pursuant to Patent L.R. 3-1, U.S. Patent No. 9,368,936.
     Joint Stipulation and Order Regarding Dismissal of Patent Claims, July 7, 2017.
     Order Granting in Part and Denying in Part Plaintiff's Motion for Provisional Relief, May 11, 2017.
     Order Re Access to Under-Seal Material, Case No. 3:17-cv-00939, March 16, 2017.
     Order Re: Waymo' Motion to Compel, June 8, 2017.
     Patent Local Rule 2-2 Interim Model Protective Order, n.d.
     Plaintiff Waymo LLC's Corrected Supplemental Initial Disclosures, June 22, 2017.
     Plaintiff Waymo LLC's Disclosure of Asserted Claims and Infringement Contentions, May 23, 2017.
     Plaintiff Waymo LLC's Notice Regarding Trade Secret Narrowing, August 1, 2017.
     Plaintiff Waymo's Responses to Questions for Hearing on Plaintiff's Motion for Provisional Relief, May 2, 2017.
     Plaintiff's Amended Objections and Responses to Uber's Third Set of Interrogatories (Nos. 13-14), August 10, 2017.
     Plaintiff's List of Asserted Trade Secrets Pursuant to Cal. Code Civ. Proc. Section 2019.210, March 10, 2017.
     Plaintiff's Objections and Responses to Uber's First Set of Interrogatories (Nos. 1-11), June 16, 2017.
     Plaintiff's Second Supplemental Objections and Responses to Uber's First Set of Interrogatories (Nos. 1-11), July 21, 2017.
     Plaintiff's Third Supplemental Objections and Responses to Uber's First Set of Interrogatories (Nos. 1-11), July 28, 2017.
     Supplemental Declaration of James Haslim in Support of Defendants' Sur-Reply to Plaintiff Waymo LLC's Motion for Preliminary Injunction, April 28, 2017.
     Uber Technologies, Inc. and Ottomotto LLC's Answer to First Amended Complaint and Affirmative Defenses, June 22, 2017.
     Waymo, LLC v. Uber Technologies, Inc., et al, Transcript of Proceedings, May 3, 2017.




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                                                                           Documents Considered
     Depositions
     Deposition of Adam Kenvarg, August 15, 2017, with Exhibits 78, 109, 122-126, 523, 579, 694.
     Deposition of Benjamin Ingram, August 16, 2017, with Exhibits 1430-1442.
     Deposition of Brent Schwarz, August 15, 2017, with Exhibits 699 - 725.
     Deposition of Brian McClendon, August 1, 2017, with Exhibits 170, 252, 256-264, 285, 294, and 392-470.
     Deposition of Cameron Poetzscher, August 11, 2017, Volume 2, with Exhibits 203, 297, 299, and 605-612.
     Deposition of Cameron Poetzscher, June 19, 2017, Volume 1, with Exhibits 250-291.
     Deposition of Charlie Johnson, August 17, 2017, with Exhibits 1560-1565.
     Deposition of Chelsea Bailey, August 1, 2017, with Exhibits 1227-1244.
     Deposition of Daniel Chu, April 3, 2017, with Exhibits 1030-1033.
     Deposition of Daniel Gruver, August 4, 2017, with Exhibits 494-525.
     Deposition of David Meall, April 13, 2017, with Exhibits 5-8.
     Deposition of Dmitri Dolgov 30(b)(6), August 8, 2017, with Exhibits 600-602.
     Deposition of Dmitri Dolgov, August 8, 2017, with Exhibits 1350-1371.
     Deposition of Emil Michael, July 28, 2017, with Exhibits 392-393 and 399-417.
     Deposition of Eric Meyhofer, August 18, 2017, Volume 1.
     Deposition of Gaetan Pennecot, April 20, 2017, Volume 1, with Exhibits 100-104.
     Deposition of Gaetan Pennecot, June 14, 2017, Volume 2, with Exhibits 86-99 and 105-106.
     Deposition of Gaetan Pennecot, June 16, 2017, Volume 3, with Exhibits 107-121 and 1062-1065.
     Deposition of Gautam Gupta, August 18, 2017, with Exhibits 837-853.
     Deposition of Gerard Dwyer, August 9, 2017, with Exhibits 1033-1034, 1400-1401, 1404-1423, and 1153.
     Deposition of James Haslim, April 18, 2017, Volume 1, with Exhibits 57-63.
     Deposition of James Haslim, August 9, 2017, Volume 3, with Exhibits 570-586.
     Deposition of James Haslim, May 4, 2017, Volume 2, with Exhibits 150-161 and 1060-1061.
     Deposition of Jeff Holden, August 15, 2017, with Exhibits 299 and 801-836.
     Deposition of John Bares, August 11, 2017, Volume 2, with Exhibits 650-682.
     Deposition of John Bares, June 16, 2017, Volume 1, with Exhibits 162-171.
     Deposition of John Krafcik, August 2, 2017, with Exhibits 1245-1270.
     Deposition of Jur Van Den Berg, August 2, 2017, with Exhibits 471-493.
     Deposition of Larry Page, July 17, 2017, with Exhibits 1085-1111 and 1031.
     Deposition of Lior Ron, April 19, 2017, with Exhibits 200-203.
     Deposition of Maxime Levandowski, July 18, 2017, with Exhibits 113, 120, and 310-322.
     Deposition of Ming Su, August 23, 2017.
     Deposition of Ningjun Qi, August 10, 2017, Volume 2, with Exhibits 587-593, 297, and 299.
     Deposition of Ningjun Qi, June 22, 2017, Volume 1, with Exhibits 81, 259, 268, 287, and 292-308.
     Deposition of Pierre-Yves Droz 30(b)(6), August 3, 2017, with Exhibits 1271-1293.
     Deposition of Pierre-Yves Droz, March 31, 2017, with Exhibits 1 and 1017-1029.
     Deposition of Ron Medford, August 23, 2017, with Exhibits 1845-1850.
     Deposition of Sasha Zbrozek, August 18, 2017.




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     Depositions (Continued)
     Deposition of Scott Boehmke, April 17, 2017, Volume 1, with Exhibits 50-56.
     Deposition of Scott Boehmke, July 28, 2017, Volume 2, with Exhibits 450-468
     Deposition of Tim Willis, August 18, 2017.
     Deposition of Travis Kalanick, July 27, 2017, with Exhibits 365-391.

     Other
     Email from Cameron Poetzscher to Emil Michael, "Re: Newco Update / Urgent Response Needed", January 19, 2016.
     Email from Cameron Poetzscher to Travis Kalanick and Emil Michael, "Newco comp", August 15, 2016.
     Email from Cameron Poetzscher to Travis Kalanick, et al, "Newco update", January 13, 2016.
     Email from Emil Michael to Cameron Poetzscher and Jeff Holden, "Re: Newco", January 27, 2016.
     Email from Ken Babcock to ATC Competitive Intelligence, "[ATC] Competitive Intelligence Update : Week Ending 02/19/2016 - A/C Privilege", February 19, 2016.
     Email from Ken Babcock to ATC Competitive Intelligence, "[ATC] Competitive Intelligence Update : Week Ending 03/04/2016 - A/C Privilege", March 4, 2016.
     Email from Mayrose Munar to Travis Kalanick, "Re: Homework-draft - Invitation to comment", May 23, 2015.
     Email from Nicolas Garcia Belmonte to Visualization Team and Jai Ranganathan, "Visualization bi-weekly update 08/19", August 22, 2016.
     Email from Sarah Abboud to ATC: ATC-Internal, "Sprint #7 Report", August 3, 2016.
     Email from Scott Boehmke to James Haslim, October 28, 2016.
     Email from Sugandha Sangal to Uber Employees, "[atg-internal] Triage Report : December 15", December 15, 2016.
     Employment Agreement between Uber Technologies Inc. and Sameer Kshirsagar, August 17, 2016.
     Expert Report of Erik Laykin, August 24, 2017, with Exhibits A - N.
     Expert Report of Jim Timmins, Teknos Associates, August 24, 2017, with Appendix A.
     Expert Report of Michael J. Wagner, August 24, 2017, Volumes 1-9.
     Offer Letter from Ottomotto LLC to Sameer Kshirsagar, July 2, 2016.
     Opening Expert Report of Lamertus Hesselink, Ph.D, August 24, 2017.
     U.S. Patent No. 9,368,936 B1.
     U.S. Patent No. 9,470,520 B2.
     Uber, "Uber Safe", n.d.




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     Third Party Sources
     “Self-driving cars are safer when they talk to each other,” engadget, June 24, 2017 [https://www.engadget.com/2017/06/24/self-driving-cars-mcity-augmented-reality/]
     18 U.S.C. § 1836
     Applied Med. Res. Corp. v. United States Surgical Corp. , 435 F.3d 1356 (Fed. Cir. 2006)
     Ariba, Inc. v. Emptoris, Inc. , 567 F. Supp. 2d 914 (E.D. Tex. 2008)
     Cadillac Prods. v. TriEnda Corp. , 2000 U.S. Dist. LEXIS 13049 ( E.D. Mich. Aug. 2, 200)
     Cal. SB 1298, Cal. Assembly Committee on Transportation Hearing, June 25, 2012
     California Civil Code § 3426.3
     Commonwealth Sci. & Indus. Research Org. v. Cisco Sys., Inc. , 809 F.3d 1295 (Fed. Cir. 2015)
     Cornell University v. Hewlett-Packard , 609 F.Supp.2d 279 (N.D.N.Y. 2009)
     D.C. Act 19-643, Autonomous Vehicle Act of 2012 (2013)
     De Lage Landen Operational Services, LLC v. Third Pillar Systems, Inc. Civil Action No. 09-2439, Memorandum dated May 9, 2011
     Ericsson, Inc. v. D-Link Systems, Inc. , 773 F.3d 1201 (Fed. Cir. 2014)
     Fromson v. Western Litho Plate & Supply Co. , 853 F.2d 1568 (Fed. Cir. 1988)
     Georgia-Pacific Corp. v. United States Plywood Corp. , 318 F. Supp. 1116 (S.D.N.Y. 1970)
     Giffi, Craig, et al., "The Race to Autonomous Driving", Deloitte Review, Issue 20, 2017
     Google, Inc.'s Form 10-K for the fiscal year ended December 31, 2013
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     Guggenheim Securities, LLC, "Motowm Valley - Revving Up for Electric, Self-driving Cars on Demand", April 17, 2017
     Hanson v. Alpine Valley Ski Area, Inc. , 718 F.2d 1075 (Fed. Cir. 1983)
     Hod Lipson, et al., “Driverless: Intelligent Cars and the Road Ahead,” The MIT Press: Cambridge, 2016
     Honeywell Int'l, Inc. v. Hamilton Sundstrand Corp. , 378 F. Supp. 2d 459 (D. Del. 2005)
     Hrg. 114-416, Hearing before the Committee on Commerce, Science, and Transportation, United States Senate, 114th Congress, Second Session, March 15, 2016
     http://americanhistory.si.edu/collections/search/object/nmah_1332301
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